Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 1 of 120 PageID 1549



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

STATE OF TEXAS,

        Plaintiff,

v.                                                            No. 5:23-CV-034-H

MERRICK GARLAND, in his official
capacity as Attorney General, et al.,

        Defendants.
                       MEMORANDUM OPINION AND ORDER
       For over 235 years, Congress understood the Constitution’s Quorum Clause to

require a majority of members of the House or Senate to be physically present to constitute

the necessary quorum to pass legislation. This rule prevents a minority of members from

passing legislation that affects the entire nation. But despite the Constitution’s text and

centuries of consistent practice, the House in 2020 created a rule that permitted non-present

members to be included in the quorum count and vote by proxy. Pursuant to that novel

rule, the House passed a new law included within the Consolidated Appropriations Act of

2023, and that particular provision affects Texas. Like many constitutional challenges,

Texas asserts that this provision is unenforceable against it because Congress violated the

Constitution in passing the law. In response, the defendants claim, among other things, that

this Court has no power to address the issue because it cannot look to extrinsic evidence to

question whether a bill became law. But because the Court is interpreting and enforcing the

Constitution—rather than second-guessing a vote count—the Court disagrees. The Court

concludes that, by including members who were indisputably absent in the quorum count,

the Act at issue passed in violation of the Constitution’s Quorum Clause.
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 2 of 120 PageID 1550



       In reaching this conclusion, the Court’s analysis begins with the case’s procedural

background and the Court’s factual findings from trial. Then, the Court considers whether

it has the power to consider the merits of Texas’s challenge to the Act. Three justiciability

concerns are implicated by this case: (1) standing; (2) the enrolled bill doctrine; and (3) the

political question doctrine. The Court will address each of these in turn. Ultimately, the

Court concludes that none of these doctrines bar Texas’s claim and that one of Texas’s

challenges succeeds on the merits.

       First, Texas has demonstrated that it has standing to challenge the Pregnant Workers

Fairness Act (PWFA), a piece of permanent legislation included in the Consolidated

Appropriations Act of 2023. It has done so based on the costs of compliance, litigation, and

administrative investigations created by the PWFA, as well as the waiver of Texas’s

sovereign immunity. However, as to the 2023 appropriation to the Department of

Homeland Security’s Alternatives to Detention Case Management Pilot Program, Texas did

not provide sufficient evidence to show that any injury from increased illegal immigration is

traceable to the funding at issue or redressable by this Court. Notably, it is unclear at this

time whether any of the 2023 funds will go to a location in Texas. Additionally, there is

insufficient evidence that the mere existence of the Case Management Pilot Program, which

has currently served less than 140 aliens in Texas, will increase the number of illegal aliens

receiving emergency medical care in Texas hospitals or attending its schools—and therefore

impose additional costs on Texas. Texas provides no evidence of any of the enrollees in the

Case Management Pilot Program or their impact on Texas’s resources.

       Second, neither the enrolled bill doctrine nor the political question doctrine prohibit

the Court from resolving the central challenge of this case—whether Congress’s novel proxy




                                              –2–
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 3 of 120 PageID 1551



rule that counted members who were not physically present at the time of the vote toward

the quorum violates the Quorum Clause. The enrolled bill doctrine has limited applicability

where constitutional provisions are at issue. It prevents courts from considering challenges

that the particular text of an act did not pass Congress. But if a dispute turns on a clear

constitutional limitation on Congress’s power that does not involve factual challenges to the

legislative record, the mere act of enrollment cannot thwart the Court’s ordinary power to

resolve such constitutional challenges. And to the extent that quorum-based challenges do

implicate the enrolled bill doctrine, Supreme Court precedent makes clear that the Court

must first resolve any challenge to the validity of the rule used by the House or Senate to

determine the existence of a quorum before the doctrine applies. As for the political

question doctrine, Texas’s challenge involves ordinary constitutional interpretation of a

restriction on congressional power. The Court need not engage in policymaking to resolve

the merits. Instead, it simply looks to the Constitution’s text, original public meaning, and

historical practice, as courts routinely do.

       Having determined that this case is justiciable, the Court will then proceed to the

merits. Based on the Quorum Clause’s text, original public meaning, and historical

practice, the Court concludes that the Quorum Clause bars the creation of a quorum by

including non-present members participating by proxy. Supreme Court precedent has long

held that the Quorum Clause requires presence, and the Clause’s text distinguishes those

absent members from the quorum and provides a mechanism for obtaining a physical

quorum by compelling absent members to attend. This power to compel attendance makes

little sense divorced from physical presence. This connection to physical presence is further

evident through the contemporaneous discussions of the Clause at the Constitutional




                                               –3–
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 4 of 120 PageID 1552



Convention, which centered on the challenge of having a majority of members attend

legislative sessions due, in part, to the distance they must travel. Additionally, longstanding

historical practice dating back to the first Congress establishes that only those members who

were physically present could affirmatively count towards the quorum. And contrary to the

defendants’ assertions otherwise, the practice of unanimous consent provides no support for

the House’s actions here—affirmatively counting absent members as part of the quorum.

Unanimous consent relies on the ongoing presumption of a quorum after one is obtained,

but the roll-call vote in this case reveals that less than a majority of votes were case in

person. Thus, the House’s previously applied proxy rule that permitted its members

participating by proxy to count towards the quorum violated the Constitution. And because

the House only had a quorum due to this unconstitutional provision of its proxy rule, the

House violated the Quorum Clause when it passed the Consolidated Appropriations Act of

2023. Finally, the Court finds that Texas has carried its burden to show its entitlement to a

permanent injunction of the Pregnant Workers Fairness Act. In light of these conclusions,

the Court enjoins the defendants from enforcing the Pregnant Workers Fairness Act against

the State of Texas.

       However, because Texas lacks standing to raise its challenge to the 2023

appropriation to the Case Management Pilot Program, the Court dismisses this claim and

the defendants related to it: (1) Alejandro Mayorkas, in his official capacity as the Secretary

of the Department of Homeland Security (DHS); (2) DHS; (3) Patrick J. Lechleitner, in his

official capacity as the Acting Director of Immigration and Customs Enforcement; (4) Peter

E. Mina, in his official capacity as the official exercising the authority of the Officer of Civil

Rights and Civil Liberties of DHS; (5) the Office of Civil Rights and Civil Liberties;




                                              –4–
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 5 of 120 PageID 1553



(6) Deanne Criswell, in her official capacity as the Administrator of the Federal Emergency

Management Agency (FEMA); (7) FEMA; and (8) Joseph R. Biden, Jr., in his official

capacity as the President of the United States.

       Before proceeding further, the Court notes the limited scope of this case, this

opinion, and the relief granted. This case does not involve creating a count of the

representatives’ locations or second-guessing the House’s own count and listing of its

members. Instead, the Court takes as true the House’s recitation of its proceedings and its

designation of certain members as participating by proxy. Further, the Court makes no

judgment on the wisdom of the House’s proxy rule, only its constitutionality as it pertains to

counting absent members as part of the quorum. Nor does the Court address whether some

members may permissibly vote by proxy if the constitutionally required quorum is otherwise

physically present at the time of the vote. Finally, although the Court finds that the passage

of the Consolidated Appropriations Act violated the Constitution, Texas does not seek an

injunction of—and the Court does not enjoin—the entire Act. Rather, the Court enjoins

only the application of the Pregnant Workers Fairness Act against Texas. The relief granted

here is limited to abating the injury that Texas has proven will occur.

1.     Background

       Texas challenges the passage of the Consolidated Appropriations Act of 2023, Pub.

L. No. 117-328, 136 Stat. 4459 (the Act), on the basis that, at the time of the vote, the House

of Representatives lacked a quorum as required by Article I, Section 5 of the Constitution.

Texas seeks a declaratory judgment that the Act violates the Constitution’s Quorum Clause

and injunctive relief preventing the defendants from enforcing two portions of the Act—the

Pregnant Workers Fairness Act, which is permanent legislation included in the Act, and a




                                             –5–
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                      Page 6 of 120 PageID 1554



$20 million appropriation to the Department of Homeland Security’s Alternatives to

Detention Case Management Pilot Program. Dkt. No. 4 ¶¶ 58–70.

          A.      Procedural History

          In its amended complaint (Dkt. No. 4), Texas names as defendants (1) Merrick

Garland, in his official capacity as the United States Attorney General; (2) the Department

of Justice; (3) Charlotte A. Burrows, in her official capacity as a member of the Equal

Employment Opportunity Commission (EEOC); (4) Jocelyn Samuels, in her official

capacity as a member of the EEOC; (5) Keith E. Sonderling, in his official capacity as a

member of the EEOC; (6) Andrea R. Lucas, in her official capacity as a member of the

EEOC; (7) Christopher W. Lage, in his official capacity as general counsel of the EEOC;

(8) the EEOC; (9) Alejandro Mayorkas, in his official capacity as Secretary of the

Department of Homeland Security (DHS); (10) DHS; (11) Tae D. Johnson, in his official

capacity as the Acting Director of Immigration and Customs Enforcement; (12) U.S.

Customs and Border Enforcement; (13) Peter E. Mina, in his official capacity as “the official

exercising the authority of the Officer for Civil Rights and Civil Liberties of [DHS]”;

(14) the Office of Civil Rights and Civil Liberties; (15) Deanne Criswell, in her official

capacity as Administrator of the Federal Emergency Management Agency (FEMA);

(16) FEMA; and (17) Joseph R. Biden, Jr., in his official capacity as the President of the

United States.1 Dkt. No. 4 ¶¶ 2–15. Tae D. Johnson is no longer the Acting Director of


1
    Texas’s amended complaint contains typographical errors stating that Mayorkas and Criswell were
    sued in their individual capacities. The parties subsequently noted on the record, see Dkt. No. 53 at
    3, and confirmed at the pretrial conference that Texas is suing them in their official capacities and
    that neither party objects to the Court’s resolution of this case with that understanding. See Dkt.
    Nos. 104; 107 at 5. In addition, the defendants advised that there is no federal agency named U.S.
    Customs and Border Enforcement. Dkt. No. 52 at 25 n.11. At the pretrial conference, Texas did
    not contest this claim and agreed to dismiss its claims as to this nonexistent entity. Dkt. Nos. 104;
    107 at 6.


                                                   –6–
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                   Page 7 of 120 PageID 1555



Immigration and Customs Enforcement. See Dkt. No. 109 at 7–8. Pursuant to Federal Rule

of Civil Procedure 25(d), his successor-in-office, Patrick J. Lechleitner, is automatically

substituted as a defendant in this matter. Id.

       After appearing, the defendants filed a motion to transfer this case to the U.S.

District Court for the District of Columbia or to the Austin Division of the U.S. District

Court for the Western District of Texas. Dkt. No. 9. Texas opposed the motion, Dkt. No.

32, and the Court denied the motion, Dkt. No. 66. In its order, the Court found that venue

is proper in the Northern District of Texas and that the defendants did not show another

venue to be more convenient. Id. at 3–20.

       B.      Pending Motions

       Pending before the Court are two motions: (1) Texas’s motion for a preliminary

injunction (Dkt. No. 37); and (2) the defendants’ motion to dismiss (Dkt. No. 54). These

motions are fully briefed and ripe for resolution.

       Texas requests that the Court enjoin the defendants from enforcing two portions of

the Act. Dkt. Nos. 38 at 13–18; 61 at 7–13. While Texas initially requested an injunction as

to entire Act, see Dkt. No. 37 at 1, it later clarified that it only seeks relief as to the Pregnant

Workers Fairness Act and the appropriation for the Case Management Pilot Program, see,

e.g., Dkt. Nos. 93 at 2; 107 at 68–71. In support of its position, Texas asserts that it has

standing, that there is no barrier to justiciability, and that it has satisfied the legal

requirements for injunctive relief. See generally id. The defendants counter that Texas lacks

standing, that justiciability doctrines—specifically, the enrolled bill doctrine and political

question doctrine—bar Texas’s claim, that the President cannot be enjoined, and that

Texas’s claim fails on the merits, so its request should be denied. Dkt. No. 52. Specifically,




                                                –7–
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                      Page 8 of 120 PageID 1556



the defendants ask that the Court dismiss this case for lack of subject-matter jurisdiction,

lack of venue,2 and for failure to state a claim. Dkt. No. 54.

          Regarding the merits, Texas asserts that the Quorum Clause requires the physical

presence of a majority of the House’s membership in order for it to enact legislation. Dkt.

No. 38 at 33–41. In contrast, the defendants contend that the Quorum Clause “defines only

the minimum number of Members who must participate for either House to conduct

business, while being silent on the manner of how Members may participate,” and that the

members who voted by proxy were participating and therefore count towards a quorum.

Dkt. No. 52 at 52–55. The defendants further cite the historical practice of acting by

unanimous consent and voice votes without a majority physically present on the floor of

either house, along with the presumption of a quorum. Id. at 62–63. Additionally, the

defendants rely on the Supreme Court’s decision in a case concerning recess appointments,

where it discussed the Senate’s power to act even when the chamber was mostly empty. Id.

at 64–65. Accordingly, the defendants assert that the House had the requisite quorum when

the Act was passed. Id. at 66.

          C.      Trial on the Merits

          On October 20, 2023, the Court informed the parties that, pursuant to Federal Rule

65(a)(2), it would consolidate the hearing on the motions with a trial on the merits. Dkt.

No. 73. Following multiple continuances, on January 22, 2024, the Court held a trial on the

merits consolidated with the plaintiff’s motion for preliminary injunction and the




2
    The defendants’ motion regarding lack of venue simply incorporates its arguments from their
    motion to transfer. See Dkt. No. 52 at 49. The briefs for the pending motions were filed prior to
    the Court’s denial of the motion to transfer. This portion of the defendants’ motion is denied for
    the reasons stated in the Court’s prior ruling. Dkt. No. 66.


                                                   –8–
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                      Page 9 of 120 PageID 1557



defendants’ motion to dismiss. Dkt. Nos. 74; 75; 83; 91; 108. Both sides presented various

exhibits and declarations, but neither offered any live witness testimony.3 Neither party

requested posttrial briefing. Dkt. No. 108 at 172–75. Pursuant to Federal Rule of Civil

Procedure 52, the Court now makes its findings of fact and conclusions of law. See Fed. R.

Civ. P. 52(a)(1).

2.        Findings of Fact4

          Following the trial on the merits, the Court finds that the following facts have been

established by a preponderance of the evidence.

          A.      In 2020, the House of Representatives adopted a novel proxy-voting
                  resolution to permit non-present members to count toward a quorum.

          Rule III of the Rules of the House of Representatives requires “[e]very Member [to]

be present within the Hall of the House during its sittings, unless excused or necessarily

prevented,” and it prohibits another person or member from casting the vote or recording

the presence of a member. H.R. Rule III, 118th Cong. (2023); H.R. Rule III, 117th Cong.

(2021); DX37 at 8. “Notwithstanding rule III,” on May 15, 2020, the House of

Representatives adopted a resolution to authorize members to vote and be counted as part

of the quorum by proxy. H.R. Res. 965, 116th Cong. (2020). This resolution allowed the

Speaker to “designate a period . . . during which a Member who is designated by another

Member as a proxy . . . may cast the vote of such other Member or record the presence of


3
    The Court offered the parties the opportunity to present witnesses. See Dkt. No. 75. The parties
    instead agreed to rely solely on declarations and exhibits and not to object to the admission of
    evidence without supporting witnesses. Dkt. No. 109 at 5.
4
    The Court has carefully considered the trial arguments, the record, and the admitted evidence in
    preparing this memorandum. In making these findings of fact, the Court applies the Fifth Circuit’s
    standard of providing “a clear understanding of the basis for the decision.” Century Marine Inc. v.
    United States, 153 F.3d 225, 231 (5th Cir. 1998). As appropriate, any finding of fact that should be
    more appropriately considered a conclusion of law shall be deemed as such and vice versa.


                                                  –9–
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 10 of 120 PageID 1558



such other Member in the House.” Id. § 1(a). To designate another member as a proxy, the

member was required to submit a signed letter to the clerk specifying the name of the proxy

and provide “an exact instruction . . . with respect to such vote or quorum call.” Id.

§§ 2(a)(1), 3(c)(1). Additionally, the resolution permitted “[a]ny Member whose vote [was]

cast or whose presence [was] recorded by a designated proxy under this resolution” to “be

counted for the purpose of establishing a quorum under the rules of the House.” Id. § 3(b).

       The House of Representatives for the 117th Congress continued to apply the proxy

voting and quorum rule. H.R. Res. 8 § 3(s), 117th Cong. (2021). Pursuant to the House’s

regulations for the proxy rule, the proxy must have an exact instruction “from the Member

voting by proxy on whether they intend to be recorded as present, and must follow such

instruction in responding to the quorum call.” DX40 at 1. Similarly, to cast a vote, “the

Member serving as a proxy must have exact instruction . . . from the Member voting by

proxy on whether they intend to vote yea, nay, or present on the specific text or matter at

hand, and must follow such instruction exactly in casting the proxy vote.” Id. at 2. These

instructions must be in writing. Id. For any final vote on a bill or joint resolution when

proxy participation was permitted under the resolution, “[t]he Majority Leader must

provide Members with 24-hours’ notice.” Id. A member voting by proxy also must provide

“[a]n affirmative statement that because of the public health emergency the Member is

unable to physically attend proceedings in the House Chamber.” Id. at 1.

       B.     When the House passed the Act, less than a majority of the House voted in
              person.

       The Consolidated Appropriations Act of 2023 began as House Resolution 2617,

which the House of Representatives first passed on September 28, 2021. 167 Cong. Rec.

H5497–98 (daily ed. Sept. 28, 2021). An amended version then passed the Senate by


                                            – 10 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                     Page 11 of 120 PageID 1559



unanimous consent on November 15, 2022, 168 Cong. Rec. S6704 (daily ed. Nov. 15,

2022), followed by additional amendments in both chambers that transformed the bill into

an omnibus appropriations bill. 168 Cong. Rec. H9745–46, H9752, H9790–803 (daily ed.

Dec. 14, 2022); 168 Cong. Rec. S7819–8530 (daily ed. Dec. 20, 2022); 168 Cong. Rec.

S10062–10075, S10077 (daily ed. Dec. 22, 2022). The bill then returned to the House for a

final vote. 168 Cong. Rec. H10063 (daily ed. Dec. 23, 2022); DX21.

          On December 23, 2022, the House met to consider the latest round of Senate

amendments. DX21 at 20–27; 168 Cong. Rec. H10521–28 (daily ed. Dec. 23, 2022). The

vote on the final passage of the Act was 225 yeas, 201 nays, 1 “present,” and 4 not voting.

DX21 at 27–28; 168 Cong. Rec. H10528–29 (daily ed. Dec. 23, 2022). Out of the 431 votes,

226 members had voted by proxy and therefore had certified that they were “unable to

physically attend” the vote, while the remaining 205 votes were cast in person. DX21 at 28;

168 Cong. Rec. H10529 (daily ed. Dec. 23, 2022); DX40 at 1. The total number of voting

members of the House of Representatives is 435, making 218 the requisite number of

members that constitutes a quorum.5 See Act of August 8, 1911, Pub. L. No. 62-5, 37 Stat.

13–14 (1911); 2 U.S.C. § 2a(a). As a result, because only 205 votes were cast in person, less

than a majority of the House voted from the floor on the Act.




5
    The Court recognizes that there has been considerable debate in Congress as to the proper
    denominator for the Quorum Clause and that the House currently only considers members that are
    active, sworn, and living in its count of the “whole number of the House.” See, e.g., H.R. Rule XX,
    cl. 5(d), 118th Cong. (2023); H.R. Rule XX, cl. 5(d), 117th Cong. (2021). The Court does not
    address that dispute here. For one, both parties reference a quorum based on the 435 voting
    members in their briefing and do not suggest that a different denominator should apply in this case.
    See Dkt. Nos. 38 at 41; 63 at 15. Moreover, this issue is inconsequential here. Even if the proper
    whole number of the House were 431, the total number who voted on the Act, a majority would be
    216, which is still greater than the number who voted in person.


                                                  – 11 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 12 of 120 PageID 1560



       C.     The House determined that a quorum was present by including absent
              members who voted by proxy.

       Even though less than a majority was physically present at the time of the vote, no

member objected that a quorum was lacking. DX21 at 27–28; 168 Cong. Rec. H10528–29

(daily ed. Dec. 23, 2022). Representative Chip Roy raised the issue, but the Speaker Pro

Tempore informed him that there was no recourse. DX21 at 28; 168 Cong. Rec. H10529

(daily ed. Dec. 23, 2022). Specifically, Representative Roy “reserv[ed] the right to object”

and noted that the legislation moved “off the floor without a physical quorum present” due

to the number of proxy votes. DX21 at 28; 168 Cong. Rec. H10529 (daily ed. Dec. 23,

2022). He then made a parliamentary inquiry, asking the Speaker Pro Tempore “whether

there is a physical quorum present as required under the Constitution and whether there is

any recourse for any Member under [the House’s] rules to challenge a ruling that there is a

quorum.” DX21 at 28; 168 Cong. Rec. H10529 (daily ed. Dec. 23, 2022). The Speaker Pro

Tempore responded that a quorum was present despite 226 votes cast by proxy because

“Members casting their vote or recording their presence by proxy are counted for the

purpose of establishing a quorum” pursuant to House Resolution 8. DX21 at 28; 168 Cong.

Rec. H10529 (daily ed. Dec. 23, 2022). Roy then asked if there was any “recourse to ask the

Speaker to count the Members physically present here in the body,” to which the Speaker

Pro Tempore again asserted that a quorum was present. DX21 at 28; 168 Cong. Rec.

H10529 (daily ed. Dec. 23, 2022).

       D.     The Act was signed and enrolled.

       After the Act passed the House, it was printed and signed by the presiding officers

pro tempore of both Houses. DX1; see 1 U.S.C. § 106. At that point, it was an “enrolled

bill.” 1 U.S.C. § 106. The Act was then sent to the President for his approval. The White



                                            – 12 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 13 of 120 PageID 1561



House received the Act on December 28, 2022, and the President signed it into law the

following day. DX1. Subsequently, the Act was sent to the Office of the Federal Register of

the National Archives and Records Administration, where it was assigned a public law

number and published in the Statutes at Large. See id.; Public Laws, Nat’l Archives (Jan. 26,

2023), https://www.archives.gov/federal-register/laws [https://perma.cc/3M36-LKUN];

Consolidated Appropriations Act, 2023, Pub. L. No. 117-328, 136 Stat. 4459.

       E.     The Act contains appropriations and permanent legislation, including the
              Pregnant Workers Fairness Act and $20 million for the Alternatives to
              Detention Case Management Pilot Program.

       As an omnibus appropriations bill, the Act contains numerous provisions. It

includes the twelve regular annual appropriations bills that generally fund the federal

government’s operations. DX15 at 2; see Consolidated Appropriations Act, 2023, Pub. L.

No. 117-328, Divs. A–L, 136 Stat. at 4459–5188. In addition to these annual appropriations

bills, the Act contains supplemental appropriations and several pieces of permanent

legislation. DX15 at 5; see generally Consolidated Appropriations Act, 2023, Pub. L. No.

117-328, 136 Stat. at 5189–6111. Relevant here, it included legislation to provide

protections to pregnant workers and a third year of spending for DHS’s Alternatives to

Detention Case Management Pilot Program. Consolidated Appropriations Act, 2023, Pub.

L. No. 117-328, Divs. F, II, 136 Stat. at 4726, 6084–89.

       Regarding the appropriations provisions, after the passage of legislation that provides

budget authority, such as the Act, the President must apportion the budget authority to each

relevant federal agency, which then allows the agencies to obligate the funds. DX15 at 6.

This apportionment authority has been delegated to the Director for the Office of

Management and Budget (OMB) and was fully carried out by December 29, 2022. Id.




                                            – 13 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 14 of 120 PageID 1562



       F.     In this case, Texas challenges the Act as violating the Constitution’s
              Quorum Clause.

       Texas filed this case to challenge the passage of the Act. Dkt. No. 4. Texas asserts

that the Act violated the Quorum Clause because the Clause requires members to be

physically present in order to count towards the quorum, but the vote on the Act only had a

quorum by including members who were physically absent at the time of the vote in the

quorum count. See id. ¶¶ 20, 56, 58–60, 62. Specifically, Texas challenges two provisions of

the Act that it argues directly affect the State. Id. ¶ 24. These provisions are the Pregnant

Workers Fairness Act (PWFA), which is one of the permanent pieces of legislation in the

Act, and a third year of funding for DHS’s Alternatives to Detention Case Management

Pilot Program (CMPP). Consolidated Appropriations Act, 2023, Pub. L. No. 117-328,

Divs. F, II, 136 Stat. at 4726, 6084–89. Specifically, the Act directed that $20,000,000 be

given to FEMA for the CMPP. Consolidated Appropriations Act, 2023, Pub. L. No. 117-

328, Div. F, 136 Stat. at 4726. These funds remain available to FEMA until September 30,

2024. Id.

       G.     The Pregnant Workers Fairness Act creates new legal rights and remedies
              for workers, regulates Texas as an employer, and waives its sovereign
              immunity.

       Codified at 42 U.S.C. §§ 2000gg to 2000gg-6, the PWFA is standalone legislation

that adopts an accommodation regime similar to the Americans with Disabilities Act

(ADA) for pregnant workers. Compare 42 U.S.C. § 2000gg-1 with 42 U.S.C. §§ 12112(a),

(b)(5), 12203. Principally, the PWFA requires employers to “make reasonable

accommodations to the known limitations related to the pregnancy, childbirth, or related

medical conditions of a qualified employee, unless such covered entity can demonstrate that

the accommodation would impose an undue hardship on the operation of the business of


                                             – 14 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 15 of 120 PageID 1563



such covered entity.” 42 U.S.C. § 2000gg-1(1). Further, an employer cannot deny

employment opportunities due to a covered employee’s need for a reasonable

accommodation or retaliate against an employee for requesting or using a reasonable

accommodation. 42 U.S.C. §§ 2000gg-1(3), (5). And an employer cannot “require a

qualified employee to take leave, whether paid or unpaid, if another reasonable

accommodation can be provided to the known limitation.” 42 U.S.C. § 2000gg-1(4). The

PWFA adopts the ADA’s definitions for “reasonable accommodation” and “undue

hardship,” as well as the ADA’s “interactive process” for determining a proper

accommodation. 42 U.S.C. § 2000gg(7). It specifically provides that employers cannot

“require a qualified employee . . . to accept an accommodation other than any reasonable

accommodation arrived at through the interactive process.” 42 U.S.C. § 2000gg-1(2). The

PWFA’s requirements apply to any private employer with 15 or more employees and

government employers, including Texas. See 42 U.S.C. § 2000gg.

       The PWFA aims to address gaps in existing legislation regarding protections for

pregnant workers. See generally DX33. Specifically, under the ADA and Rehabilitation Act,

pregnancy alone does not qualify as a disability requiring accommodations. E.g., Appel v.

Inspire Pharms., Inc., 712 F. Supp. 2d 538, 548 (N.D. Tex. 2010); Issa v. Tex. Dep’t of Crim.

Just., No. 1:22-CV-1107, 2023 WL 4923971, at *10 (W.D. Tex. Aug. 1, 2023), report and

recommendation adopted by 2023 WL 5352319 (Aug. 18, 2023); Tomiwa v. PharMEDium Servs.,

LLC, No. 4:16-CV-3229, 2018 WL 1898458, at *5 (S.D. Tex. Apr. 20, 2018). Typically,

courts find that “pregnancy and related medical conditions” constitute a physical

impairment such that a worker would be covered by the ADA only under “unusual

circumstances,” such as significant complications. E.g., Tomiwa, 2018 WL 1898458, at *5;



                                             – 15 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 16 of 120 PageID 1564



Issa, 2023 WL 4923971, at *10. The PWFA lacks this limitation by specifically providing

that any known limitation of pregnancy, childbirth, or related medical condition—in other

words, any “physical or mental condition related to, affected by, or arising out of

pregnancy, childbirth, or related medical conditions that the employee or employee's

representative has communicated to the employer”—can itself require a reasonable

accommodation “whether or not such condition meets the definition of disability specified

in section 3 of the [ADA].” 42 U.S.C. §§ 2000gg(4), 2000gg-1. Further, the PWFA

specifies that an employee is “qualified” even if she is unable to perform an essential

function of the job temporarily. 42 U.S.C. § 2000gg(6).

       As an enforcement mechanism, the PWFA adopts the powers, remedies, and

procedures of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e-4 et seq., and it

waives a State’s sovereign immunity. 42 U.S.C. §§ 2000gg-2, 2000gg-4. Accordingly, an

employee aggrieved by the denial of a reasonable accommodation may file a charge with the

EEOC against her employer. 42 U.S.C. §§ 2000e-5(b), 2000gg-2, 2000gg-4. The EEOC will

then investigate the charges and seek a conciliation agreement. 42 U.S.C. §§ 2000e-5(b), (f).

If no agreement is reached, the EEOC will either bring a civil action against an employer or

decline and issue a notice to the employee of her right to sue. 42 U.S.C. § 2000e-5(f). In the

case of a government employer, once conciliation fails, the EEOC refers the case to the

Attorney General who can bring suit or issue a right-to-sue notice to the employee. Id.

Besides individual charges, the Attorney General is authorized to bring a civil action against

an employer based on “a pattern or practice of resistance” to the PWFA. 42 U.S.C.

§§ 2000e-6, 2000gg-2. The PWFA also provides the EEOC with rulemaking authority. 42

U.S.C. § 2000gg-3.




                                            – 16 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                     Page 17 of 120 PageID 1565



          Accordingly, the PWFA regulates Texas as an employer by imposing new

obligations and liability on the State. Texas must now provide its employees with

“reasonable accommodations to the known limitations relate to [their] pregnancy,

childbirth, or related medical conditions . . . unless [it] can demonstrate that the

accommodation would impose an undue hardship.” 42 U.S.C. § 2000gg-1(1). Moreover, to

the extent Texas previously voluntarily provided accommodations, see Dkt. No. 4 ¶ 28, the

PWFA limits what accommodations can be imposed because Texas cannot require an

employee to take leave if another accommodation could be provided. 42 U.S.C.

§ 2000gg-1(4). Likewise, it cannot force an employee to accept an accommodation if it was

not “arrived at through the [ADA’s] interactive process.” 42 U.S.C. §§ 2000gg-1(2). And if

an employee is not satisfied with Texas’s response to her accommodation request, she can

file a charge with the EEOC, subjecting Texas to both the administrative agency’s

investigative process and any resulting litigation. 42 U.S.C. §§ 2000e-5(b), (f), 2000gg-2, -4.

          As a result of these new obligations, Texas and its agencies must devote time and

expenses to understanding these legal requirements, developing new policies and training,

providing accommodations, and responding to EEOC charges and resulting litigation. PX1

at 2–3. For one agency, the Texas Office of the Attorney General (OAG), this regulatory

burden will cost it in the first year approximately (1) $574.76 to research the PWFA’s

requirements; (2) $637.58 to review and update policies; (3) $236.63 to review and update

training;6 (4) $539.13 to review, assess, and process accommodation requests; and



6
    Henry De La Garza’s declaration, the source of this cost information, states at one point that this
    cost to review and update training will be $263.63. PX1 at 3. This appears to be erroneous based
    on his attached exhibit and his combined cost estimates. See id. at 3, 6. Accordingly, the Court
    finds that the cost of reviewing and updating training is $236.63.


                                                  – 17 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 18 of 120 PageID 1566



(5) $4,685.92 to answer charges of discrimination. Id. at 3, 6. The OAG will incur around

$6,674.01 throughout the first year of the PWFA and around $5,225.05 annually thereafter.

Id. at 3–4. Similarly, the EEOC itself projects that state and local governments collectively

will spend $360,000 in one-time administrative costs from “rule familiarization, posting new

equal employment opportunity posters, and updating EEO policies and handbooks.” See

Regulations to Implement the Pregnant Workers Fairness Act, 88 Fed. Reg. 54714, 54760–

61 (proposed Aug. 11, 2023).

       H.     The Alternatives to Detention Case Management Pilot Program provides
              funding for selected nonprofits and local governments to help connect
              participating illegal aliens to government services.

       In addition to the PWFA, Texas challenges the $20,000,000 appropriation for a third

year of funding for DHS’s Alternatives to Detention Case Management Pilot Program

(CMPP). There are several Alternatives to Detention (ATD) programs: the Intensive

Supervision Appearance Program, the Young Adult Case Management Program, and the

CMPP. See PX6; Alternatives to Detention, ICE (July 6, 2023), https://www.ice.gov/

features/atd [https://perma.cc/8SWL-CZ23]; DX7 at 2. The ATD programs apply to

aliens on ICE’s non-detained docket and aim to “ensure compliance with release conditions

and provide important case management services” for these aliens. PX6 at 1; Alternatives to

Detention, supra; DX7 at 1–2. These programs allow aliens to remain in local communities

during immigration proceedings. PX6 at 2; Alternatives to Detention, supra; DX7 at 1.

       Over 350,000 aliens have participated in an ATD program. PX6 at 2; Alternatives to

Detention, supra. To be eligible for ATD, an alien must be 18 years of age or older, released

from DHS custody, and “generally in removal proceedings or subject to a final order of

removal.” PX6 at 2; Alternatives to Detention, supra. Whether an alien is detained or instead



                                            – 18 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24             Page 19 of 120 PageID 1567



placed on the non-detained docket depends on ICE’s exercise of its authority under the

Immigration and Nationality Act and applicable regulations. DX7 at 2; see, e.g., 8 U.S.C.

§§ 1182(d)(5), 1225(b)(1)(B)(iii)(IV), 1226; 8 C.F.R. §§ 212.5(b), 236.1(c). The CMPP does

not itself cause the release of any alien and “plays no role in ICE [Enforcement and

Removal Operations’] decision to release an individual from its custody.” DX7 at 2. While

in custody, an alien is ineligible for the CMPP, but any alien enrolled in an ATD program is

eligible to be included in the CMPP unless he affirmatively opts out. Id.; PX8 at 4. Aliens

may voluntarily enroll in the CMPP if eligible. PX8 at 4. Any alien who enrolls in the

CMPP is removed from the other ATD program. Id. CMPP participants “remain under

ICE supervisions and [are] required to adhere to ICE check-in requirements and all other

ATD requirements, except for technology monitoring.” Id.; see also PX6 at 3. Accordingly,

unlike under the Intensive Supervision Appearance Program, CMPP participants are not

subject to telephonic or GPS monitoring or SmartLINK, a phone application that permits

ICE to monitor a participant’s location. See PX6 at 3–4.

       Texas’s challenge to the 2023 appropriation comes after two prior appropriations,

which were not challenged. The CMPP was first created as part of the 2021 Consolidated

Appropriations Act. See Consolidated Appropriations Act, 2021, Pub. L. No. 116-260, Div.

F, 134 Stat. 1182, 1449. The 2021 Act appropriated $5,000,000 to FEMA for the CMPP to

“be awarded to nonprofit organizations and local governments . . . for the purposes of

providing case management services . . . to each individual enrolled into the [ATD]

program in the geographic areas served by the pilot program.” Id. Congress then

appropriated an additional $15,000,000 for the CMPP in the 2022 Consolidated

Appropriations Act and the $20,000,000 appropriation in the 2023 Act currently at issue



                                           – 19 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 20 of 120 PageID 1568



before the Court. See Consolidated Appropriations Act, 2022, Pub. L. No. 117-103, Div. F,

136 Stat. 49, 312; Consolidated Appropriations Act, 2023, Pub. L. No. 117-328, Div. F, 136

Stat. at 4726.

       The CMPP is administered by the CMPP National Board, not ICE itself. See PX7;

DX7 at 2; DX11. The National Board is comprised of three nonprofits organizations—

Church World Services, Catholic Charities USA, and the Center for Migration Studies of

New York—along with DHS’s Officer for Civil Rights and Civil Liberties, who chairs the

Board. PX7 at 1; DX11 at 2. The National Board selects nonprofits and/or local

governments to receive funding to carry out the CMPP in certain geographic areas. Id.

These organizations, known as the subrecipients, then provide the CMPP services. Id.;

PX7; PX8 at 2–4.

       The case-management services provided by the CMPP subrecipients include “mental

health services; human trafficking screenings; legal orientation; cultural orientation;

connections to social services; and, for individuals departing the U.S., assistance with pre-

departure planning and/or referral to reintegration services.” PX8 at 2. Connections to

social services include helping aliens obtain legal counsel, “housing assistance, childcare,

transportation, school enrollment, health care, translation/interpretation services, job

training, flexible funds assistance, and language classes.” Id. The National Board aims to

have each subrecipient “serve a minimum of 2,800 individuals with a goal of serving 5,000

or more.” Id. at 3. Subrecipients must report their performance on various indicators,

including (1) the number of aliens enrolled; (2) the number offered case-management

services; (3) the number of aliens who received and declined services; (4) the number of

participants provided or referred for legal services; (5) the number of participants connected



                                             – 20 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 21 of 120 PageID 1569



to social services, such as school enrollment and health care; and (6) the number of aliens

provided flexible fund assistance. Id. at 6. Moreover, subrecipients are scored on various

legal program performance metrics, which consider, among others, the number of CMPP

participants who obtain legal counsel through the CMPP and the breakdown and

percentage of immigration relief granted to participants. Id. at 6–7.

       I.     CMPP funding is distributed through grant awards to nonprofits and local
              governments.

       CMPP funding from the appropriations acts follows a multistep process before it is

ultimately received by a subrecipient. The initial provision of the budget authority is

apportioned by the President to FEMA. See DX15 at 6; Consolidated Appropriations Act,

2021, Pub. L. No. 116-260, Div. F, 134 Stat. at 1449; Consolidated Appropriations Act,

2022, Pub. L. No. 117-103, Div. F, 136 Stat. at 312; Consolidated Appropriations Act,

2023, Pub. L. No. 117-328, Div. F, 136 Stat. at 4726. Once apportioned, FEMA must

administer the funds to the CMPP National Board. DX8 at 3; Consolidated Appropriations

Act, 2021, Pub. L. No. 116-260, Div. F, 134 Stat. at 1449. To do so, FEMA partners with

DHS’s Office for Civil Rights and Civil Liberties to develop a notice of funding opportunity

for which the National Board then applies. DX8 at 3; see also DX4 at 3; DX9. Once the

notice of funding is published, the National Board has 30 days to apply. DX11 at 2. The

National Board is the only eligible recipient of FEMA’s notice. Id.; DX8 at 3.

       After the National Board receives the funds, it then issues a solicitation for

subrecipients to apply. DX11 at 2; see also PX8; DX12. Applicants provide a project

proposal to the National Board that explains the organization’s plan to deliver CMPP

services, its goals, and the geographic region where it will operate. PX8 at 2, 10–12. The

National Board evaluates the applications based on various factors, including: (1) the


                                            – 21 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                   Page 22 of 120 PageID 1570



“quality and feasibility of the program idea”; (2) the organization’s “capacity and record on

previous grants”; (3) “program planning and ability to achieve objectives”; (4) budget;

(5) the organization’s “monitoring and evaluation plan”; and (6) the program’s

“accountability to affected populations, gender equity, and sustainability.” Id. at 14–15

(cleaned up). Each of the four members of the National Board has one vote in selecting

subrecipients, and decisions are made by a majority vote. DX11 at 3. The number of

subrecipients selected depends on the appropriation at issue. See PX8; DX12. For the 2021

funds, two subrecipients were selected: BakerRipley in Houston, Texas, and International

Rescue Committee in New York, New York. DX11 at 3; DX13; DX14. For the 2022

funds, the National Board selected four subrecipients: BakerRipley in Houston, Texas; Los

Angeles County Office of Immigrant Affairs in Los Angeles, California; Lutheran

Immigration and Refugee Service in Baltimore, Maryland; and Lutheran Social Services of

the National Capital Area in Washington, DC. National Board Announces Subgrantee Selection

for Case Management Pilot Program, Church World Services (Dec. 19, 2023) [hereinafter 2022

CMPP Subrecipient Announcement].7

          This funding process is lengthy, and the subrecipient typically does not receive the

funds for more than a year after the initial appropriation to FEMA. For the 2021 funds,

FEMA issued the notice of funding on June 28, 2022, and it awarded the funds to the

National Board on August 31, 2022. DX8 at 3. The National Board selected the

subrecipients on November 30, 2022. DX11 at 3. Then, for the 2022 funds, FEMA

released the funding opportunity on April 26, 2023, with a deadline of May 26, 2023, for the



7
    Available at: https://cwsglobal.org/press-releases/national-board-announces-subgrantee-selection-
    for-case-management-pilot-program [https://perma.cc/Q9PQ-A92R].


                                                – 22 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 23 of 120 PageID 1571



National Board to apply. DX8 at 3. The subrecipients for the 2022 funds were selected on

December 19, 2023. 2022 CMPP Subrecipient Announcement, supra. As for the 2023 funds,

FEMA has not yet awarded the funds to the National Board, and no subrecipients have

been selected. DX4 at 3.

       Once the subrecipients are selected, they must then receive the contact information

of potential participants from ICE and the Office of Civil Rights and Civil Liberties so they

can reach out to eligible aliens for potential enrollment in the CMPP. See DX7 at 2; DX11

at 4. Specifically, ICE gives the Office of Civil Rights and Civil Liberties a list of potential

participants. DX7 at 2. Some aliens on that list are then randomly selected as potential

participants to provide to the subrecipients “[b]ecause there are many more potentially

eligible participants than spots available in CMPP.” See PX8 at 4–5. At that point, the

subrecipients can contact possible participants. DX11 at 4. For the 2021 funds, eligible

aliens were first contacted by a subrecipient in April 2023. Id.

       J.      Nonprofit BakerRipley received a CMPP grant from the 2021 and 2022
               funding to provide CMPP services in Houston, Texas.

       For the two years of CMPP funds that have been awarded, BakerRipley, a nonprofit

organization, has been selected as a subrecipient to provide CMPP services in Houston,

Texas. DX11 at 3; 2022 CMPP Subrecipient Announcement, supra. Since April 2023,

BakerRipley has been contacting eligible aliens to enroll them in the CMPP and providing

them with the requisite legal and cultural orientation and referrals to social services in

Houston. See PX8; DX4 at 2; DX11 at 4; DX12. Despite the large appropriation involved,

as of October 31, 2023, only 138 aliens had enrolled in the CMPP in Texas. DX4 at 2. Of

those 138 enrollees, “[a]t least two CMPP participants have left Texas either moving to

another state or returning to their country of citizenship.” DX4 at 2. In order for the


                                              – 23 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                  Page 24 of 120 PageID 1572



CMPP participants to receive services from BakerRipley, they must remain in Houston. Id.

Thus, by the end of the October 2023, BakerRipley was providing CMPP services to only

136 or fewer aliens. Id.

       K.      An increased number of illegal aliens in Texas that use its social services
               leads to increased State costs.

       Texas incurs costs from increased illegal immigration into the State in three areas:

health care, education, and law enforcement. See PX2; PX3; PX4; PX11 at 12–23. For

health care, the Texas Health and Human Services Commission provides “three principal

categories of services and benefits to undocumented immigrants in Texas: (i) Texas

Emergency Medicaid; (ii) the Texas Family Violence Program (FVP); and (iii) Texas

Children’s Health Insurance Program (CHIP) Perinatal Coverage.” PX4 at 2. Federal law

requires all States to provide Emergency Medicaid coverage to aliens, which is jointly

funded by the federal government and the States. See id.; 8 U.S.C. § 1611(b)(1)(A). As a

result, when qualifying aliens obtain health care services in Texas covered by Emergency

Medicaid, Texas is legally obligated to bear part of the cost of those services. See PX4 at 2; 8

U.S.C. § 1611(b)(1)(A). Providing Emergency Medicaid coverage to illegal aliens has cost

Texas $116 million in 2019; $88.3 million in 2020; $95.6 million in 2021; and $72.2 million

in 2022. PX4 at 3–4. Similarly, to provide CHIP Perinatal Coverage to such aliens, Texas

has spent $11.1 million in 2019; $16.9 million in 2020; $25.8 million in 2021; and $30.9

million in 2022. Id. at 4–5. These costs vary annually because they are “affected by both

the volume and cost of services provided and annual changes in the percentage of

expenditures matched by the federal government.” Id. at 5. As a result, if there are more

aliens in the State, Texas faces a substantial risk that it will incur greater costs related to

these health care expenditures.


                                               – 24 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 25 of 120 PageID 1573



       Regarding public education, Texas’s education costs rise with an increase in alien

children. See PX2. All States are required to provide free public education to

undocumented children. Plyler v. Doe, 457 U.S. 202, 230 (1982). The Texas Education

Agency estimates that “the average funding entitlement from state and local sources for

fiscal year 2023 will be $9,564 per student in attendance for an entire school year.” PX2 at

1. To provide additional bilingual education, which Texas does for most alien children,

Texas must spend $11,781 to educate each student. Id. Texas has historically encountered

a sizeable number of such alien children in its schools: from October 2021 to September

2022, 19,071 alien children were released to sponsors in Texas. Id. at 2. Texas spent

$224.67 million to educate those newly arriving children for one year. Id. at 2–3. Such costs

from these children continue so long as they are enrolled in Texas schools. In sum, any

additional alien child enrolled in and attending Texas public schools increases Texas’s

educational expenditures. See id. at 3.

       Finally, when aliens commit crimes, Texas incurs costs from incarcerating them.

For each day that an inmate is incarcerated, the Texas Department of Criminal Justice

(TDCJ) spends $77.49 systemwide on that inmate. PX3 at 2. For fiscal year 2022, the

TDCJ held 6,914 undocumented criminal aliens with at least one felony or two

misdemeanor convictions for violations of state or local law for a total of 2,019,635 days of

incarceration for these aliens. Id. at 1–2. Based on the number of aliens and the number of

days each was held, TDCJ spent $156,501,516 incarcerating these aliens. Id. at 2. And

reimbursement of these costs from the federal government is minimal. For fiscal year 2021,

TDCJ spent $153,786,422 in incarceration costs for criminal aliens but received only

$14,883,040 in federal reimbursement. Id. at 2–3. And for those criminal aliens released on



                                            – 25 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 26 of 120 PageID 1574



parole or mandatory supervision, Texas incurs costs of approximately $4.69 a day. Id. at 3.

Accordingly, “to the extent the number of aliens in TDCJ custody increases, TDCJ’s

unreimbursed expenses will increase as well.” Id.

       L.     The solicitation process for the Act’s $20 million appropriation has not
              begun, and it is uncertain whether the funds will go to an entity in Texas.

       For the 2023 funds at issue here, the funding process has not yet begun. DX4 at 3.

The Office for Civil Rights and Civil Liberties has started drafting the notice of funding for

which the National Board will apply, but it anticipates that the notice will not be published

until March 1, 2024. Id. Moreover, each year of funding operates independently: grants do

not renew automatically, so subrecipients must apply again each year. Id. at 2–3. And the

National Board has “no obligation to provide future funding from the 2022 or 2023

Appropriations Acts to past recipients” or to other organizations from the states of the past

recipients. Id. Accordingly, if a subrecipient reapplies, its receipt of funds from one year of

CMPP funding does not guarantee that it will receive another grant. Id. For example, the

organization in New York that initially received funding from the 2021 Appropriations Act

did not receive a new grant from the 2022 funds. See DX11 at 3; 2022 CMPP Subrecipient

Announcement, supra. As a result, it is uncertain which organizations will receive the 2023

funds and where those funds will be used to provide CMPP services.

3.     Legal Standards

       A.     Permanent Injunction

       Pursuant to Federal Rule of Civil Procedure 65(a)(2), “[b]efore or after the hearing

on a motion for a preliminary injunction, the court may advance the trial on the merits and

consolidate it with the hearing.” Fed. R. Civ. P. 65(a)(2). Accordingly, if the district court

“conclude[s] that this is a case wherein no material fact issues remain and there is indeed



                                             – 26 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                  Page 27 of 120 PageID 1575



nothing left to be tried, [it] should not hesitate to afford [the prevailing party] final relief.”

Eli Lilly & Co., Inc. v. Generix Drug Sales, Inc., 460 F.2d 1096, 1107 (5th Cir. 1972). To protect

the rights of the litigants, a court must provide “clear and unambiguous notice [of the

court’s intent to consolidate the trial and the hearing] either before the hearing commences

or at a time which will still afford the parties a full opportunity to present their cases.” Univ.

of Tex. v. Camenisch, 451 U.S. 390, 395 (1981) (alteration in original) (quotation omitted).

       Here, the Court notified the parties that it would consolidate the preliminary

injunction hearing with a trial on the merits in light of the lack of material fact issues in the

case. Dkt. No. 73. The Court granted the parties multiple continuances to allow them to

gather evidence and prepare for trial. Dkt. Nos. 75; 91. In light of the consolidation of the

hearing with a trial on the merits, the Court will assess Texas’s request for injunctive relief

under the permanent, rather than preliminary, injunction standard.

       To obtain a permanent injunction, a plaintiff must demonstrate: (1) that it succeeded

on the merits; (2) that it will suffer irreparable injury if an injunction is not granted; (3) that

a balance of the hardships between the plaintiff and the defendant favors equitable relief;

and (4) that an injunction will not harm the public interest. Valentine v. Collier, 993 F.3d

270, 280 (5th Cir. 2021); see also eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006).

This standard is essentially the same as the one for a preliminary injunction except a

plaintiff must show actual success on the merits, rather than just a likelihood of success.

Amoco Prod. Co. v. Village of Gambell, 480 U.S. 531, 546 n.12 (1987). The Court takes each

question in turn, but in the final analysis, “[l]ikelihood of success and irreparable injury to

the movant are the most significant factors.” Louisiana v. Becerra, 20 F.4th 260, 262 (5th Cir.




                                               – 27 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 28 of 120 PageID 1576



2021). Where, as here, the federal government is the opposing party, the third and fourth

factors merge. Nken v. Holder, 556 U.S. 418, 435 (2009).

       B.      Motions to Dismiss

       Also before the Court is the defendants’ motion to dismiss based on Federal Rules of

Civil Procedure 12(b)(1), (3), and (6). Dkt. No. 54. In considering Rule 12(b) motions, a

court must “take the well-pled factual allegations of the complaint as true and view them in

the light most favorable to the plaintiff.” Lane v. Halliburton, 529 F.3d 548, 557 (5th Cir.

2008). The motion should only be granted if the Court determines that the plaintiff cannot

prove a plausible set of facts that would establish subject-matter jurisdiction or has failed to

state a plausible claim of relief. Id.; Davis v. United States, 597 F.3d 646, 649 (5th Cir. 2009).

In appropriate circumstances, courts will consolidate a motion for a preliminary injunction

with a trial on the merits when there are pending motions to dismiss, even motions brought

under Rule 12(b)(1). E.g., Woodlands Pride, Inc. v. Paxton, No. H-23-2847, 2023 WL

6226113, at *1, *8 & n.75 (S.D. Tex. Sept. 26, 2023); Order at 1–3, Woodlands Pride, Inc.,

2023 WL 6226113 (S.D. Tex. Oct. 3, 2023) (No. H-23-2847), ECF No. 98. Here, the

central issues in the case are purely legal challenges. While evidence was submitted and

evidentiary fights occurred, there are few contested factual issues. In light of this reality and

the intertwined nature of the defendants’ motion to dismiss and Texas’s motion for a

preliminary injunction, the Court determined that consolidation was appropriate.

       Typically, “a court ruling on a 12(b)(6) motion may rely on the complaint, its proper

attachments, documents incorporated into the complaint by reference, and matters of which

the court may take judicial notice.” Innova Hosp. San Antonio, Ltd. P’ship v. Blue Cross & Blue

Shield of Ga., Inc., 892 F.3d 719, 726 (5th Cir. 2018) (internal citations and quotations




                                              – 28 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 29 of 120 PageID 1577



omitted) (quoting Wolcott v. Sebelius, 635 F.3d 757, 763 (5th Cir. 2011)). “However, under

Rule 12(b)(1), the [C]ourt may find a plausible set of facts by considering any of the

following: (1) the complaint alone; (2) the complaint supplemented by the undisputed facts

evidenced in the record; or (3) the complaint supplemented by undisputed facts plus the

[C]ourt’s resolution of disputed facts.” Lane, 529 F.3d at 557 (quotation omitted). Thus,

unlike a standard 12(b)(6) motion, where the evidence outside of the complaint that a court

may consider is heavily limited, precedent permits the Court to consider the “record”

generally when resolving a 12(b)(1) motion. Williamson v. Tucker, 645 F.2d 404, 413 (5th

Cir. 1981); see also Villarreal v. Wells Fargo Bank, N.A., 814 F.3d 763, 766 (5th Cir. 2016).

       Despite this common practice of courts considering the whole record in resolving a

12(b)(1) challenge, the defendants argued at trial that the Court should not consider Texas’s

declarations in determining whether it has standing. The Court disagrees and finds that it

can properly consider all evidence admitted at the trial in resolving the 12(b)(1) motion. See

Williamson, 645 F.2d at 413. Beyond considering the then-existing record, courts will

occasionally hold hearings and accept testimony and evidence in considering a 12(b)(1)

motion. See Mikkilineni v. Creative Prop. Mgmt. Co., 58 F.3d 636, 1995 WL 371938, at *2 (5th

Cir. 1995). Moreover, if a 12(b)(1) motion “raises factual issues, the plaintiff should have an

opportunity to develop and argue the facts in a manner that is adequate in the context of the

disputed issues and evidence.” Williamson, 645 F.2d at 414. Unless there is “an incurable

defect in the complaint,” courts permit plaintiffs to introduce further evidence to support

jurisdiction. Id. Thus, the Court can consider properly admitted declarations and other

evidence in determining whether Texas has standing, both for purposes of the defendants’

12(b)(1) challenge and the trial.



                                              – 29 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                    Page 30 of 120 PageID 1578



          Further, the general limitation on considering evidence outside of the complaint and

attachments for other Rule 12(b) motions exists to protect the plaintiff from having its case

dismissed prior to a fair opportunity to gather evidence to support its claims and to combat

whatever contrary proof a defendant seeks to offer. The Court sees no justification for

allowing the defendants in this circumstance to use this common shield instead as a sword

against the plaintiff. For one, where a plaintiff offers further evidence showing that it can

cure defects in the complaint’s allegations, courts typically offer leave to amend to

supplement those allegations. Accordingly, even if the declarations could not be

considered, the proper course of action would be to allow leave to amend so that Texas

could add the statements from the declarations to an amended complaint or to attach them.

At that point, the parties could then reargue this matter only to end up at the same place as

they are now. There is no justification for such delays and waste of the parties’ and the

Court’s resources, particularly when the defendants had ample opportunity to contest the

declarations. The defendants knew of the declarations’ contents for nearly three months

before trial, and the Court ordered Texas to make the declarants available for the defendants

to depose should the defendants wish to question the declarants directly on their statements.

Dkt. Nos. 75; 91. The defendants decided to forego that opportunity. See Dkt. No. 97.

Thus, requiring the parties to jump through additional procedural hoops would only

delay—not alter—the result of this case. Instead the Court will consider the full record in

resolving the defendants’ 12(b)(1) challenge, as courts routinely do.8


8
    In any event, even if the Court were to limit itself to the amended complaint for purposes of the
    defendants’ motion to dismiss, it would still find that Texas has standing to challenge the PWFA.
    As further discussed infra, the PWFA imposes new legal obligations on Texas that it alleges




                                                 – 30 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                    Page 31 of 120 PageID 1579



4.     Texas has standing to challenge the PWFA and therefore the Act’s passage.

       In order for a case to be justiciable, the plaintiff must have standing to challenge the

conduct at issue. Texas argues that it has standing to challenge the Act based on two

provisions: the PWFA and the CMPP. The Court concludes that Texas has established

standing to sue regarding the PWFA but not the CMPP. The PWFA creates a new

regulatory burden for Texas and opens it up to administrative and judicial proceedings by

the EEOC, the Attorney General, and third-party employees. While the Court cannot

enjoin those third-party employees from bringing PWFA claims against Texas, an

injunction prohibiting the EEOC and Attorney General from taking any enforcement action

against Texas would eliminate many compliance costs and would impact the

administrative-exhaustion process, thereby significantly lessening the harm to Texas. As for

the CMPP, Texas has shown only a speculative possibility that any injury from increased

immigration-related expenses is traceable to the challenged funds because, at this stage, it is

unclear where the funding will go. Accordingly, Texas has not shown that it has standing as

to the CMPP.

       A.      Legal Standard

       The power of the federal judiciary extends only to “[c]ases” and “[c]ontroversies.”

Spokeo, Inc. v. Robins, 578 U.S. 330, 337 (2016); U.S. Const. art. III, § 2. “One element of

the case-or-controversy requirement is that [a plaintiff], based on [its] complaint, must

establish that [it has] standing to sue.” Raines v. Byrd, 521 U.S. 811, 818 (1997).


 “subject it to the costs, hassles, and attendant risks of administrative proceedings, investigations,
 and lawsuits, by both private individuals and the federal government, should either an individual
 or the federal government feel that the State should indulge unreasonable demands.” Dkt. No. 4
 ¶ 28. The Court’s analysis regarding Texas’s injury from accommodations, charges, and litigation
 costs applies with equal force to this allegation, particularly at the lower standard necessary to find
 standing at the 12(b)(1) stage. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992).


                                                – 31 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 32 of 120 PageID 1580



       The “irreducible constitutional minimum of standing contains three elements.”

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). “The plaintiff must have (1) suffered an

injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and

(3) that is likely to be redressed by a favorable judicial decision.” Spokeo, 578 U.S. at 338

(quoting Lujan, 504 U.S. at 560–61). “The plaintiff, as the party invoking federal

jurisdiction, bears the burden of establishing these elements.” Id. Additionally, “standing is

not dispensed in gross; rather, plaintiffs must demonstrate standing for each claim that they

press and for each form of relief that they seek.” TransUnion LLC v. Ramirez, 594 U.S. 413,

431 (2021). Further, “when considering whether a plaintiff has Article III standing, a

federal court must assume arguendo the merits of his or her legal claim.” N. Cypress Med. Ctr.

Operating Co. v. Cigna Healthcare, 781 F.3d 182, 191 (5th Cir. 2015) (quoting Cole v. Gen.

Motors Corp., 484 F.3d 717, 723 (5th Cir. 2007)); FEC v. Cruz, 596 U.S. 289, 298 (2022) (“For

standing purposes, we accept as valid the merits of [plaintiffs’] legal claims. . . .”).

       The first prong of the standing inquiry is injury. “To establish injury in fact, a

plaintiff must show that he or she suffered ‘an invasion of a legally protected interest’ that is

‘concrete and particularized’ and ‘actual or imminent, not conjectural or hypothetical.’”

Spokeo, 578 U.S. at 339 (quoting Lujan, 504 U.S. at 560). A concrete injury is one that must

“actually exist”—it must be “‘real,’ and not ‘abstract.’” Id. at 340. Meanwhile, the

particularity aspect requires that the plaintiff be affected in a “personal and individual way.”

Id. at 339 (quoting Lujan, 504 U.S. at 560 n.1). Additionally, “under Article III, an injury in

law is not an injury in fact. Only those plaintiffs who have been concretely harmed by a

defendant’s statutory violation may sue that private defendant over that violation in federal

court.” TransUnion, 594 U.S. at 427 (emphasis in original). So a plaintiff who is merely



                                              – 32 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 33 of 120 PageID 1581



seeking to ensure that a defendant complies with the law does not have “grounds for Article

III standing” absent some “physical, monetary, or cognizable intangible harm traditionally

recognized as providing a basis for a lawsuit in American Courts.” Id. at 427–28.

       The second prong is traceability. This requires Texas to show that the challenged

government action caused its Article III injury. Allen v. Wright, 468 U.S. 737, 757 (1984).

While there must be “a causal connection between the plaintiff’s injury and the defendant’s

challenged conduct, [traceability] doesn’t require a showing of proximate cause or that ‘the

defendant’s actions are the very last step in the chain of causation.’” Inclusive Cmtys. Proj.,

Inc. v. Dep’t of Treasury, 946 F.3d 649, 655 (5th Cir. 2019) (quoting Bennett v. Spear, 520 U.S.

154, 169 (1997)). An injury is not fairly traceable if it is “the result of the independent

action of some third party not before the court.” Id. (quoting Bennett, 520 U.S. at 167). But

a plaintiff can satisfy traceability by showing that the challenged action “produce[s] a

‘determinative or coercive effect upon the action of someone else,’ resulting in injury.” Id.

(quoting Bennett, 520 U.S. at 169). In addition, courts find that the injury is traceable to the

challenged act when standing “does not rest on mere speculation about the decisions of

third parties” but instead “on the predictable effect of [g]overnment action on the decisions

of third parties.” Dep’t of Com. v. New York, 139 S. Ct. 2551, 2566 (2019).

       The third prong to demonstrate standing is redressability. Redressability requires a

plaintiff to show that that a favorable decision “is likely, as opposed to merely speculative,” to

redress its injury. Inclusive Cmtys. Proj., 946 F.3d at 655 (emphasis in original) (quoting

Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 181 (2000)). A

plaintiff demonstrates redressability if “the desired relief would lessen” the injury—a

“complete[] cure” is unnecessary. Id. However, “[r]elief that does not remedy the injury



                                              – 33 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                  Page 34 of 120 PageID 1582



suffered cannot bootstrap a plaintiff into federal court.” Steel Co. v. Citizens for a Better Env’t,

523 U.S. 83, 107 (1998).

       B.      Texas has standing to challenge the PWFA.

       Texas asserts that the PWFA imposes new legal obligations on employers such as

Texas. As a result of these obligations, Texas incurs costs from researching the new law to

ensure compliance, updating its policies and trainings, providing accommodations, and

responding to EEOC charges and lawsuits. In support of its argument, Texas has provided

the sworn declaration of Henry De La Garza, the Human Resources Director for the Texas

Office of the Attorney General (OAG). PX1. De La Garza oversees “employment [and]

compensation, benefits, recruiting, leave, training [and] development, accommodations,

charges of discrimination, and human resources policies” for the Texas OAG. Id. at 1. He

states that the PWFA requires multiple acts of his office. Specifically, the PWFA requires

him and other members of his office to:

       (1) engage in legal research to understand and prepare for the [PWFA]’s new
       requirements; (2) review and update OAG’s policies as needed to comply with
       the [PWFA]’s new requirements; (3) review and update any OAG training
       regarding the new requirements as needed to comply with the [PWFA]’s new
       requirements; (4) review, assess, and otherwise process any requested
       pregnancy accommodations under the [PWFA]’s new requirements; and
       (5) answer, respond, litigate, or otherwise defend against charges of
       discrimination filed with the [EEOC], investigations by the EEOC, lawsuits by
       the [DOJ], and private actions by allegedly aggrieved individuals.

Id. at 2–3. Altogether, Texas asserts that these five tasks each inflict a financial injury on the

State, and it contends that private PWFA enforcement actions harm it because it would be

immune from such suits in the absence of the PWFA.

       Given the credible evidence adduced by Texas at trial, Texas has standing to

challenge the PWFA. As a preliminary matter, Texas itself is directly regulated by the




                                               – 34 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 35 of 120 PageID 1583



PWFA, and in such circumstances, “there is ordinarily little question that the action . . . has

caused [it] injury, and that a judgment preventing . . . the action will redress it.” Lujan, 504

U.S. at 561–62. Due to the direct regulation of its employment practices by the PWFA,

Texas is injured by the costs of compliance, litigation, and administrative investigations

created by the PWFA, as well as the waiver of its sovereign immunity. The PWFA imposes

new legal obligations on Texas and creates avenues for suit that were previously

unavailable. Due to the PWFA, Texas incurs costs from updating its training and policies,

providing accommodations, and responding to PWFA charges, investigations, and lawsuits.

Moreover, Texas’s statements that it already provides reasonable accommodations does not

alleviate the heightened regulatory burden of PWFA charges, investigations, and lawsuits

because it is the worker—not Texas—who would bring the claim believing that she was

owed some reasonable accommodation that was not provided. These injuries are directly

inflicted by the PWFA, and the Court can redress this harm by enjoining the defendants

from enforcing the statute.

               i.     Injury-in-Fact

       Texas’s asserted injuries from the PWFA fall into two groups: (1) initial

administrative costs that it faces immediately from the promulgation of the PWFA, such as

updating its employment policies and anti-discrimination trainings; and (2) recurring costs

from providing pregnant workers with accommodations and responding to charges of

discrimination and resulting litigation. The Court addresses whether each type of injury

demonstrates an injury-in-fact for purposes of standing in turn, and the Court finds that both

injuries establish standing.




                                             – 35 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                     Page 36 of 120 PageID 1584



                          a.      Initial Administrative Costs

          Texas’s claimed injuries from legal-research costs, updating policies, and amending

trainings all result from initial administrative costs from the PWFA. These costs constitute

an injury-in-fact to Texas as the State has shown it will suffer a pocketbook injury from the

PWFA’s implementation.

          De La Garza’s declaration provides that OAG expects to incur $1,475.97 in order to

complete these tasks. PX1 at 3. Specifically, he notes that OAG

          will spend roughly (1) $574.76 to have the Human Resources (“HR”) Director,
          HR Deputy Director, and a law clerk engage in adequate legal research of the
          [PWFA]’s new requirements; (2) $637.58 to have the HR Director, HR Deputy
          Director, Director of Employee Development, and Administrative Operations
          Manager review and update OAG’s policies in order to comply with the
          [PWFA]’s new requirements; [and] (3) $[236.63] to have the HR Director,
          Director of Employee Development, and Senior Training Coordinator review
          and update any OAG training as needed to comply with the [PWFA]’s new
          requirements.

Id.9 His statements are corroborated by the EEOC’s own Initial Regulatory Impact Analysis

detailed in its Notice of Proposed Rulemaking on the PWFA, which detailed the expected

one-time and annual costs to employers in order to comply with the PWFA. See

Regulations to Implement the Pregnant Workers Fairness Act, 88 Fed. Reg. 54714, 54749–

64 (proposed Aug. 11, 2023). The EEOC estimated that state and local governments

collectively will spend $360,000 in one-time administrative costs from “rule familiarization,

posting new equal employment opportunity posters, and updating EEO policies and

handbooks.” Id. at 54760–61. While the EEOC’s estimates are not Texas-specific, they




9
    As previously noted, see note 6 supra, De La Garza provided a cost estimate of $263.63 in this
    portion of his declaration, which does not match his total expected costs and his attached exhibit.
    See PX1 at 3, 6. Accordingly, for consistency with the Court’s finding of fact that this cost is
    $236.63, the Court corrects the apparent typographical error here.


                                                  – 36 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 37 of 120 PageID 1585



demonstrate that these tasks must be completed and that state employers like Texas face

financial costs from the PWFA. See id.

       These “pocketbook injur[ies are] a prototypical form of injury in fact.” Collins v.

Yellen, 594 U.S. ----, 141 S. Ct. 1761, 1779 (2021). “For standing purposes, a loss of even a

small amount of money is ordinarily an ‘injury.’” Czyzewski v. Jevic Holding Corp., 580 U.S.

451, 465 (2017). Further, completing these tasks requires Texas “to divert time and

resources away from [its] regular [business],” which also constitutes a concrete injury. Book

People, Inc. v. Wong, No. 23-50668, --- F.4th ----, 2024 WL 175946, at *7 (5th Cir. Jan. 17,

2024) (second alteration in original) (quoting All. For Hippocratic Med. v. U.S. Food & Drug

Admin., 78 F.4th 210, 235 (5th Cir.), cert. granted, No. 23-235, 2023 WL 8605746 (U.S. Dec.

13, 2023), and cert. granted sub nom. Danco Lab’ys, L.L.C. v. All. Hippocratic Med., No. 23-236,

2023 WL 8605744 (U.S. Dec. 13, 2023), and cert. denied, No. 23-395, 2023 WL 8605749

(U.S. Dec. 13, 2023)). Accordingly, Texas’s evidence of the financial costs from these

administrative measures stemming from the PWFA demonstrates an injury-in-fact.

                      b.      Accommodations, Charges, and Litigation

       Texas also argues that the PWFA injures it by requiring it to provide

accommodations, respond to PWFA charges filed with the EEOC, and deal with the costs

associated with EEOC investigations and litigation. In addition to these financial harms

and regulatory burdens, Texas asserts that it is harmed because the PWFA waives its

sovereign immunity. The Court finds that Texas has proven that these injuries also

constitute injuries-in-fact for purposes of standing.

       Under the “ordinary rule,” a party that is the “object[] of the [r]egulation[] may

challenge it.” Contender Farms, L.L.P. v. U.S. Dep’t of Agriculture, 779 F.3d 258, 266 (5th Cir.



                                             – 37 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 38 of 120 PageID 1586



2015). Because Texas is a covered employer, the PWFA directly regulates Texas by

requiring it to make reasonable accommodations for pregnant workers when it previously

had no legal obligation to do so. 42 U.S.C. §§ 2000gg, 2000gg-1; see also PX1. This

“amounts to an increased regulatory burden,” which “typically satisfies the injury in fact

requirement.” Contender Farms, L.L.P., 779 F.3d at 266. Moreover, if Texas fails to provide

what an employee believes to be a reasonable accommodation, Texas faces investigations by

the EEOC and referrals to the Attorney General for enforcement proceedings. As a result,

the Texas OAG estimates that it will incur annual costs of “$539.13 to have the HR

Director and Administrative Operations [M]anager review, assess, and otherwise process

any pregnancy accommodations requests under the [PWFA’s] new requirements” and

“$4,685.92 to have the HR Director, HR Deputy Director, law clerk, and Administrative

Operations Manager . . . answer any charges of discrimination filed with the EEOC.” PX1

at 3. This “regulatory burden on Texas to comply with the [PWFA] to avoid enforcement

actions” provides standing. Texas v. EEOC, 933 F.3d 433, 447 (5th Cir. 2019).

       Nevertheless, the defendants assert that Texas’s financial injury is too hypothetical to

provide standing, especially because Texas states that it already “accommodates the

reasonable needs of its pregnant employees as a matter of course.” Dkt. No. 52 at 36–37

(quoting Dkt. No. 4 ¶ 28). But “a plaintiff who wishes to challenge the constitutionality of a

law” need not “confess that [it] will in fact violate that law.” Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 163 (2014). As Texas notes, the PWFA “subject[s] it to the costs,

hassles, and attendant risks of administrative proceedings, investigations, and lawsuits, by

both private individuals and the federal government, should either an individual or the

federal government” believe that Texas should have made an ungranted accommodation.



                                             – 38 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 39 of 120 PageID 1587



Dkt. No. 4 ¶ 28; accord. PX1 at 1–3; 42 U.S.C. §§ 2000e-5, 2000gg-2; 29 C.F.R. §§ 1601.15–

17, 1601.23–25, 1601.28–29. And while Texas had discretion to offer those

accommodations it believed to be reasonable before the PWFA, it now must address

accommodation requests through the ADA’s required interactive process with the looming

threat of investigations and litigation if its employee believes a denied request was

reasonable. See PX1 at 1–3; 42 U.S.C. §§ 2000e-5, 2000gg-1, -2. Accordingly, Texas’s mere

belief that it already offers reasonable accommodations does not eliminate the PWFA’s

increased regulatory burden under these circumstances.

       The Fifth Circuit has found standing in a similar situation where the ultimate impact

of the regulation required additional efforts and costs from the plaintiffs even though they

did not claim that their prior activity violated the regulation. Contender Farms L.L.P., 779

F.3d at 267–68. There, the regulation at issue prohibited soring horses, and the defendants

asserted that the plaintiffs were not injured because “the [r]egulation targets only those horse

owners who sore horses,” not those like the plaintiffs “who purportedly do not.” Id. at 266.

The Fifth Circuit disagreed, noting that soring “yields a large number of ‘false positives’”

because “[i]n many cases, inspectors, veterinarians, and other professionals will disagree as

to whether a horse is actually a sore.” Id. at 266, 268. Thus, even if the plaintiffs did not

sore horses, they could face prosecution and “must take additional measures to avoid even

the appearance of soring.” Id. at 266. Likewise, here, while the PWFA ultimately targets

employers that do not provide reasonable accommodations, Texas still faces the threat of

administrative and judicial proceedings and liabilities if third parties or the defendants

disagree with its assessment of what accommodations are reasonable.




                                             – 39 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                         Page 40 of 120 PageID 1588



           Employers and employees often disagree on what constitutes a reasonable

accommodation, and Texas’s opinion that it provides reasonable accommodations is not

sufficient in itself to avoid administrative proceedings and lawsuits. See, e.g., EEOC v. Agro

Distrib., LLC, 555 F.3d 462, 471 (5th Cir. 2009); Austgen v. Allied Barton Sec. Servs., L.L.C.,

815 F. App’x 772, 775–76 (5th Cir. 2020). Even though Texas already provides what it

considers to be reasonable accommodations for its pregnant workers, some employees and

the defendants will likely think that additional measures are necessary at times. Given an

avenue to seek administrative and judicial recourse, those workers will pursue the PWFA’s

remedies, just as many plaintiffs have done through Title VII and the ADA. There are

numerous examples of suits against Texas on the basis that it failed to provide a reasonable

accommodation, including by pregnant employees. See, e.g., Issa, 2023 WL 4923971, at *1–

2, 6; Dugger v. Stephen F. Austin Univ., 232 F. Supp. 3d 938, 942–44, 956–58 (E.D. Tex.

2017).10 The PWFA opens the door to even more litigation and the attendant costs by

expanding those entitled to accommodations under federal law.

            In addition, the significant time and litigation expenses that Texas faces from the

abrogation of its sovereign immunity also constitutes an injury for standing. The State is

ordinarily immune from suits by its citizens or citizens of another state pursuant to the

Constitution’s “structural understanding that States entered the Union with their sovereign

immunity intact” and the Eleventh Amendment. Va. Off. for Prot. & Advoc. v. Stewart, 563


10
     See also, e.g., Jin Choi v. Univ. of Tex. Health Sci. Ctr. at San Antonio, 633 F. App’x 214, 215–16 (5th
     Cir. 2015); Ituah ex rel. McKay v. Austin State Hosp., No. 22-50305, 2023 WL 3222848, *2 (5th Cir.
     May 3, 2023); Hodges v. Univ. of Tex. at Arlington, No. 4:23-CV-7, 2023 WL 4759228, *1 (N.D. Tex.
     July 26, 2023); Sweeney v. Tex. State Univ., No. 1:14-CV-910, 2016 WL 4368380, at *3–4 (W.D.
     Tex. Aug. 15, 2016); Amsel v. Tex. Water Dev. Bd., No. A-09-CA-389, 2010 WL 11519190, at *14–
     16 (W.D. Tex. Nov. 22, 2010), report and recommendation adopted by 2011 WL 13185793 (Feb. 15,
     2011).


                                                     – 40 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 41 of 120 PageID 1589



U.S. 247, 253 (2011). This immunity “is the privilege of [Texas] to not be sued without its

consent,” id., and it “serves to avoid ‘the indignity of subjecting [Texas] to the coercive

process of judicial tribunals at the instance of private parties.’” Seminole Tribe of Fla. v.

Florida, 517 U.S. 44, 58 (1996) (quoting P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc.,

506 U.S. 139, 146 (1993)). This “fundamental constitutional protection” of Texas is

imperiled by the PWFA because individuals can hale Texas into federal court to answer

allegations that it violated the Act’s protections. See id.; 42 U.S.C. §§ 2000e-5, 2000gg-2.

While no PWFA charges had been filed against Texas by the end of October 2023, see DX5

at 3–4, this new avenue for workers to seek redress will assuredly result in litigation against

Texas in the near future. As discussed, the PWFA encourages aggrieved workers to file

charges and litigate their claims, and the history of past employment-discrimination statutes

makes clear that employees will bring such claims, including Texas’s employees.

       Texas’s fear that the PWFA will result in new investigations and litigation is hardly

speculative or improbable based on this history. Moreover, the obvious purpose of the

PWFA is to create a new federal forum for pregnant employees who believe they were

denied reasonable accommodations by permitting them to file charges with the EEOC.

Although mere allegations of a possible future injury are insufficient, it is not a hypothetical

that one of Texas’s employees will bring a charge but an inevitability. Cf. Clapper v. Amnesty

Int’l USA, 568 U.S. 398, 409–14 (2013) (finding an injury to be too speculative where the

plaintiffs lacked evidence that the government would ever obtain their communications

under the challenged statute because they lacked proof of the government’s targeting

practices). To minimize this threat, Texas must provide additional accommodations that it

would otherwise have no obligation to offer. And Texas has demonstrated that its Attorney



                                              – 41 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 42 of 120 PageID 1590



General’s office alone will incur around $5,000 in annual costs from the PWFA’s

accommodation requirements and grievance scheme. PX1 at 3.

       Accordingly, Texas will suffer an injury-in-fact from the PWFA due to its costs from

offering additional accommodations and responding to charges and litigation.

               ii.    Traceability

       Next, the Court finds that Texas’s injuries are fairly traceable to the PWFA. Its

injury from these initial administrative costs directly results from the new requirements of

the PWFA to provide reasonable accommodations and the rights of pregnant workers that

necessitate these updates in policies and trainings. See PX1; 42 U.S.C. § 2000gg-1.

Likewise, its obligation to provide reasonable accommodations and respond to

discrimination charges and lawsuits also arises from the PWFA, its adoption of Title VII’s

remedial scheme, and its waiver of Texas’s sovereign immunity. 42 U.S.C. §§ 2000e-5,

2000gg-1, 2000gg-2(a), 2000gg-4. In addition, the burdens of complying with the EEOC or

Attorney General’s inquiries or subsequent litigation are directly inflicted by those

defendants’ authorities under the PFWA.

       Despite the clear link between the PWFA’s requirements and Texas’s injuries, the

defendants assert that these injuries are not caused by the PWFA but instead by

independent third-party workers who will seek accommodations and bring EEOC charges.

The defendants’ arguments here effectively amount to requiring the PWFA to be the “very

last step in the chain of causation,” which courts have consistently rejected. See Bennett, 520

U.S. at 169; Inclusive Cmtys. Proj., Inc., 946 F.3d at 655. Certainly, traceability and

redressability can be difficult to prove when a plaintiff’s injury “depends on the unfettered

choices made by independent actors not before the courts and whose exercise of broad and




                                             – 42 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 43 of 120 PageID 1591



legitimate discretion the courts cannot presume either to control or to predict.” Lujan, 504

U.S. at 562 (quoting ASARCO, Inc. v. Kadish, 490 U.S. 605, 615 (1989) (opinion of Kennedy,

J.)); Warth v. Seldin, 422 U.S. 490, 504–08 (1975). However, these concerns over the

actions of third parties typically arise when the plaintiff is not the object of the challenged

regulation. See Lujan, 504 U.S. at 562; Warth, 422 U.S. at 504–08; ASARCO, Inc., 490 U.S.

at 615 (opinion of Kennedy, J.); Inclusive Cmtys. Proj., Inc., 946 F.3d at 655. The PWFA

itself imposes the obligation on Texas to comply with any requests from the third parties

and to answer to charges and litigation. In the absence of the PWFA, Texas would not

need to change its policies, provide the covered accommodations, or face EEOC charges,

and there would be no PWFA cause of action. Accordingly, Texas’s injuries are traceable

to the PWFA itself because it has a determinative effect on the actions of the third parties by

giving them a right to seek such relief and necessitates Texas’s response. See Bennett, 520

U.S. at 169.

       Moreover, the Court can, and does, reasonably predict that the PWFA will cause

third parties to make choices that will result in Texas’s injuries by giving them new rights

and remedies. See Dep’t of Com., 139 S. Ct. at 2566. As the Court has discussed, the clear

result of the PWFA’s existence and the EEOC accepting and investigating charges of

discrimination is that pregnant workers will seek accommodations and file charges if they

believe their rights were violated. Employees “have historically responded” to statutes like

the PWFA by seeking accommodations, bringing charges, and filing lawsuits, so Texas’s

“theory of standing thus does not rest on mere speculation about the decisions of third

parties” but “the predictable effect of [g]overnment action on the decisions of third parties.”

See id. Accordingly, the Court finds that covered pregnant employees will seek



                                              – 43 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 44 of 120 PageID 1592



accommodations and will bring PWFA claims against Texas and its agencies. As a result,

the only relevant third-party choice necessary to create Texas’s accommodation- and

litigation-based injuries will occur. Traceability is therefore satisfied.

               iii.   Redressability

       Texas’s sought relief would also reduce its injuries. While the Court cannot enjoin

nonparties such as pregnant workers seeking to bring PWFA charges, “a favorable ruling

could potentially lessen [Texas’s] injury” enough to establish redressability. Sanchez v.

R.G.L., 761 F.3d 495, 506 (5th Cir. 2014) (quoting Antilles Cement Corp. v. Fortuno, 670 F.3d

310, 318 (1st Cir. 2012)). The Fifth Circuit has found standing in a similar case involving

both private and public enforcement when the plaintiff sought an injunction against the

government actor charged with enforcement even though a favorable result would not

preclude private parties from seeking relief. Consumer Data Indus. Ass’n v. Texas, No. 21-

51038, 2023 WL 4744918, at *6 (5th Cir. July 25, 2023). Likewise, here, although third

parties not before the Court could still seek enforcement of the PWFA against Texas despite

any remedy here, Texas can obtain relief from enforcement by the defendants. The EEOC

and Attorney General investigate charges filed under the PWFA, and the Attorney General

has the power to bring a lawsuit against Texas if he believes a violation occurred. 42 U.S.C.

§§ 2000e-5(b), (f)(1), 2000gg-2(a)(1). But if they are enjoined from enforcing the PWFA, the

burdens from those investigations and lawsuits would be lessened, if not eliminated. This

reduction in “the total amount of risk and liability” that Texas faces under the PWFA is

sufficient for redressability. Consumer Data Indus. Ass’n, 2023 WL 4744918, at *6.

       As for Texas’s injury to its sovereign immunity, the PWFA adopts Title VII’s

remedial structure and therefore requires administrative exhaustion before someone could




                                              – 44 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 45 of 120 PageID 1593



file a claim in court. 42 U.S.C. §§ 2000e-5, 2000gg-2; see Ernst v. Methodist Hosp. Sys., 1 F.4th

333, 337 (5th Cir. 2021). To properly exhaust, a worker must file a charge with the EEOC,

wait for the EEOC to investigate, the Attorney General to decline to bring a lawsuit, and

then receive a notice of her right to sue. 42 U.S.C. § 2000e-5; Ernst, 1 F.4th at 337. If the

EEOC and Attorney General are enjoined, they would be unable to receive the charges or

issue the notices such that the worker could not administratively exhaust. Texas could seek

to dismiss on the basis of a failure to exhaust if a worker were nevertheless to file suit in

federal court, similar to its ability to assert sovereign immunity to such a suit prior to the

PWFA’s existence. See Taylor v. Books A Million, Inc., 296 F.3d 376, 379 (5th Cir. 2002).

Even if courts ultimately adopted an equitable exception to exhaustion because of an

injunction against the EEOC, the EEOC’s refusal of the charge might deter some people

who would otherwise be inclined to sue Texas under the PWFA, thereby alleviating some of

its injury. Regardless, the EEOC’s ability to investigate the charge would be prohibited if

Texas prevailed, so the attendant costs of such investigation would be redressed. Moreover,

this lowered risk will also allow Texas to maintain its existing policies and training or, at

least, reduce the number of changes it would otherwise need to make.

       In light of the record and the foregoing analysis, Texas has proven by a

preponderance of the evidence that it has standing to challenge the PWFA.

       C.      Texas lacks standing to challenge the CMPP funding.

       Texas also asserts that it is injured by a provision of the Act that “allocates $20

million to a case-management pilot program for the Department of Homeland Security’s

‘Alternatives to Detention Program.’” Dkt. No. 4 ¶ 31. It claims that this appropriation

encourages illegal immigration into Texas and connects these aliens to its social services,




                                              – 45 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 46 of 120 PageID 1594



thereby imposing additional health care, education, and law enforcement costs on the State.

Dkt. No. 38 at 21–24; see generally PX2; PX3; PX4; PX11. Texas has provided sworn

statements from three officials detailing these immigration-related costs to the State. PX2;

PX3; PX4.

       While Fifth Circuit precedent has repeatedly established that these costs from

increased immigration into the State constitute an injury-in-fact, Texas has not

demonstrated that these injuries are traceable to the CMPP funding at issue in this case.

While the Court recognizes the evidence establishing the significant burden that illegal

immigration imposes on Texas generally, Texas has provided no evidence that the 2023

CMPP funds will increase immigration. At this stage, the 2023 funds have not been

distributed to any particular organization, so there is no evidence that the funds will go to

any organization within Texas. Moreover, even if traceability were satisfied, Texas’s

requested relief would not remedy its injury because there is no evidence that enjoining the

2023 CMPP funds would alleviate illegal immigration and its costs to Texas. The currently

funded program, which has not been challenged, has only 136 participants in Texas, yet

illegal immigration and its costs to Texas have been—and remain—substantial.

Accordingly, Texas lacks standing to challenge the CMPP funding.

              i.      Injury-in-Fact

       Texas cites increased health care, education, and law enforcement costs as injuries-

in-fact created by the CMPP. PX2; PX3; PX4; PX11. To be sure, these cited expenses are

routinely affirmed as injuries-in-fact by the Fifth Circuit when Texas has raised challenges to

governmental action regarding immigration. See, e.g., Gen. Land Off. v. Biden, 71 F.4th 264,

272 (5th Cir. 2023); Texas v. United States (DACA), 50 F.4th 498, 517–18 (5th Cir. 2022); State




                                             – 46 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 47 of 120 PageID 1595



v. Biden (MPP I), 10 F.4th 538, 546–47 (5th Cir. 2021). And the record also demonstrates

that at least some CMPP enrollees are located and remain in Texas. DX4 at 2. Putting

aside for the moment the particular question of how the CMPP funds from the Act would

increase the number of aliens in Texas, see Section 4.C.ii., infra, the Court concludes that

Texas has shown a cognizable injury-in-fact.

       Beginning with health care, the Texas Health and Human Services Commission

provides “three principal categories of services and benefits to undocumented immigrants in

Texas: (i) Texas Emergency Medicaid; (ii) the Texas Family Violence Program (FVP); and

(iii) Texas Children’s Health Insurance Program (CHIP) Perinatal Coverage.” PX4 at 2.

All States are required by federal law to provide Emergency Medicaid coverage to aliens,

which is jointly funded by the federal government and the States. See id.; 8 U.S.C.

§ 1611(b)(1)(A). As a result, Texas is legally obligated to bear part of the cost of Emergency

Medicaid for qualifying aliens. Texas estimates that Emergency Medicaid coverage to

illegal aliens has cost it tens of millions of dollars annually since 2019. PX4 at 3–4.

Similarly, to provide CHIP Perinatal Coverage to such aliens, Texas has spent $11.1 million

in 2019; $16.9 million in 2020; $25.8 million in 2021; and $30.9 million in 2022. Id. at 4–5.

These costs vary annually because they are “affected by both the volume and cost of services

provided and annual changes in the percentage of expenditures matched by the federal

government.” Id. at 5. As a result, if there are more aliens in the State, Texas faces a

substantial risk that it will incur greater costs related to these health care expenditures.

       Next, Texas has established that it must increase expenditures for public education

with an increase in alien children. All States are required to provide free public education to

undocumented children. Plyler, 457 U.S. at 230. The Texas Education Agency estimates



                                              – 47 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 48 of 120 PageID 1596



that “the average funding entitlement from state and local sources for fiscal year 2023 will

be $9,564 per student in attendance for an entire school year.” PX2 at 1. For those students

that qualify for additional bilingual education, which applies to most alien children, Texas

must spend approximately $11,781 to educate each student. Id. Texas has historically faced

a sizeable number of such alien children in its schools. For example, from October 2021 to

September 2022, 19,071 alien children were released to sponsors in Texas, resulting in

$224.67 million in educational expenses. Id. at 2–3. Such costs from these children would

continue so long as they are enrolled in Texas schools. In sum, any additional alien child

enrolled in and attending Texas public schools increases Texas’s educational expenditures.

Id. at 3.

        Finally, Texas also incurs law-enforcement related costs from aliens. The Texas

Department of Criminal Justice (TDCJ) spends $77.49 systemwide for each day an inmate

is incarcerated. PX3 at 2. For fiscal year 2022, the TDCJ held 6,914 undocumented

criminal aliens with at least one felony or two misdemeanor convictions for violations of

state or local law. Id. at 1–2. Based on the number of aliens and the days each was held,

TDCJ spent $156,501,516 to incarcerate these aliens. Id. at 2. While the federal

government reimburses some of this cost, such compensation is minimal. See id. at 2–3. For

example, in fiscal year 2021, TDCJ spent $153,786,422 in incarceration costs for such

criminal aliens but was reimbursed only $14,883,040. Id. at 3. Accordingly, “to the extent

the number of aliens in TDCJ custody increases, TDCJ’s unreimbursed expenses will

increase as well.” Id.

        These foregoing costs satisfy the injury-in-fact requirement. As previously stated,

financial injuries are quintessential injuries-in-fact for standing purposes. Collins, 141 S. Ct.



                                              – 48 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 49 of 120 PageID 1597



at 1779. More specifically, courts in the Fifth Circuit routinely find these exact types of

financial harms to constitute injuries-in-fact. E.g., Gen. Land Off., 71 F.4th at 272; Texas

(DACA), 50 F.4th at 517–18; State (MPP I), 10 F.4th at 546–47; Texas v. United States (100-Day

Pause), 524 F. Supp. 3d 598, 620–21 (S.D. Tex. 2021). These financial injuries are concrete

and particularized to Texas, and given that Texas currently provides and must continue to

provide health care and public education to aliens and plans to continue incarcerating

criminal aliens, these injuries are certain to occur in the future. PX2; PX3; PX4; see also

Texas (100-Day Pause), 524 F. Supp. 3d at 620–21.

                 ii.    Traceability

          But the required analysis does not end there. Texas must also prove that its injuries-

in-fact are fairly traceable to the CMPP funding at issue in this case. To do so, Texas must

demonstrate that the CMPP would increase the number of aliens in Texas and that some of

those aliens would be incarcerated by TDCJ, would attend Texas public schools, or would

use the health care services offered to such aliens. See Texas (100-Day Pause), 524 F. Supp. 3d

at 622.

          While Texas may be able to show some injury connected to past CMPP funds, it has

failed to prove by a preponderance of the evidence that the 2023 funds at issue will result in

any injury to the State. Importantly, at this point, it is undisputed that no organization has

been awarded the 2023 funds, and there is no guarantee that the money will go to an entity

in Texas. And Texas’s response that the recipient of the funds is irrelevant is unavailing

because it has not provided the Court with evidence suggesting that the CMPP will increase

immigration into Texas if there were no CMPP site in Texas funded by the 2023 funds.




                                              – 49 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 50 of 120 PageID 1598



                     a.      Past CMPP Funding

       As detailed earlier, the CMPP is part of ICE’s Alternatives to Detention programs.

PX5. The Alternatives to Detention programs permit “eligible non-detained noncitizens to

remain in their communities pending the outcome of their immigration cases.” DX7 at 1.

The CMPP applies only to those who are on ICE’s non-detained dockets and “plays no role

in ICE [Enforcement and Removal Operations]’s decision to release an individual from its

custody.” Id. at 2. Accordingly, the CMPP itself does not result in the release of persons

from ICE’s custody and does not dictate the federal government’s arrest or prosecution

policies, which are instead impacted by other laws and regulations not at issue in this case.

See id. Instead, the CMPP is one of ICE’s programs for persons after Enforcement and

Removal Operations decides not to detain the individual based on other laws, regulations,

and policies. Id.; PX6. Unlike the other Alternatives to Detention programs, the CMPP is

overseen by the CMPP National Board and the subrecipients—not ICE itself. DX7 at 2;

PX7 at 1. And, notably, CMPP enrollees are not subjected to the technology-monitoring

requirements of the other Alternatives to Detention programs. See PX8 at 4. An alien

enrolled in Alternatives to Detention may voluntarily enroll in the CMPP if in a geographic

location served by a CMPP subrecipient. Id.; see DX4 at 2. Once enrolled, there is no

requirement for the alien to remain in the geographic region, but to receive services “he or

she must reside in the geographic location served by the relevant nonprofit subrecipient.”

DX4 at 2.

       The Consolidated Appropriations Act of 2021 and 2022 each provided two tranches

of CMPP funding. These past funds have gone through the full application process and for

both, BakerRipley, a Houston organization, has been a subrecipient of the funds. See DX13;




                                            – 50 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 51 of 120 PageID 1599



2022 CMPP Subrecipient Announcement, supra. With these funds, the subrecipients must

provide case-management services in their geographic locations, “including but not limited

to: mental health services; human and sex trafficking screening; legal orientation programs;

cultural orientation programs; [and] connections to social services.” DX9 at 3. Such

connections to social services include helping aliens access health care and schooling. Id. at

3–4. In fact, the CMPP National Board specifically considers an organization’s ability to

connect aliens to “health screening and medical services” and “school enrollment” in its

selection process, and a subrecipient’s performance is judged in part on its success in

facilitating such connections. Id. at 17–18. Accordingly, some of these past funds have

gone to BakerRipley in Houston with the aim that it will help those enrolled in the CMPP

access health care and education services in Houston.

       The CMPP aims “to serve a minimum of 2,800 individual with a goal of serving

5,000 or more.” PX8 at 3. To recruit aliens to enroll in the CMPP, in April 2023,

BakerRipley was provided contact information for a randomized group of individuals

enrolled in Alternatives to Detention. PX8 at 5; DX11 at 3–4. As of October 31, 2023, only

138 aliens had enrolled in the CMPP in Texas, however “[a]t least two CMPP participants

have left Texas, either moving to another state or returning to their country of citizenship.”

DX4 at 2. Based on this information, the past CMPP funding has resulted in some aliens

enrolling into the CMPP in Texas and therefore being connected to Texas’s social services

such as health care and education.

       Texas has not provided specific evidence of any person who will attend its schools or

use its medical services who would not have in the absence of the CMPP. But this is not

necessarily fatal. See Texas v. Biden (MPP II), 20 F.4th 928, 971 (5th Cir. 2021), rev’d on other



                                             – 51 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                     Page 52 of 120 PageID 1600



grounds, 597 U.S. 785 (2022). For large-scale policies, a state plaintiff may rely on “large-

scale statistics and figures, rather than highly specific individualized documents” and

therefore can show standing even if there is some possibility that any given person would

inflict such costs even without the challenged action. Id. For example, the Fifth Circuit

rejected the federal government’s argument that Texas lacked standing based on its driver’s

license fee injury where it had not shown that it had issued a license to someone who

became eligible for a license due to the challenged action. Id. Instead, the Fifth Circuit

stated that the “big-picture evidence” that the challenged action “increas[ed] the number of

[paroled aliens] and the fact that many of those parolees will apply for Texas licenses” made

it “impossible to imagine” that the challenged action would not cost Texas money. Id.

          But these large-scale policies typically involve at least tens of thousands of migrants.

See, e.g., id. at 948. For example, the Migrant Protection Protocols involved over 68,000

aliens, id., DACA covered around 1,500,000 aliens and DAPA applied to approximately

4,300,000 aliens, Texas (DACA), 50 F.4th at 508–09. Given the evidence before the Court

that only 138 persons had enrolled in the CMPP in Texas by the end of October after six

months of BakerRipley’s recruiting, DX4 at 2; DX11 at 4, the Court questions whether the

CMPP can be classified as a similar large-scale policy and, as a result, whether the lack of

specific evidence is fatal in this case.11 Nevertheless, for the reasons that follow, the Court

need not resolve this issue.

                          b.      The 2023 Funds

          Even if the foregoing were sufficient to show Texas’s financial injuries from

increased immigration are traceable to past CMPP funds, Texas has not demonstrated that


11
     Moreover, at least two of those 138 enrollees had already left Texas by that time. DX4 at 2.


                                                  – 52 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 53 of 120 PageID 1601



its injuries are fairly traceable to the only funds at issue here—the 2023 funds. There is no

guarantee that the 2023 funds will go to BakerRipley or any other organization in Texas.

Additionally, there is no evidence before the Court explaining how the CMPP’s existence

will increase the number of aliens in Texas and those using its services in the absence of a

subrecipient helping connect people to such services.

       Supreme Court precedent establishes that “[a] plaintiff who challenges a statute must

demonstrate a realistic danger of sustaining a direct injury as a result of [that] statute’s

operation or enforcement,” not just an injury from the operation of some statute. Babbitt v.

United Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979); Clapper, 568 U.S. at 410. As a

result, to show standing, a plaintiff cannot point to other provisions that operate

independent of the challenged one. California v. Texas, 593 U.S. ----, 141 S. Ct. 2104, 2119–

20 (2021). Accordingly, no matter the effect of the past years of CMPP funding, Texas

cannot show that it has standing solely by pointing to those expenditures because they are

not before the Court, and no remedy here could possibly stop that harm. See id. So, to the

extent that Texas’s injuries are connected to the CMPP funding due to the actions of a

subrecipient in the State encouraging aliens to use its services, it must demonstrate that the

2023 funds will be awarded to a Texas entity. It has not done so at this point in time.

       At this point, there is no evidence to show that the funds will actually go to Texas

such that the Houston program will continue to be funded by the CMPP appropriation at

issue or that some other location in Texas would be chosen. CMPP funds go through a

two-stage award process before any subrecipient receives them. As detailed earlier, the

grant process takes many stages and years to complete. See Section 2.I, supra; DX8 at 2–4;

DX11 at 3–4. For the 2023 funds, FEMA has not yet awarded the funds to the National



                                              – 53 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 54 of 120 PageID 1602



Board, and no subrecipients have been selected. DX4 at 3. Based on the timeline for the

past awards to subrecipients, the funds are unlikely to be awarded to a subrecipient until

November or December 2024. Moreover, “[t]he National Board’s subgrant awards to

subrecipients do not automatically renew.” Id. at 2. Instead, an organization must apply

again each time there is a funding opportunity and must be selected again by the National

Board. Id. at 2–3. There is no guarantee that the National Board will select an existing

CMPP provider for future subgrants as “[t]here is no obligation to provide future funding

from the . . . 2023 Appropriations Act to past recipients.” Id. And the fact that a Texas

nonprofit received funds from past appropriations acts “does not mean that nonprofit

organizations in [Texas] will necessarily receive subgrants in the future.” DX11 at 4.

Accordingly, although BakerRipley received funds from both the 2021 and 2022 Acts, it

may not receive any of the 2023 funds.

       This is not a mere empty possibility. The other subrecipient from 2021, a New York

organization, did not receive funding from the 2022 Act, and no other New York

organization was awarded funding. DX11 at 3; 2022 CMPP Subrecipient Announcement,

supra. As a result, the Court cannot conclude based on the record before it that it is more

likely than not that the 2023 funds will go to BakerRipley or another Texas organization.

       In response to this reality, Texas argues that what actually happens with the funding

is irrelevant because “the [CMPP] lowers the opportunity cost of illegally immigrating to the

United States . . . even for those who ultimately do not receive the benefit of the program.”

Dkt. No. 38 at 23. In essence, Texas contends that the CMPP funding injures the State by

the message it sends—“that the federal government’s priorities have shifted from deterring

such immigration to facilitating a transition into living in the United States.” Id. Aliens



                                            – 54 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 55 of 120 PageID 1603



need not actually participate in a CMPP program to see that the continued funding of these

Alternatives to Detention programs indicates that the federal government is more focused

on helping them integrate into local communities than deterrence, detention, and removal.

Once in those communities, the various states will face the health care, education, and law-

enforcement costs demonstrated by Texas. Moreover, Texas argues that these messages

encourage illegal immigration into Texas right now.

       Certainly, access to governmental social services and integration into the community

rather than detention may encourage immigration. See generally 8 U.S.C. § 1601(2) (noting

that the “availability of public benefits” can “constitute an incentive for immigration”).

Knowing that the existing program will continue, people may then illegally enter Texas

because of its position along the border and because of their knowledge that it is the site of

one of the current pilot programs for the CMPP. Moreover, those currently present in

Houston who may consider leaving the United States or going to another state may decide

to stay in Texas because of the program created by the previous funding and a belief that the

additional appropriation means that this assistance to finding services will continue. Even if

the money ultimately goes elsewhere, the broader message might incentivize immigration

into Texas and its attendant costs.

       But Texas has provided no evidence at trial of this impact tied to the CMPP. Texas

has presented the Court with nothing but speculation that the CMPP’s existence could

create this signaling effect, which is insufficient to establish standing. At the point where the

message of a statute is creating an injury, it is difficult to see how a single year of CMPP

funding is fairly traceable to that injury rather the decisions of third parties based on a litany

of other immigration policy decisions made by the federal government that encourage illegal




                                              – 55 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 56 of 120 PageID 1604



immigration but are not before the Court. The Court certainly cannot make such an

inference based on the limited record here. There are numerous programs and policies,

including previous years of CMPP funding, that provide the messaging that might create

this injury. And while the existence of other programs that also encourage illegal

immigration does not mean that the CMPP cannot cause Texas’s injury, Texas lacks

evidence demonstrating that the funding for the CMPP itself leads to greater illegal

immigration into Texas and use of its services.

       The Court emphasizes that the problem here is not that many circumstances,

policies, and programs can influence an alien’s decision to immigrate to and remain in

Texas, but that Texas has not proven that the funding at issue here actually plays any causal

role in that decision. Unlike the other immigration programs that Texas has challenged

over the years, this one lacks a tangible tie to increased immigration or the resulting costs.

For example, in the DAPA case, Texas had evidence that the legal status itself would lead

to aliens in Texas being eligible for driver’s licenses, which Texas would have to subsidize.

Texas v. United States (DAPA), 809 F.3d 134, 155 (5th Cir. 2015). In the border-wall case,

Texas showed that the physical barrier was effective at deterring immigration. Gen. Land

Off., 71 F.4th at 272–73. In its challenge to DACA, Texas presented evidence that 22% of

DACA recipients stated they would likely leave if DACA ended. Texas (DACA), 50 F.4th at

519. In the detention case, there was evidence demonstrating that people would be released

and stay in Texas. E.g., Texas (MPP II), 20 F.4th at 966–67. And in the 100-day pause-on-

removals case, Texas showed that about 16,000 aliens would not be removed from Texas

cities if removals were paused. Texas (100-Day Pause), 524 F. Supp. 3d at 622–23.




                                             – 56 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 57 of 120 PageID 1605



         Here, Texas has not provided this Court with any evidence comparable to those

cases. Texas did not present evidence of any alien indicating that the CMPP has played any

role in the decision to come to or remain in Texas. Nor has it shown that the CMPP has

facilitated an alien’s access to Texas’s social services or that any alien would consider

leaving if additional CMPP funding ceased. It has not provided any witnesses or affidavits

stating that persons currently enrolled in the CMPP plan to stay in Texas due to the 2023

funds.

         Instead, the Court only has evidence of those already in the Alternatives to

Detention program in Texas, PX13, information on costs from illegal immigration writ

large, PX2; PX3; PX4; PX11, and the 138 aliens who enrolled in the CMPP in Texas under

earlier funding, DX4 at 4. None of this proves by a preponderance of the evidence that the

2023 funds will exacerbate Texas’s cited expenses. Cf. Texas (DACA), 50 F.4th at 519. The

CMPP does not release people from ICE custody. It does not provide relief from removal

or deem individuals to be lawfully present. At most, it exempts persons in the program

from the technology monitoring of other Alternatives to Detention programs and helps

connect them to various social services. But to receive services under the CMPP, a person

must already and continue to reside in the geographic location served by the CMPP. DX4

at 2. Accordingly, to the extent that the CMPP plays any role in an alien’s decision to enter

or remain in the United States, the benefits of the CMPP’s funds are tied to the location

served by those funds. And, as explained, there is no guarantee that any 2023 funding will

go to Texas.




                                             – 57 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 58 of 120 PageID 1606



        Consequently, in the absence of evidence of how the 2023 funds will cause more

aliens to enter or remain in Texas, Texas has not shown how any increased costs are fairly

traceable to the challenged appropriation.

               iii.   Redressability

        Even if Texas had evidence demonstrating that the CMPP funds impact the number

of aliens enrolling in its public schools or obtaining emergency health care by signaling the

federal government’s immigration priorities, Texas has not shown how an injunction of the

CMPP funds would remedy its harm.

        To reiterate, Texas claims that what actually happens with the 2023 funds is

irrelevant because the existence of the program and federal funding aimed at helping aliens

connect to social services in their communities makes clear that the federal government

prioritizes community integration over deterrence and removal. See Dkt. No. 38 at 23. And

to those aliens considering immigrating or those currently present who might otherwise

leave, this message may make them more willing to enter or to remain because this message

indicates that they are more likely to obtain their goal of living in the United States long-

term.

        Assuming arguendo that there was evidence of this effect, it is unclear how the Court

could cure the claimed harm caused by this message. After all, the remedies sought here are

an injunction of the CMPP funds and a declaratory judgment. Neither can change the

federal government’s immigration priorities. Nor can these remedies signal to aliens that

they are likely to be deported or detained if they unlawfully enter or remain in Texas. At

most, the Court could prevent the distribution of one year of the CMPP funds based on the

alleged constitutional deficiency in the passage of the Act. But if, as Texas claims, the




                                             – 58 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                     Page 59 of 120 PageID 1607



actual receipt of the funds is irrelevant to its harm, then enjoining the federal government

from providing the funds to a nonprofit or local government would not alleviate Texas’s

harm. Under these circumstances, Texas has not shown by a preponderance of the evidence

how the Court can remedy any harm from the 2023 CMPP funds if it were to succeed on

the merits of its claim.

           As a result, the Court concludes that Texas has failed to carry its burden to show an

injury-in-fact that is fairly traceable to the CMPP funds that could be remedied by a

favorable verdict. Texas therefore lacks standing to challenge the appropriation of the 2023

CMPP funds. Nevertheless, Texas has standing to challenge another provision of the Act—

the PWFA—so the Court proceeds to the remaining justiciability arguments to determine

whether it can reach the merits of Texas’s claim.

           In light of the Court’s finding that Texas lacks standing to challenge the CMPP, the

Court dismisses those defendants whom Texas has sued based solely on the CMPP funds.

Accordingly, (1) Alejandro Mayorkas, in his official capacity as the Secretary of DHS;

(2) DHS; (3) Patrick Lechleitner, in his official capacity as the Acting Director of ICE;

(4) Peter E. Mina, in his official capacity as the official exercising the authority of the

Officer of Civil Rights and Civil Liberties of DHS; (5) the Office of Civil Rights and Civil

Liberties; (6) Deanne Criswell, in her official capacity as the Administrator of FEMA;

(7) FEMA; and (8) Joseph R. Biden, Jr., in his official capacity as the President of the

United States are all dismissed as parties to this litigation.12




12
     As a result, the defendants’ other grounds for dismissing Texas’s claims against President Biden
     are moot, see Dkt. No. 52 at 49–50, and the Court need not address them.


                                                  – 59 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 60 of 120 PageID 1608



5.     The enrolled bill doctrine does not preclude Texas’s claim.

       Under the enrolled bill doctrine, after a bill is signed by the leaders of the House and

Senate, signed by the President, and filed by the Secretary of State, the bill is considered

enrolled and conclusively proven to have been passed by Congress. Marshall Field & Co. v.

Clark, 143 U.S. 649, 672 (1892). Courts therefore may not consult legislative journals to

resolve questions of whether the law in question is the same one that passed either house of

Congress and that the President signed. Id. at 668–73. The defendants assert that this

doctrine forecloses Texas’s Quorum Clause challenge because the Court should “refrain

from looking at extrinsic evidence to impeach the validity of an enrolled bill, deferring to the

House’s implementation of its own rules.” Dkt. No. 52 at 44. Texas counters that the

enrolled bill doctrine is inapplicable to its challenge—a legal dispute about a potential

violation of a binding constitutional requirement. Dkt. No. 38 at 28–30.

       Given the unique circumstances of this case, the Court concludes that the enrolled

bill doctrine does not preclude it from reaching the merits. While somewhat opaque,

Supreme Court precedent on the scope of the enrolled bill doctrine establishes two key

points that together instruct that this case is justiciable. First, the doctrine shields from

judicial inquiry non-constitutional and fact-intensive disputes over Congress’s passage of a

bill. Thus, when a party challenges whether each house of Congress passed a bill with

identical text, the enrolled bill doctrine dictates that a court must treat the enrolled bill as

indisputable evidence that the enrolled text was adopted by both houses. Otherwise, courts

would be dragged into extensive fights comparing the text presented to each chamber and

the President to the one officially enrolled. However, when the dispute turns on a clear

constitutional limitation on Congress’s power that does not devolve into battles over




                                              – 60 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                       Page 61 of 120 PageID 1609



conflicting legislative records, the mere act of enrollment cannot thwart a court’s ordinary

power to resolve constitutional challenges.

           Second, to the extent that quorum-based challenges can implicate the principles of

the enrolled bill doctrine, the Court must first resolve any challenge to the constitutionality

of the procedural rule at issue that was used by the House or Senate to determine the

existence of a quorum. In contrast, if a party merely challenges the quorum based on a

claim of miscounting, a court should apply the enrolled bill doctrine to bar such factual

second-guessing.

           Here, Texas’s claim rests on the purely legal contention that the House violated the

Constitution when it passed the Act because it only had a quorum due to its rule permitting

physically non-present members voting by proxy to count towards the quorum. This

particular challenge falls outside of the enrolled bill doctrine’s scope, and it is the Court’s

obligation to resolve the constitutional challenge presented.13

           A.      Enrolling a bill does not ordinarily preclude constitutional challenges.

           Supreme Court precedent provides that “[w]here, as here, a constitutional provision

is implicated” in a plaintiff’s challenge to a congressional act, the enrolled bill doctrine

“does not apply.” United States v. Munoz-Flores, 495 U.S. 385, 391 n.4 (1990) (emphasis

omitted). The doctrine “concerns ‘the nature of the evidence the Court [may] consider in



13
      In a separate challenge to the proxy voting rule at issue here, the D.C. Circuit found the case to be
     precluded by the Speech and Debate Clause. McCarthy v. Pelosi, 5 F.4th 34, 37, 41 (D.C. Cir.
     2021). In that case, the House Minority Leader sued various officers of the House on the basis that
     the proxy rule was unconstitutional. Id. at 38. The Speech and Debate Clause precluded that case
     on the basis that the defendants were immune from a challenge to the promulgation of a rule since
     it was a core legislative act. Id. at 38–39. Because none of the defendants here are members of the
     legislature covered by the Speech and Debate Clause, it is inapplicable to the present challenge.
     See id. at 38. The defendants do not dispute that legislative immunity does not apply here. See
     generally Dkt. Nos. 52; 63.


                                                    – 61 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 62 of 120 PageID 1610



determining whether a bill had actually passed Congress,’” and it establishes that “a law

consists of the ‘enrolled bill,’ signed in open session by the Speaker of the House of

Representatives and the President of the Senate.” U.S. Nat’l Bank of Ore. v. Indep. Ins. Agents

of Am., Inc., 508 U.S. 439, 455 n.7 (1993) (first quoting Munoz-Flores, 495 U.S. at 391 n.4;

and then quoting Marshall Field, 143 U.S. at 672). As a result, because most constitutional

challenges do not question what the proper text of the law is and whether a bill has actually

passed Congress, the enrolled bill doctrine is inapplicable. While this exception for

constitutional claims is not absolute because some challenges involve judicial inquiry into

the law’s text or actual passage, Texas’s claim is not such an inquiry.

       The case where the Supreme Court adopted the enrolled bill doctrine as a principle

of federal law, Marshall Field & Co. v. Clark, demonstrates the type of claim with which the

doctrine is primarily concerned. In Marshall Field, the plaintiffs challenged a tariff act on the

basis that a section of the bill as passed had been omitted from the enrolled bill. 143 U.S. at

668–69. Essentially, they claimed that the congressional record revealed that each house

had voted on a version of the bill that included a section that was missing from the version

of the bill that was signed by the presiding officers of the two houses and the President. Id.

Their case relied on comparing the text of the bill as published in the congressional journals

with the text in the Statutes at Large. See id. at 668–70. The Supreme Court rejected their

challenge and held that the act of enrollment “authenticat[es]” a bill as one “that has passed

Congress” and cannot be impeached by investigating congressional records. Id. at 672.

       In adopting this rule, the Supreme Court noted its concern that resorting to

congressional journals would “mak[e] the validity of [c]ongressional enactments depend

upon the manner in which the journals of the respective houses are kept by the subordinate



                                             – 62 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 63 of 120 PageID 1611



officers charged with the duty of keeping them.” Id. at 673. Moreover, the Constitution

does not require Congress to include the full text of the bills in the journals even though it

does expressly require certain votes to be entered on the record. Id. at 667, 671. In light of

this distinction, the Supreme Court left unanswered “[t]o what extent the validity of

legislative action may be affected by the failure to have those matters entered on the

journal.” Id. at 671. Likewise, while Marshall Field relied extensively on state court

decisions applying the enrolled bill doctrine, id. at 673–77, it distinguished state court cases

that involved “constitutional or statutory provisions of a peculiar character, which,

expressly[] or by necessary implication, required or authorized the court to go behind the

enrolled act” to determine whether it was duly enacted, id. at 678.

       Ultimately, Marshall Field rejected an attempt to look for inconsistencies in the

congressional record and the enrolled bill to question what the proper text of the law was

and whether all requisite bodies had agreed to the same text. Id. at 672, 679–80. Instead,

because the act of enrollment involved officers of both houses and the President agreeing

that the text was the proper law, courts must accept that pronouncement as definitive proof

of what language was passed. Id.

       Since Marshall Field, the Supreme Court has twice reiterated that the enrolled bill

doctrine is a principle of evidence concerned with disputes over whether a bill has indeed

passed Congress and that it has limited applicability in constitutional challenges. First, in

Munoz-Flores, the Supreme Court rejected an argument that a court must accept that an

enrolled bill designated as “House Joint Resolution” or “H.J. Res.” originated in the House

for purposes of an Origination Clause challenge. 495 U.S. at 391 n.4; see id. at 408–09

(Scalia, J., concurring in judgment); U.S. Const. art. I, § 7, cl. 1. While Justice Scalia in a



                                             – 63 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 64 of 120 PageID 1612



solo concurrence in judgment argued that Marshall Field dictated that a court should treat the

“H.J. Res.” designation as definitive proof of its origin, id. at 408–09, the majority

concluded that a court could “independently consider[]” a bill’s origin because the challenge

does not involve a question of “whether a bill had actually passed Congress,” id. at 391 &

n.4 (majority op.). Further, the majority remarked that “[w]here, as here, a constitutional

provision is implicated, Field does not apply.” Id. (emphasis in original). Second, in U.S.

National Bank of Oregon, the Supreme Court again found the enrolled bill doctrine to be

“irrelevant” where “there is no doubt in the[] case[] that the [challenged act] as printed in

the Statutes at Large is identical to the enrolled bill.” 508 U.S. at 455 n.7. Given that the

present challenge does not involve a factual dispute as to whether the text of the bill at issue

passed Congress and implicates a constitutional provision, these cases indicate that the

enrolled bill doctrine is inapplicable here.

       Although Munoz-Flores rejects the idea that the enrolled bill doctrine would foreclose

a constitutional challenge such as Texas’s, see 495 U.S. at 391 n.4, the defendants argue that

the relevant language cannot be read as broadly as it may seem. Dkt. No. 52 at 47. They

rely principally on two post-Munoz-Flores cases from the D.C. and Second Circuits, see id. at

47–48, where those courts held that Munoz-Flores does not “overturn or modify the enrolled

bill rule of Marshall Field.” Pub. Citizen v. U.S. Dist. Ct. for D.C., 486 F.3d 1342, 1352–54

(D.C. Cir. 2007); OneSimpleLoan v. U.S. Sec’y of Educ., 496 F.3d 197, 206–07 (2d Cir. 2007).

But those cases involved challenges nearly identical to the one at issue in Marshall Field,

unlike the present case, and do not support construing Munoz-Flores as creating a one-off

enrolled bill doctrine exception for Origination Clause cases.




                                               – 64 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 65 of 120 PageID 1613



       More specifically, Public Citizen and OneSimpleLoan arose from challenges to the

Deficit Reduction Act of 2005 (DRA), Pub. L. No. 109–171, 120 Stat. 4 (2006).

OneSimpleLoan, 496 F.3d at 198–99; Pub. Citizen, 486 F.3d at 1343. The plaintiffs argued

that the DRA was unconstitutional pursuant to the Constitution’s Bicameralism and

Presentment Clause “because the bill passed by the House of Representatives was not

identical to the bill passed earlier by the Senate and presented later to the President” as

shown by differences in the bill transmitted from the Senate to the House and the enrolled

bill. OneSimpleLoan, 496 F.3d at 199; Pub. Citizen, 486 F.3d at 1343; see also U.S. Const. art.

I, § 7, cls. 2–3. At their core, these arguments are the same inconsistent-text challenge at

issue in Marshall Field. Nevertheless, citing Munoz-Flores, the plaintiffs argued that their

claims were not barred because the Bicameralism and Presentment Clause requires that the

same text be approved by both the Senate and the House and signed by the President.

OneSimpleLoan, 496 F.3d at 206–07; Pub. Citizen, 486 F.3d at 1343–44; see Clinton v. City of

New York, 524 U.S. 417, 448 (1998). Unable to distinguish the DRA challenges from the

one in Marshall Field, the courts construed both as bicameralism and presentment challenges

and rejected the plaintiffs’ claims that Munoz-Flores had overruled Marshall Field’s prohibition

of challenges that the enrolled bill was not the one passed by each house of Congress.

OneSimpleLoan, 496 F.3d at 204–06; Pub. Citizen, 486 F.3d at 1350–51. These cases

therefore do not reject Munoz-Flores’s exception as mere dicta but instead construed it as

overbroad. Neither case persuades the Court that Texas’s constitutional challenge is

foreclosed.

       The Court recognizes that in some cases, although a claim is constitutional in nature,

its resolution requires inquiry into what the proper text of a law is and whether a bill has



                                             – 65 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                     Page 66 of 120 PageID 1614



actually passed Congress. Those questions are foreclosed by a bill’s enrollment. Thus, even

though the claims in Public Citizen and OneSimpleLoan implicated the Bicameralism and

Presentment Clause, the enrolled bill doctrine applied. However, most constitutional

challenges, including the one brought here by Texas, do not raise these concerns and are

therefore beyond the enrolled bill doctrine’s scope.

           Other courts and scholars have recognized this distinction as valid. For example, the

district court in Public Citizen noted that Munoz-Flores determined “that Marshall Field does

not apply when the Constitution itself sets with particularity a procedure to be followed in

preparing a bill for passage,” except for the “ultimate act of bicameral passage” that was at

issue in Marshall Field. Pub. Citizen v. Clerk, U.S. Dist. Ct. for D.C., 451 F. Supp. 2d 109, 123

(D.D.C. 2006), aff’d, 486 F.3d 1342 (D.C. Cir. 2007). Likewise, scholars have read Munoz-

Flores as restricting the enrolled bill doctrine to bicameralism and presentment. Matthew D.

Adler & Michael C. Dorf, Constitutional Existence Conditions and Judicial Review, 89 Va. L.

Rev. 1105, 1181 (2003); Ittai Bar-Siman-Tov, Legislative Supremacy in the United States?:

Rethinking the “Enrolled Bill” Doctrine, 97 Geo. L.J. 323, 351–52 (2009); Vikram Amar, Why

the “Political Question Doctrine” Shouldn’t Necessarily Prevent Courts from Asking Whether a

Spending Bill Actually Passed Congress Part Two in a Series, FindLaw (Apr. 13, 2006);14 see also

Adrian Vermeule, The Constitutional Law of Congressional Procedure, 71 U. Chi. L. Rev. 361,

426 n.209 (2004); Victoria F. Nourse, The Constitution and Legislative History, 17 U. Pa. J.

Const. L. 313, 336 (2014).




14
     Available at: https://supreme.findlaw.com/legal-commentary/why-the-political-question-
     doctrine-shouldnt-necessarily-prevent-courts-from-asking-whether-a-spending-bill-actually-passed-
     congress.html [https://perma.cc/Q7DV-9U8Q].


                                                  – 66 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 67 of 120 PageID 1615



       In this case, Texas’s claim implicates a constitutional provision and does not contest

whether the Act contains the text adopted by Congress. As a result, resolving this challenge

does not require the Court to undertake the type of comparisons between legislative records

and the Statutes at Large prohibited by Marshall Field. Nor must the Court otherwise

question whether Congress passed the bill. Instead, Texas asks the Court to resolve a

traditional constitutional challenge—whether the House had the power to pass the Act.

This Quorum Clause challenge is similar to other constitutional challenges of congressional

acts, such as First Amendment or Commerce Clause challenges, which are not prohibited

simply because the leaders of the two houses of Congress and the President signed the bill.

These signatures foreclose debate over what language was presented to and agreed upon by

Congress and the President but provide no definitive proof that Congress had the power to

pass the legislation. Accordingly, Texas’s Quorum Clause challenge falls outside the

traditional scope of the enrolled bill doctrine.

       B.      In the context of quorums, the Court must resolve a constitutional
               challenge to the validity of the congressional rule providing a quorum
               before applying the principles of the enrolled bill doctrine.

       Beyond the general principle exempting constitutional challenges from the enrolled

bill doctrine, the doctrine also does not—in the context of quorum-based challenges

specifically—preclude a court from determining whether the rule that provided the House

with a quorum was valid. The principles of the enrolled bill doctrine can preclude fact-

intensive quorum-based challenges that involve second-guessing the number of members

counted and recorded by either house of Congress. But when the case involves determining

whether the rule used to reach those numbers is constitutional, a court must resolve that

issue even though the bill is enrolled and the House states that it had a quorum. As a result,




                                              – 67 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 68 of 120 PageID 1616



the constitutional challenge here to the House’s rule that permitted it to include non-present

members participating by proxy as part of the quorum can be considered despite the House’s

declaration that it had a quorum.

       Supreme Court precedent makes this clear. In NLRB v. Noel Canning, the Court

explained that if the congressional record or the journal of either house “indicates that a

quorum was present, under a valid [House or] Senate rule, at the time [it] passed a bill, [a court]

will not consider an argument that a quorum was not, in fact, present.” 573 U.S. 513, 551

(2014) (emphasis added). Courts assume that the congressional journals “speak the truth”

of the proceedings and do not engage in evidentiary disputes over whether those records

were properly kept. Id. at 551–52 (quoting United States v. Ballin, 144 U.S. 1, 4 (1892)).

Nevertheless, the record of a quorum must have been determined “under a valid [House or]

Senate rule” in order for this absolute deference to apply. Id. at 551. The rule must be valid

because Congress “may not by its rules ignore constitutional restraints or violate

fundamental rights, and there should be a reasonable relation between the mode or method

of proceeding established by the rule and the result which is sought to be attained.” Ballin,

144 U.S. at 5.

       One such constitutional restraint is the Quorum Clause, which requires “the presence

of a majority” in order for either house to transact business. Id. at 6. Accordingly, a court

may consider whether the rule adopted by the House or Senate seeks only “to prescribe a

method for ascertaining the presence of a majority” or instead seeks to evade the majority-

presence requirement through a method “inhibit[ed]” by the Constitution. See id. If the rule

at issue merely adopts a process to determine that a majority is present, the rule is likely




                                              – 68 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 69 of 120 PageID 1617



valid and the House’s recognition that it had a quorum and could transact business resolves

any quorum dispute. Id. at 6, 9.

       The Supreme Court followed this method in Ballin, where the respondents

challenged an enrolled bill on the basis that it had been passed by the House without the

requisite quorum. Id. at 4–6, 9. The House Journal noted that only 138 members—less

than a quorum—had voted on the bill. Id. at 4; H. Journal, 51st Cong., 1st Sess. 549–50

(1890); 21 Cong. Rec. 4026 (1890). But the record also noted the names of 74 members

who were present and not voting, which, together with the voting members, constituted a

quorum. H. Journal, 51st Cong., 1st Sess. 549–50 (1890); 21 Cong. Rec. 4026 (1890).

Pursuant to a House rule adopted earlier that year, any member “in the hall of the house

who d[id] not vote” counted as part of the quorum, and the clerk was directed to report the

names of such members in the House’s journal. Ballin, 144 U.S. at 5; see H. Journal, 51st

Cong., 1st Sess. 549–50 (1890). To resolve this quorum question, the Supreme Court

looked to the journal and noted that the quorum was found “in direct compliance with this

rule.” Ballin, 144 U.S. at 5. Therefore, the question presented was “the validity of this

rule”—more specifically, whether the House had the power to adopt this rule. Id. The

Supreme Court explained that the House’s rule did not violate the Constitution because “all

that [the] rule attempts to do is to prescribe a method for ascertaining the presence of a

majority.” Id. at 6. The Supreme Court further clarified that the Constitution only required

a member’s presence, not his “disposition or assent or action,” to count in the quorum. Id.

at 5–6. Accordingly, the bill lawfully passed the House because “a majority of its members

were present when the bill passed,” and “the presence of that quorum was determined in

accordance with a valid rule” adopted by the House. Id. at 9.



                                             – 69 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                       Page 70 of 120 PageID 1618



           As in Ballin, the question before the Court in this case is whether the House’s rule

that created a quorum is valid. Here, too, the congressional record includes the vote total,

the names of those voting on the Act, and the names of those who were included as part of

the quorum based on the challenged House proxy rule. Compare H. Journal, 51st Cong., 1st

Sess. 549–50 (1890), and 21 Cong. Rec. 4026 (1890), with 168 Cong. Rec. H10528–29 (daily

ed. Dec. 23, 2022). Resolving Texas’s quorum challenge involves only a narrow inquiry

into the validity of the rule and the House’s own recorded count of its members based on its

rule. The Court is not asked to question the numbers of the count or to look to affidavits or

other evidence besides the House’s records as to the existence of quorum. Instead, the

Court need only look to the same sources that the Supreme Court used in Ballin to resolve

the Quorum Clause challenge.15 Just as the Supreme Court determined the validity of the

House’s rule that mandated including certain members in the quorum count, this Court may

resolve Texas’s challenge to the House’s quorum rule even though the Act has been enrolled

and the House previously decided it had a quorum.

           Despite Ballin’s clear resolution of a challenge to the House’s quorum rule, the

defendants assert that the Court should nevertheless follow the approach of other courts that

have rejected Quorum Clause challenges based on the enrolled bill doctrine. Dkt. No. 52 at

45–46. These cases involved a series of challenges by pro se criminal defendants to the

passage of Public Law 80-772, which adopted 18 U.S.C. § 3231, the statute giving federal




15
      The defendants assert that “the sole evidence the Court potentially could consider” is the record of
     “the yeas and the nays” to resolve any quorum dispute. Dkt. No. 52 at 47. But as the Court has
     explained, had the Supreme Court in Ballin considered only the yeas and nays, no quorum would
     have been found. See H. Journal, 51st Cong., 1st Sess. 549–50 (1890); 21 Cong. Rec. 4026 (1890).
     Instead, this Court, as the Ballin Court did, may consider the yeas and nays along with the
     recorded names noted as counting as part of the quorum pursuant to the challenged rule.


                                                   – 70 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                    Page 71 of 120 PageID 1619



courts jurisdiction over federal crimes. See, e.g., Act of June 25, 1948, Pub. L. No. 80-772,

62 Stat. 683, 826 (codified as 18 U.S.C. § 3231); United States v. Farmer, 583 F.3d 131, 151–

52 (2d Cir. 2009); United States v. Small, 487 F. App’x 302, 303 (7th Cir. 2012); United States

v. Gonzalez-Arenas, 496 F. App’x 866, 867 (10th Cir. 2012); United States v. Levy, 849 F. Supp.

2d 1353, 1354–56 (S.D. Fla. 2012). In those cases, the defendants argued that the House

had lacked a quorum when it voted on the bill, and the courts concluded that the enrolled

bill doctrine precluded a Quorum Clause challenge. See Farmer, 583 F.3d at 151–52; Small,

487 F. App’x at 303; Gonzalez-Arenas, 496 F. App’x at 867; Levy, 849 F. Supp. 2d at 1354–

56.

           Despite the defendants’ assertion otherwise, those cases are inapplicable to the

present case and are otherwise unpersuasive. None of the cases cited by the defendants—or

similar ones found by this Court—address Munoz-Flores’s instruction about Marshall Field’s

limited application to constitutional challenges. See Farmer, 583 F.3d at 151–52; Small, 487

F. App’x at 303; Gonzalez-Arenas, 496 F. App’x at 867; Levy, 849 F. Supp. 2d at 1355.16

Similarly, none of them discuss Noel Canning’s statement that the journal’s record of a

quorum must have been determined by a valid congressional rule or Ballin’s inquiry into the

validity of the rule—and for good reason. None of those cases involved an actual challenge

to the House’s use of a particular rule to determine whether a quorum exists. In fact, the




16
     See also, e.g., United States v. Davis, Crim. No. 3:11-834-CMC, 2013 WL 12204904, at *1 (D.S.C.
     May 7, 2013); Bodley v. Crabb, No. 15cv98 MV/LAM, 2015 WL 12781709, at *2 (D.N.M. Mar. 19,
     2015); United States v. Hornback, Crim. Action No. 3:10-13 & Civ. Action No. 3:13-7296, 2014 WL
     2768872, at *16 (E.D. Ky. June 18, 2014); Colby v. United States, Nos. 2:15-cr-182 & 2:18-cv-429,
     2019 WL 1783052, at *3 (D. Me. Apr. 23, 2019); United States v. Anzaldi, No. 11 CR 820, 2013 WL
     393326, at *2 (N.D. Ill. Jan. 31, 2013); Turner v. United States, Crim. No. 09-180-WS-C & Civ. No.
     11-327-WS-C, 2011 WL 5595939, at *1–5 (S.D. Ala. Sept. 8, 2011), report and recommendation
     adopted by 2011 WL 5597283 (Nov. 17, 2011).


                                                  – 71 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                        Page 72 of 120 PageID 1620



vote challenged by those criminal defendants lacked a recorded vote count because the

congressional records note only that the bill passed. See H. Journal, 80th Cong., 1st Sess.

343–44 (1947); 93 Cong. Rec. 5048–49 (1947). And earlier on the same day when the

House voted on the challenged bill, a quorum call had been ordered where “297 Members

had answered to their names, a quorum.” H. Journal, 80th Cong., 1st Sess. 341 (1947).

Accordingly, those criminal defendants asked the courts to question the existence of a

quorum—in the absence of any recorded vote or quorum count—based on reasons

unrelated to a challenge to the rule used to find a quorum. That type of quorum challenge

presents markedly different concerns of judicial competence and inquiry into Congress’s

proceedings than this case. And even if those cases were indistinguishable, none of them

bind this Court.17

           Here, the Court has the House’s record of its vote, noting those voting in person and

by proxy, and the central question to resolve is whether the Constitution permits the House

to form a quorum by counting non-present members. Texas does not ask this Court to

second-guess the House’s count or to attempt to determine whether a quorum existed in the

absence of any contemporaneous record from the House itself. Instead Texas asks this

Court to resolve the same type of question that the Supreme Court answered in Ballin—

whether the rule used by the House to determine that a quorum was present at the time this

bill passed is valid. The requisite inquiry is therefore narrow. If the House determined that

it had a quorum and its rule is valid, the quorum challenge ends. But, if the rule is


17
      No party cites any Fifth Circuit authority regarding the enrolled bill doctrine, and this Court was
     able to locate only one Fifth Circuit case discussing it. But that case cited Marshall Field solely to
     support the proposition that an Origination Clause challenge was nonjusticiable, a holding later
     rejected by Munoz-Flores. Tex. Ass’n of Concerned Taxpayers, Inc. v. United States, 772 F.2d 163, 167
     (5th Cir. 1985), abrogated by Munoz-Flores, 495 U.S. 385.


                                                    – 72 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                    Page 73 of 120 PageID 1621



unconstitutional because those whom the House recorded as participating by proxy cannot

count towards the quorum, then the Court need only look to the House’s records, which

show that less than a majority participated in the vote in person. Either way, this case

centers around a legal challenge to the House’s rule where Texas does not contest the

accuracy of the House’s records.

           And these types of claims are exceedingly rare. Neither party points to a case

involving a challenge to the House’s or Senate’s quorum rules besides Ballin itself—a case

brought over 130 years ago. And the proxy-voting rule at issue is likewise unique—never

before and never since has the House permitted proxies to constitute a quorum. Moreover,

even for other bills passed through roll-call votes during the brief period when this proxy

rule was in effect, the extensive number of members voting by proxy on the Act was

atypical.18 Accordingly, the defendants’ concerns about a deluge of future quorum litigation

are overstated. To the extent that the House or Senate adopts another novel quorum rule

that raises constitutional concerns, a future plaintiff harmed by some act passed where a

quorum was found under that rule may be able to challenge that act and quorum rule. But

permitting Texas’s claim here does not sanction a challenge based on an alleged miscount

by Congress or even the omission of a recorded count. Here, the Court only recognizes that

a challenge to the constitutionality of a rule used to find a quorum may be brought when a



18
      See, e.g., 166 Cong. Rec. H2665 (daily ed. June 29, 2020) (431 votes with 34 votes by proxy); 166
     Cong. Rec. H3038–39 (daily ed. July 1, 2020) (431 votes with 30 votes by proxy); 166 Cong. Rec.
     H3877–78 (daily ed. July 27, 2020) (368 votes in favor with 37 votes by proxy); 166 Cong. Rec.
     H7313–15 (daily ed. Dec. 21, 2020) (over 400 votes with 98 members voting by proxy); 167 Cong.
     Rec. H1783 (daily ed. Apr. 14, 2021) (over 400 votes with 32 votes by proxy); 167 Cong. Rec.
     H3051–52 (daily ed. June 23, 2021) (430 votes with 24 votes by proxy); 167 Cong. Rec. H4351–52
     (daily ed. Aug. 23, 2021) (431 votes with 92 votes by proxy); 168 Cong. Rec. H5076 (daily ed. May
     17, 2022) (428 votes with 59 proxy votes); 168 Cong. Rec. H8269–70 (daily ed. Sept. 29, 2022)
     (432 votes with 59 votes by proxy).


                                                  – 73 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 74 of 120 PageID 1622



court can ultimately resolve the quorum question based on the uncontested congressional

records.

       In sum, Texas’s Quorum Clause claim is not precluded by the enrolled bill doctrine.

“Where, as here, a constitutional provision is implicated,” the enrolled bill doctrine

generally “does not apply.” Munoz-Flores, 495 U.S. at 391 n.4 (emphasis omitted). And, as

the Supreme Court reaffirmed in Noel Canning, the House’s quorum count receives

preclusive effect only if that determination was made “under a valid [House] rule.” 573

U.S. at 551 (citing Ballin, 144 U.S. at 9). Accordingly, so long as no other justiciability

doctrine bars this case, this Court can, and must, resolve Texas’s challenge to the proxy rule

before adopting the House’s finding that it had a quorum.

6.     This case does not present a nonjusticiable political question.

       The political question doctrine asks whether a case is nonjusticiable based on

separation of powers concerns and a lack of judicial competency to resolve the question.

Baker v. Carr, 369 U.S. 186, 210 (1962). The defendants assert that a Quorum Clause

challenge is nonjusticiable based on this doctrine. Dkt. No. 52 at 48–49. They contend that

the Constitution commits the determination of whether a quorum is present to the House

and should not be second-guessed by the judiciary. Id. at 48. And they argue that the

potential upheaval of undoing an omnibus appropriations bill is so substantial that this case

is a “paradigmatic” example for why adherence to the House’s decision is necessary. Id.

Texas counters that the Quorum Clause is a limitation on the House’s power, not a grant of

discretionary authority, and that this case requires ordinary constitutional interpretation, not

policymaking. Dkt. No. 38 at 24–28.




                                             – 74 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 75 of 120 PageID 1623



       The Supreme Court has provided several considerations for determining whether a

case involves a nonjusticiable political question:

       (1) “a textually demonstrable constitutional commitment of the issue to a
       coordinate political department”;

       (2) “a lack of judicially discoverable and manageable standards for resolving”
       the issue;

       (3) “the impossibility of deciding without an initial policy determination of a
       kind clearly for nonjudicial discretion”;

       (4) “the impossibility of a court’s undertaking independent resolution without
       expressing lack of the respect due coordinate branches of government”;

       (5) “an unusual need for unquestioning adherence to a political decision
       already made”; and

       (6) “the potentiality of embarrassment from multifarious pronouncements by
       various departments on one question.”

Baker, 369 U.S. at 217. “Unless one of these formulations is inextricable from the case at

bar, there should be no dismissal for non-justiciability on the ground of a political question’s

presence.” Id. In analyzing these six attributes, a plurality of the Supreme Court has noted

that “[t]hese tests are probably listed in descending order of both importance and certainty.”

Vieth v. Jubelirer, 541 U.S. 267, 278 (2004) (plurality op.).

       Here, Texas’s challenge to the Quorum Clause does not present a nonjusticiable

political question. Rather than giving the House judicially unreviewable power, the

Quorum Clause restricts the House’s power, including its authority to make rules governing

its proceedings. In addition, Texas only asks the Court to interpret the Constitution and

apply it to settled facts. The question here is not whether proxy voting is good policy but

rather whether the constitutional requirement that a majority be present to conduct business

prohibits constituting a quorum via proxy. This issue of interpretation, and then of applying

that interpretation to presented facts, is judicial, not political. Finally, while there are


                                              – 75 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 76 of 120 PageID 1624



prudential concerns inherent in opening the courthouse doors to a challenge that the House

conducted business without a majority, all challenges to the constitutionality of

congressional action carry similar risks. Courts routinely interpret the Constitution and

determine whether a bill conformed to its requirements. The Court can do the same here.

       A.      The Quorum Clause is not a textually demonstrable constitutional
               commitment of power to the House.

       “The dominant consideration in any political question inquiry is whether there is a

textually demonstrable constitutional commitment of the issue to a coordinate political

department.” Spectrum Stores, Inc. v. Citgo Petroleum Corp., 632 F.3d 938, 950 (5th Cir. 2011)

(quotation omitted). To decide whether there is a textual commitment to a coordinate

branch, a court “must first determine what power the Constitution confers upon” the other

branch “before [it] can determine to what extent, if any, the exercise of that power is subject

to judicial review.” Powell v. McCormack, 395 U.S. 486, 519 (1969). If the text at issue

“gives the House judicially unreviewable power,” then the political question doctrine bars

judicial review. Id. at 520.

       For a textual commitment to exist, there must be some power or authority granted by

the text at issue. See id. at 519–20; Nixon v. United States, 506 U.S. 224, 229 (1993). For

example, the Supreme Court has held that the constitutional clause that states “[t]he Senate

shall have the sole Power to try all Impeachments” is a textually demonstrable

constitutional commitment of impeachment trials to the Senate because “[t]he

commonsense meaning of the word ‘sole’ is that the Senate alone shall have the authority to

determine whether an individual should be acquitted or convicted.” Nixon, 506 U.S. at 299,

230–31 (quoting U.S. Const. art. I, § 3, cl. 6). Beyond the text, the Supreme Court found

further proof of this judicially unreviewable power based on the Framers’ discussions over


                                             – 76 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 77 of 120 PageID 1625



the impeachment power and the rejection of the judiciary’s role in impeachment. Id. at

233–36. In contrast, the Supreme Court rejected the argument that “Each House shall be

the Judge of the Qualifications of its own Members” provided the House with unreviewable

power to exclude members-elect. Powell, 395 U.S. at 520–22, 547–48 (quoting U.S. Const.

art. I, § 5, cl. 1). It instead held that the clause was “at most a ‘textually demonstrable

commitment’ to Congress to judge only the qualifications expressly set forth in the

Constitution,” not to create any additional qualifications. Id. Accordingly, when the House

had excluded a member-elect despite him satisfying the requirements set forth in the

Constitution, the Supreme Court determined that the case did not present a political

question. Id. at 489, 547–48.

       Applying these principles here, the Court concludes that the Quorum Clause itself is

not a textual commitment of power in the context of this case because it does not grant

unreviewable power to the House to decide what constitutes a quorum. Unlike the

constitutional text committing impeachment-trial power to the Senate, nothing in the

Quorum Clause denotes that the House or Senate has the power to define a quorum. To the

contrary, the text specifies that “a Quorum” is “a Majority” of the House and that a quorum

is necessary for the House “to do Business.” U.S. Const. art. I, § 5, cl. 1. By defining a

quorum and requiring its existence for the House to conduct business, the Clause restricts

the House’s power by limiting the circumstances under which it can legislate, rather than

conferring unreviewable authority.

       The debates over the Quorum Clause at the Constitutional Convention further

demonstrate that its original public meaning served as a limit on Congress’s power. See

James Madison, Notes of Debates in the Federal Convention of 1787, at 425, 428–31 (W.W.



                                             – 77 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 78 of 120 PageID 1626



Norton & Co. 1987) (1840); Powell, 395 U.S. at 532–47 (discussing the Constitutional

Convention debates and other historical practice in determining whether the provision at

issue was a textually demonstrable commitment to Congress); Nixon, 506 U.S. at 233–36

(same). Some delegates argued that the Clause should be left out or otherwise limited to

give Congress the power to set its quorum number. See Madison, supra, at 428–31. But this

position was rejected based on other delegates’ concerns that Congress could not be trusted

with the power to set its own quorum requirement or that it would not be representative of

the country as a whole in the absence of a majority requirement. See id. For the Framers,

the Quorum Clause ensured that the branch of government most representative of the

people acted only with a majority of its members. See id. The Framers feared that, in the

absence of the Quorum Clause, the nation could be governed by a small subset, particularly

by those members from states closest to the capital. See id.

       At the trial in this case, the defendants conceded that the Quorum Clause is a

restriction on Congress, though they nevertheless argued that it, in combination with the

Rulemaking Clause, is a textually demonstrable commitment. Dkt. No. 109 at 90–91. But

the Quorum Clause’s function as a limit on Congress’s power to act also explains why the

Rulemaking Clause—“Each House may determine the Rules of its Proceedings”—cannot

show a possible constitutional commitment of the quorum question to the House. See U.S.

Const. art. I, § 5, cl. 2. The Rulemaking Clause generally is a “broad delegation of authority

to the [House] to determine how and when to conduct its business.” Noel Canning, 573 U.S.

at 550. To be sure, the House’s exercise of its rulemaking power is “absolute and beyond

the challenge of any other body or tribunal.” Ballin, 144 U.S. at 5. However, the House

“may not by its rules ignore constitutional restraints.” Id. That is, “the Rulemaking Clause



                                            – 78 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 79 of 120 PageID 1627



gives Congress no license to adopt unconstitutional rules” and “provides no cover for the

House to unconstitutionally interpret or apply its rules.” Barker v. Conroy, 921 F.3d 1118,

1126 (D.C. Cir. 2019). Thus, where “an identifiable textual limit on the authority which is

committed to the [House]” exists, the fact that a House rule is at issue and authorized the

action is insufficient to make the controversy nonjusticiable. Nixon, 506 U.S. at 238; see also

Ballin, 144 U.S. at 5; Noel Canning, 573 U.S. at 551.

       The defendants assert that the Rulemaking Clause permits the House to effectively

adopt any rule to determine the existence of a quorum because the Constitution does not

prescribe a specific method for doing so. Dkt. No. 52 at 48–49. They rely principally on the

Supreme Court’s statements in Ballin that the Constitution “requires . . . the presence of a

majority” but “prescribe[s] no method of making this determination, and it is therefore

within the competency of the [H]ouse to prescribe any method which shall be reasonably

certain to ascertain the fact.” 144 U.S. at 6. But the defendants’ argument is undermined

by the very authority on which they rely. Ballin itself determined whether the House’s rule

was valid rather than simply saying that the Constitution provides no limits. See id. at 4–6.

And its analysis of the scope of the House’s power does not suggest that the House may

adopt a rule to declare that a majority is present in the absence of an actual majority.

Instead Ballin provides specific examples of different ways that a member could be identified

as present, such as by “answer[ing] to roll-call” or “announc[ing] from the desk . . . the

names of those who are present.” Id. at 6. The House can choose such methods because

they are “reasonably certain” to determine whether a majority is present, and none are

“inhibit[ed]” by the Constitution. See id.




                                             – 79 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                       Page 80 of 120 PageID 1628



           None of these examples involve counting non-present members as present,

determining that a minority of members constitutes a majority, or providing certain

circumstances in which a member might not count towards the whole number out of which

a quorum is to be determined. Such actions could defeat the Quorum Clause’s requirements

of the presence of a majority in order for the House to do business. But, as the defendants

admitted at trial, their position is that even though the Quorum Clause restricts Congress’s

power, such actions—even the most extreme circumstances of a quorum-majority

violation—are unreviewable so long as Congress acts under its rulemaking authority. Dkt.

No. 109 at 87–89, 91. They provide no authority for this position, and it defies logic,

common sense, and binding precedent.19 Regardless of the exact scope of the House’s

rulemaking authority, it is clear that the House “may not by its rules ignore constitutional

restraints.” Ballin, 144 U.S. at 5. In short, we know that a house’s rule may be subject to

judicial review to test its constitutionality because the Supreme Court did that very thing in

Ballin.




19
      The defendants seem to argue that this is a necessary result because Congress must be empowered
     to enact rules to evade the Quorum Clause’s restrictions in the event of a national disaster, such as
     an attack that kills or incapacitates the majority of Congress. See Dkt. Nos. 52 at 47; 109 at 152.
     But the possibility that the Quorum Clause could paralyze the legislative branch if such an attack
     occurred is not an unforeseen problem. In fact, members of the Senate have recognized this issue
     and have advocated for considering constitutional amendments to ensure that Congress could
     conduct legislative business in the case of a catastrophic attack. E.g., 100 Cong. Rec. 7658–69
     (1954) (discussing and voting on a constitutional amendment); Ensuring the Continuity of the United
     States Government: The Congress: Hearing Before the S. Comm. on the Judiciary, 108th Cong. 2, 29–30
     (2003) (calling for a constitutional amendment because “[u]nder the Constitution’s requirement of
     a majority for a quorum, terrorists could shut Congress down by killing or incapacitating a
     sufficient number of Representatives or Senators”). Again, this case does not involve this type of
     national disaster, and the Court does not resolve whether the House and Senate’s current rules
     addressing such situations are constitutional. Nevertheless, it is clear that at least some members
     of Congress understand that the Quorum Clause limits their rulemaking power, even as it pertains
     to such national emergencies.


                                                   – 80 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24             Page 81 of 120 PageID 1629



       Accordingly, the defendants’ argument that the Quorum or Rulemaking Clauses

provide Congress with a textually demonstrable commitment of power not subject to

judicial review is unavailing. The Quorum Clause specifically limits the House’s and

Senate’s power to conduct business to times when a majority is present. This is a necessary

prerequisite for Congress to pass legislation, and the Founders specifically denied Congress

the authority to set its own quorum requirements. While the House has some power to

prescribe a method to determine the presence of the majority, this power is not

unreviewable because the House cannot adopt a rule that would completely eliminate the

requirement that a majority be present. If the opposite were true, as the defendants suggest,

the House could create the presence of a majority even in circumstances where less than a

majority of the members are present. In this case, Texas claims the House’s proxy rule

violates the Quorum Clause’s requirements. This type of challenge to the House’s rule is

generally justiciable notwithstanding the House’s broad rulemaking power. Id.; Barker, 921

F.3d at 1126.

       B.       The challenge here has judicially manageable standards.

       Even if there is no textually demonstrable constitutional commitment of power to

another branch of government, a case presents a nonjusticiable political question “when a

claim suffers from ‘a lack of judicially discoverable and manageable standards for resolving

it.’” Lane, 529 F.3d at 560 (quoting Baker, 369 U.S. at 217). “[J]udicial action must be

governed by standard, by rule,” and any “law pronounced by the courts must be principled,

rational, and based upon reasoned distinctions.” Vieth, 541 U.S. at 278 (plurality op.)

(emphasis in original). In essence, this Baker factor is concerned with whether the claim

requires a court to engage in policymaking rather than a judicial inquiry “resolvable




                                           – 81 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                  Page 82 of 120 PageID 1630



according to legal principles.” See Rucho v. Common Cause, 139 S. Ct. 2484, 2494, 2500–01

(2019) (emphasis in original); Spectrum Stores, Inc., 632 F.3d at 949.

       Courts have found nonjusticiable political questions where there are “no legal

standards to limit and direct [a court’s] decision[].” Rucho, 139 S. Ct. at 2507. For example,

the Supreme Court held that political gerrymandering is a political question because

determining whether a district was drawn unfairly to favor a political party was subject to

numerous competing standards of fairness. Id. at 2499–500. Further, choosing among

those standards “pose[d] basic questions that are political, not legal” and lacked any “legal

standards discernible in the Constitution for making such judgments.” Id. at 2500.

Likewise, the Fifth Circuit has found that claims disputing land ownership by foreign

sovereigns lacked judicially manageable standards because “no law exists binding these

sovereigns and allocating rights and liabilities.” Occidental of Umm al Qaywayn, Inc. v. A

Certain Cargo of Petroleum Laden Aboard the Tanker Dauntless Colocotronis, 577 F.2d 1196,

1204–05 (5th Cir. 1978).

       In contrast, where a court may resolve the dispute using ordinary tools of legal

interpretation, courts typically find judicially manageable standards. Zivotofsky ex rel.

Zivotofsky v. Clinton, 566 U.S. 189, 201 (2012); Kuwait Pearls Catering Co., WLL v. Kellogg

Brown & Root Servs., Inc., 853 F.3d 173, 182–84 (5th Cir. 2017). In Zivotofsky, the Supreme

Court found judicially manageable standards to resolve the plaintiff’s challenge to the

Secretary of State’s refusal to list Israel as his place of birth on his passport despite a

congressional statute permitting such designation for individuals like the plaintiff who were

born in Jerusalem. 566 U.S. at 191, 201. The Supreme Court rejected the Secretary’s claim

that the case was nonjusticiable because the central issue in the case was the



                                               – 82 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 83 of 120 PageID 1631



constitutionality of the statute, and resolving that question involved ordinary statutory and

constitutional interpretation. Id. at 197–201. And in Japan Whaling Association v. American

Cetacean Society, the Supreme Court found judicially manageable standards to resolve

whether the Secretary of Commerce needed to certify that Japan was violating the

International Whaling Commission’s sperm-whale quota. 478 U.S. 221, 223, 229–30

(1986). Even though the case involved foreign relations, an area often found to present

political questions, the Supreme Court determined that the case was justiciable because it

involved “a purely legal question of statutory interpretation.” Id. at 230. As “one of the

Judiciary’s characteristic roles is to interpret statutes,” the Supreme Court stated that a court

“cannot shirk this responsibility merely because [its] decision may have significant political

overtones.” Id.

       Similarly here, Texas’s Quorum Clause challenge presents “discernible and

manageable standards for deciding whether there has been a violation.” Rucho, 139 S. Ct. at

2501. Resolving Texas’s claim rests solely on standard constitutional interpretation that

courts routinely undertake. The Court is not tasked with determining whether proxy

participation is good or bad policy. Instead, the Court is asked to resolve whether a member

participating by proxy can count towards the House’s quorum under the meaning of the

Quorum Clause. The Court can determine whether the Quorum Clause permits this

process based on the text of the Constitution, its original public meaning, and its historical

application. The parties’ own arguments as to the merits of this case, which are based on

the text and history of the Quorum Clause, further demonstrate that this case turns on

traditional legal standards. See Dkt. Nos. 38 at 33–42; 52 at 50–71; 61 at 18–21; 63 at 12–15.

And, importantly, the Court is not asked to inquire into the accuracy of the House’s method



                                             – 83 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 84 of 120 PageID 1632



of counting. Both parties accept the House’s record as the definitive evidence of how the

members participated in the vote in question—whether in person or by proxy—and, once

the constitutional question is resolved, the Court can easily apply that record in determining

as a mathematical matter whether the House had a constitutional quorum.

       In short, Texas’s “claim demands careful examination of the textual, structural, and

historical evidence put forward by the parties,” which “is what courts do.” Zivotofsky, 566

U.S. at 201. Because the arguments used to resolve Texas’s Quorum Clause challenge

“sound in familiar principles of constitutional interpretation,” that “is enough to establish

that this case does not ‘turn on standards that defy judicial application.’” Id. (quoting Baker,

369 U.S. at 211).

       C.      Prudential considerations do not compel the Court to find the case
               nonjusticiable.

       The remaining four Baker factors are all prudential considerations. Spectrum Stores,

Inc., 632 F.3d at 953. While this case relates to the internal function of the legislative

branch, the Court’s resolution of the dispute is ultimately a legal determination of whether

the House exceeded its constitutional authority by counting physically non-present members

as part of the quorum. Ultimately, this case does not present greater concerns of judicial

interference in the political branches than those that are apparent in every constitutional

challenge. Courts routinely engage in constitutional interpretation to resolve claims that a

coordinate branch violated the Constitution when it took some action, and a court “cannot

shirk this responsibility merely because [its] decision may have significant political

overtones.” See Japan Whaling Ass’n, 478 U.S. at 230; INS v. Chadha, 462 U.S. 919, 942–43

(1983). Accordingly, the Court also finds that these prudential considerations do not render

this case a nonjusticiable political question.


                                                 – 84 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 85 of 120 PageID 1633



       Of the prudential factors, the defendants emphasize the need to adhere to the

House’s decision-making, citing concerns of finality and the potential upheaval that

permitting a challenge to the passage of an appropriations bill may create. Dkt. No. 52 at

48–49. As the defendants note, “upending the $3 trillion omnibus appropriations law

months after it passed” creates significant “challenges and complications for the entire

federal government.” Id. at 48.

       Setting aside for now the fact that Texas’s remaining challenge focuses solely on one

discrete aspect of the Act, courts have often decided cases with major ramifications despite

arguments that the cases involved political questions. Baker itself permitted a challenge to a

state’s apportionment of legislative representation among its counties. 369 U.S. at 187–95.

Moreover, in Chadha, the Supreme Court found that legislative-veto provisions were

unconstitutional, even though “Congress ha[d] included the veto in literally hundreds of

statutes, dating back to the 1930s.” 462 U.S. at 959; id. at 959–60 (Powell, J., concurring in

judgment). In Zivotofsky, the Supreme Court permitted the plaintiff’s claim even though his

victory would have required the Executive Branch to list Israel as the birthplace for

Americans who were born in Jerusalem and so desired, despite the foreign-policy

implications of such a designation. 566 U.S. at 194–201. In Powell, the Supreme Court

resolved a dispute over whether the Constitution required a member-elect to the House of

Representatives to be seated despite the House’s decision to exclude him based on

corruption. 395 U.S. at 489–93, 550. And Munoz-Flores found Origination Clause

challenges to be justiciable even though such claims directly affect bills that raise revenue for

the federal government. 495 U.S. at 390–97. Certainly a decision that the Consolidated

Appropriations Act was passed in violation of the Constitution would be significant, but



                                             – 85 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 86 of 120 PageID 1634



that “cannot justify [this Court] avoiding [its] constitutional responsibility.” Id. at 391

(quoting Powell, 395 U.S. at 549).

       In any event, the particular inquiry here is narrow, and deciding the merits of Texas’s

claim does not indicate that a Quorum Clause challenge could be brought against any act of

Congress. Texas’s claim involves a specific challenge to a particular House quorum rule as

applied to one portion of an act with a known vote count. A case where a court was asked

to investigate whether a quorum existed without such records or where a plaintiff directly

challenged the accuracy of the House’s records would involve an intrusion into the

proceedings of another branch. Such claims may lack judicially manageable standards,

implicate the House’s power to conduct the count, and express a disrespect for a coordinate

branch of government that may make them nonjusticiable. But here, the Court is merely

asked to interpret the Constitution and apply that interpretation to an agreed set of facts,

albeit in the context of an omnibus appropriations bill. Further, the Court’s resolution of

this case in favor of Texas would not prevent the House from permitting its members to

participate by proxy. Rather, it would solely state that the House must have a majority of its

members present without reliance on proxies to conduct business and that non-present

members cannot count towards the quorum.

       Moreover, even if other plaintiffs tried to challenge other bills based on a purely legal

challenge that they too were passed pursuant to unconstitutional quorum rules, other

justiciability doctrines would likely limit the number of such claims. A plaintiff would still

need to show a concrete and particularized injury-in-fact caused by the act and redressable

by a favorable result, which cannot be satisfied by a general claim that the defendant

violated the Constitution. See Spokeo, 578 U.S. at 338–39. Additionally, the taxpayer-




                                             – 86 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 87 of 120 PageID 1635



standing doctrine would prevent a suit based on a claimed interest “in seeing that Treasury

funds are spent in accordance with the Constitution.” Hein v. Freedom From Religion Found.,

Inc., 551 U.S. 587, 599 (2007). If future plaintiffs can overcome these barriers to suit, then

their claims may also be cognizable. However, the history of Quorum Clause litigation

suggests that these types of claims will be so rare that finding this case justiciable will not

imperil the judiciary with endless quorum fights.

                                         *      *       *

       In sum, this case does not present a nonjusticiable political question. The Quorum

Clause ensures that the most representative branch of the federal government conducts

business only with a majority of its members present, thereby protecting the essential

character of the legislative branch. This function was so important to the Framers that they

included it as a constitutional prerequisite for congressional action, rather than leaving it to

Congress’s ordinary power to establish its own rules for its proceedings. These

constitutionally mandated procedural requirements are fundamental to the Framers’ vision

of our government, no less so than the Commerce Clause or the First Amendment. Just as

courts routinely resolve whether a law violated Congress’s constitutional authority under

those clauses using traditional methods of judicial interpretation, this Court can determine

whether the House exceeded its constitutional authority through its proxy rule. After all,

“[t]o survive this Court’s scrutiny, the ‘law’ must comply with all relevant constitutional

limits.” Munoz-Flores, 495 U.S. at 397. This Court has a constitutional obligation to “decide

cases properly before it, even those it ‘would gladly avoid.’” Zivotofsky, 566 U.S. at 194

(quoting Cohens v. Virginia, 19 U.S. (6 Wheat.) 264, 404 (1821)). Texas’s claim does not

involve the House’s exercise of judicially unreviewable authority and can be resolved using



                                              – 87 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 88 of 120 PageID 1636



ordinary judicial standards. In addition, it presents no more prudential concerns than those

present any time a court determines the constitutionality of another branch’s actions. It

therefore lacks the essential characteristics of a political question and is justiciable.

7.     Texas has succeeded on the merits.

       Having found that Texas’s Quorum Clause claim is justiciable, the Court proceeds to

the merits. Based on the alleged constitutional violation, Texas seeks a permanent

injunction of the PWFA and a declaratory judgment that the Act was passed in violation of

the Constitution. Dkt. No. 4 ¶¶ 58–70. In response, the defendants argue that the

Constitution does not forbid the House from counting proxies to constitute a quorum. Dkt.

No. 54; see also Dkt. No. 52 at 16–17.

       Given the Constitution’s text, original public meaning, and historical practice, the

Court concludes that the House cannot count members voting by proxy to constitute a

constitutionally compliant quorum. The House’s adoption of a rule that counted absent

members in the quorum and its passage of the Act without a physically present quorum, as

detailed in Sections 2.A–2.C, therefore violated the Quorum Clause. The Quorum Clause is

not a majority-participation requirement, but a majority-presence requirement. See Ballin,

144 U.S. at 6. The Constitution’s text, as well as evidence from the Founding Era,

demonstrates that the Clause requires the physical presence of a majority and that a member

could not form part of the quorum if he was elsewhere. With the exception of the proxy-

voting rule at issue here, Congress has consistently applied this understanding of the

Quorum Clause throughout our nation’s history. Affirmatively treating an absent member

as a member of the quorum is an aberration adopted only by the 116th and 117th

Congresses, and the rule exceeded the Constitution’s limitations.




                                              – 88 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 89 of 120 PageID 1637



       The defendants’ counterarguments are ultimately unpersuasive. Their reading of the

Quorum Clause transforms the ability to compel attendance into mere surplusage and

makes little sense in the context of how that provision was added to the drafts of the

Constitution. And while Congress’s extensive use of unanimous consent can lead to votes

occurring without the physical presence of a majority actually present on the House or

Senate floor, it does so based on the presumption of the presence of a quorum. Here, in

contrast, the recorded vote itself demonstrates that there was no quorum without counting

those members not present. Under ordinary congressional practice, if a quorum fails to vote

on legislation, any presumption of a quorum is extinguished. Unlike a unanimous-consent

vote, the vote on the Act reveals that a majority of the House was not physically present,

thereby removing any presumption of a quorum. Accordingly, even if Noel Canning is read

to approve of the unanimous-consent process even without the physical presence of a

quorum, this case does not fall within that scope.

       The Section proceeds as follows. First, the Court analyzes the Quorum Clause’s text

and original public meaning. Second, it discusses Congress’s historical practice regarding

quorums with a specific focus on unanimous consent. Third, it concludes that Texas has

demonstrated that the Act’s passage violated the Quorum Clause.

       A.     The Quorum Clause at the Founding

       The Court must “‘interpret the Constitution in light of its text, structure, and original

understanding’—as informed by history and tradition.” Abbott v. Biden, 70 F.4th 817, 827

(5th Cir. 2023) (quoting Noel Canning, 573 U.S. at 573 (Scalia, J., concurring in judgment)).

This “analysis must begin with ‘the language of the instrument,’ which offers a ‘fixed

standard’ for ascertaining what our founding document means.” Dobbs v. Jackson Women’s




                                            – 89 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 90 of 120 PageID 1638



Health Org., 142 S. Ct. 2228, 2244–45 (2022) (first quoting Gibbons v. Ogden, 22 U.S. (9

Wheat.) 1, 189 (1824); and then quoting 1 J. Story, Commentaries on the Constitution of the

United States § 399, at 383 (1833)). The central aim is to determine “the original public

meaning of the Constitution’s text.” Abbott, 70 F.4th at 829 (quoting NetChoice, L.L.C. v.

Paxton, 49 F.4th 439, 452–53 (5th Cir. 2022), cert. granted in part, No. 22-555, 2023 WL

6319650 (U.S. Sept. 29, 2023)).

       After considering the text, courts look to history, starting with the period around the

provision’s ratification—here, the Founding Era. See id. at 835. This involves looking to

“background concerns that informed the [Quorum] Clause[]” and debates over the Clause.

See id. at 835, 839. The actions of the “Founding-era Congress” can also inform the proper

understanding of the Constitution. See id. at 841–42; Myers v. United States, 272 U.S. 52,

174–75 (1926); see also Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2029–31 (2020). In

addition, “where a governmental practice has been open, widespread, and unchallenged

since the early days of the Republic, the practice should guide [the Court’s] interpretation of

an ambiguous constitutional provision.” N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct.

2111, 2137 (2022) (quoting Noel Canning, 573 U.S. at 572 (Scalia, J., concurring in

judgment)). “But to the extent later history contradicts what the text says, the text

controls.” Id. So “post-ratification adoption or acceptance” of practices “that are

inconsistent with the original meaning of the constitutional text obviously cannot overcome

or alter that text.” Id. (emphasis in original) (quoting Heller v. District of Columbia, 670 F.3d

1244, 1274 n.6 (D.C. Cir. 2011) (Kavanaugh, J., dissenting)). After all, “[t]hat an

unconstitutional action has been taken before surely does not render that same action any

less unconstitutional at a later date.” Powell, 395 U.S. at 546–47.



                                              – 90 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                        Page 91 of 120 PageID 1639



                   i.      The Text

           The first clause of Article I, Section 5 establishes the requirement of a quorum:

           Each House shall be the Judge of the Elections, Returns and Qualifications of
           its own Members, and a Majority of each shall constitute a Quorum to do
           Business; but a smaller Number may adjourn from day to day, and may be
           authorized to compel the Attendance of absent Members, in such Manner, and
           under such Penalties as each House may provide.

U.S. Const. art. I, § 5, cl. 1.

           The first relevant portion of the Clause, “a Majority of each shall constitute a

Quorum to do Business,” establishes the number of members necessary to form a quorum.

Id.; Ballin, 144 U.S. at 5–6. Contemporary dictionaries at the Founding defined “quorum”

as “such a number of any officers as is sufficient to do business.” 2 Samuel Johnson, A

Dictionary of English Language (6th ed. 1785).20 It was therefore understood that this Clause

established a majority as the necessary number of members for either house of Congress to

do business. On its own, one might be able to consider this provision providing solely a

number with no real indication of whether this number needed to be physically present.

           However, the majority requirement is followed by noting the power of “a smaller

Number” to obtain a quorum by “compel[ling] the Attendance of absent Members.” U.S.

Const. art I, § 5, cl. 1. Texas argues, and the Court agrees, that this provision would serve

no purpose if the Quorum Clause lacked a physical-presence requirement. Dkt. No. 38 at



20
      See also 2 John Ash, The New and Complete Dictionary of the English Language (2d ed. 1795) (“a
     number of commissioners sufficient to do business; one or more commissioners without which the
     rest cannot proceed to business”); James Barclay, A Complete and Universal English Dictionary (1792)
     (“one in a commission without whom the rest cannot act”); 2 Thomas Sheridan, A Complete
     Dictionary of the English Language (3d ed. 1790) (“such a number of any officers as is sufficient to do
     business”); 2 Timothy Cunningham, A New and Complete Law Dictionary (2d ed. 1771) (“one[]
     without whom the rest of the justices in some cases cannot proceed”); 2 Noah Webster, An
     American Dictionary of the English Language (1828) (“such a number of officers or members as is
     competent by law or constitution to transact business”).


                                                    – 91 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 92 of 120 PageID 1640



33–35. Like its common use today, “absent” often had a physical component to it. In

addition to “[n]ot present,” Noah Webster noted that it meant “not in company” or “at

such a distance as to prevent communication,” and James Barclay’s dictionary defined it as

“at a distance from, out of the sight and hearing of a person.” 1 Noah Webster, An American

Dictionary of the English Language (1828); James Barclay, A Complete and Universal English

Dictionary (1792). It would belie logic for the Constitution to give the House the ability “[t]o

force” or “oblige” members who are “[n]ot present” to attend—right after noting the

number necessary to do business—if physical presence were unnecessary for a member to

count as part of the quorum. See 1 Johnson, supra (defining “absent” and “compel”).21

           Similarly, the meaning of “attendance” or “attend” at the time of the Founding

carried a physical-presence connotation. The most common definition of “attendance” was

“[t]he act of waiting on another” or “[s]ervice.” E.g., id.; 1 John Ash, The New and Complete

Dictionary of the English Language (2d ed. 1795); 1 Thomas Sheridan, A Complete Dictionary of

the English Language (3d ed. 1790). To serve or wait on another, one typically would need to

be in the same place as the person served. Further, definitions of “attend” include: (1) “[t]o

be present with, upon a summons,” 1 Johnson, supra; 1 Sheridan, supra; (2) “to

accompany,” 1 Ash, supra; Barclay, supra; and (3) “[t]o be present for some duty” or “in

business,” 1 Webster, supra. One typically accompanies another by being physically with

them and is present upon a summons or for some duty by appearing in person.

           Relying on alternative definitions of “absent” as meaning “inattentive” and

“attendance” as “giving attention or regard,” the defendants assert this language simply

permits members “to require inattentive members to yield their attention to or partake in the


21
     See also 1 Ash, supra; 1 Sheridan, supra.


                                                 – 92 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 93 of 120 PageID 1641



legislative matters at hand.” Dkt. No. 52 at 55 (internal quotation marks omitted); see, e.g., 1

Johnson, supra; 1 Ash, supra. But at least one dictionary from the Founding Era notes that

“inattentive” is only a “figurative[]” use of the word “absent,” and such a figurative usage

would seem odd given its place in the Constitution. Barclay, supra. Moreover, if the Clause

permitted members to participate by proxy, it is unclear why it would direct them to “yield

their attention” to the legislative matters at hand, since proxy participation permits a

member to focus on another matter while someone else conducts the legislative business on

the absent member’s behalf.

       In addition, the Supreme Court has previously held that the House’s “capacity to

transact business” is “created by the mere presence of a majority, and does not depend upon

the disposition or assent or action of any single member or fraction of the majority present.”

Ballin, 144 U.S. at 5–6. If no affirmative act or particular disposition of a member is

necessary to count towards the quorum, it would be odd for the Framers to place a

provision requiring a member’s attention or participation in the latter half of the Quorum

Clause. Instead, the most natural reading based on this provision’s placement in the

Constitution is that it allows a minority of members to force members who are not present

at the House’s meeting to physically appear so that a quorum may be reached and business

can be conducted.




                                             – 93 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                        Page 94 of 120 PageID 1642



                   ii.     The Constitutional Convention

           This reading is corroborated by the drafting history and discussion of the Quorum

Clause at the Constitutional Convention.22 As one of the few procedural rules included in

the Constitution, the Quorum Clause represented an important safeguard against rule of the

country by a few representatives of the states closest to the nation’s capital. See Madison,

supra, at 428–31. The debate over the proper number to require for a quorum centered

around concerns about the difficulties for a majority of members to be physically present.

Id. at 429. While the use of proxies was not an unfamiliar concept to the Framers, the

delegates chose to ensure the presence of a majority by giving the non-quorum the ability to

compel the attendance of absent members. U.S. Const. art. I, § 5, cl. 1.

           The Quorum Clause originated in the work of the Committee of Detail. William

Ewald, The Committee of Detail, 28 Const. Comment. 197, 226 (2012). The delegates had not

debated a quorum requirement prior to the Committee’s work, but quorum requirements

were commonplace in the thirteen states. John Bryan Williams, How to Survive a Terrorist

Attack: The Constitution’s Majority Quorum Requirement and the Continuity of Congress, 48 Wm.

& Mary L. Rev. 1025, 1037, 1038 n.36 (2006). A version of the Quorum Clause first

appeared in Edmund Randolph’s draft, Document IV of Farrand’s Records of the Federal

Convention of 1787. 2 Max Farrand, The Records of the Federal Convention of 1787, at 137,

140 (1911); see Ewald, supra, at 226. This initial version read: “A majority shall be a

quorum for business; but a smaller number may be authorized by the house to call for and



22
      The Court refers to these texts not as a search for the subjective intent of the Framers but instead
     as evidence of the public understanding of the text at the time of its adoption, which is “a critical
     tool of constitutional interpretation.” See District of Columbia v. Heller, 554 U.S. 570, 605 (2008);
     Antonin Scalia, A Matter of Interpretation 38 (Amy Gutmann ed., 1997).


                                                    – 94 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 95 of 120 PageID 1643



punish nonattending members, and to adjourn for any time not exceeding one week.” 2

Farrand, supra, at 140. The next draft, handwritten by James Wilson, also contained a

quorum provision, though it omitted the provision about “call[ing] for and punish[ing]

nonattending members”: “In each House (of the Legislature) a Majority of the Members shall

constitute a Quorum to do Business; but a smaller Number may adjourn from Day to Day.”

2 Farrand, supra, at 155; see Ewald, supra, at 248–50. The final drafts from the Committee of

Detail maintained a nearly identical clause: “In each House a Majority of the Members

shall constitute a Quorum to do Business; but a smaller Number may adjourn from Day to

Day.” 2 Farrand, supra, at 165, 180.

       The delegates to the Constitutional Convention discussed the Quorum Clause on

August 10, 1787. DX30; Madison, supra, at 425, 428–31. Nathaniel Gorham argued that a

majority quorum requirement was too high. Madison, supra, at 428–29. Gorham worried

that requiring a majority would lead to great delays in business and would become

increasingly inconvenient as the number of members grew. Id. John Mercer also disagreed

with the proposed clause and contended that Congress should decide the requisite quorum

itself. Id. at 429. His central concern was that “[s]o great a number will put it in the power

of a few by seceding at a critical moment to introduce convulsions, and endanger the

Government,” as had occurred in some of the states. Id.; see also Williams, supra, at 1039 &

n.42, 1044.

       To address these concerns, Gouverneur Morris recommended “fix[ing] the quorum

at 33 members in the [House of Representatives and] 14 in the Senate,” which was a

majority of the present number of members but would mitigate the concerns of future

difficulties from a larger quorum number. Madison, supra, at 429–30. Rufus King offered



                                            – 95 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 96 of 120 PageID 1644



an amended version of this proposal that made 33 and 14 the respective minimum quorums

and allowed the two houses to choose a higher quorum number through legislation. Id. at

430. Elbridge Gerry recommended capping the House’s quorum at 50. Id.

        In support of the majority requirement, George Mason argued that “it would be

dangerous to the distant parts [of the country] to allow a small number of members of the

two Houses to make laws.” Id. at 429. After all, “[t]he Central States could always take

care to be on the [s]pot” and could wear down the other members “and outstay[] them” in

order to carry out legislation. Id. Mason acknowledged the problems that could “spring

from the secession of a small number,” but he worried that “[i]f the Legislature should be

able to reduce the number at all, it might reduce it as low as it pleased [and] the U[nited]

States might be governed by a Juncto [sic].” Id. In fact, Mason thought that a majority

might be too low for a quorum. Id. Oliver Ellsworth and James Wilson also thought that

the Quorum Clause was a necessary protection and would provide “confidence to the

people that no law or burden could be imposed on them, by a few men.” Id. at 430.

Ellsworth asserted that the concerns of “secessions may be guarded [against] by giving to

each House an authority to require the attendance of absent members.” Id. Daniel Carroll

also voiced his support for the majority requirement, noting that the legislature could not be

trusted to require a sufficient number of members if not compelled by the Constitution. Id.

       Based on this debate, Randolph and Madison moved to add the following language

to the end of the Clause: “and may be [authorized] to compel the attendance of absent

members in such manner [and] under such penalties as each House may provide.” Id. at

431. All present delegations agreed to this addition except Pennsylvania, which was

divided. Id. With this addition, the relevant portion of the Clause was unchanged by the



                                             – 96 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                     Page 97 of 120 PageID 1645



edits in the Committee of Style, resulting in the final version of the Quorum Clause.23 See 2

Farrand, supra, at 567, 592; U.S. Const. art. I, § 5.

           This history reinforces the conclusion that the Quorum Clause’s original public

meaning required physical presence. The delegates’ concern about the inconvenience and

difficulty of obtaining a quorum based on travel from the states far from the capital makes

little sense if the representatives were not required to appear in order to participate and be

counted. In addition, they worried about providing power to a few members to “secede”

from the legislature and deprive it of its power. This fear could only materialize if

physically leaving had some impact on whether a quorum existed. To mitigate these

concerns, the Framers adopted a provision giving members the power to compel attendance.

Based on this context, the second portion of the clause was not about requiring inattentive

members to focus on legislative business. Instead, it ensured that members could force

those from the distant states or those who would otherwise seek to leave to come to the

House and Senate so that legislative business could be conducted.

           While the defendants argue that “proxy participation resolves some of the Framers’

concerns about minority rule,” Dkt. No. 52 at 69, it is notable that the Constitution’s

solution was providing the power to compel attendance rather than adopting the use of

proxies. And proxy participation was known to the Framers. In fact, Benjamin Franklin

had proposed the use of proxies for the Articles of Confederation. Benjamin Franklin,

Proposed Articles of Confederation [on or before 21 July 1775], in 22 The Papers of Benjamin

Franklin 120–25 (William B. Willcox ed., 1982). And Hamilton’s proposed approach to the


23
      Between the drafts from the Committee of Style, the provision regarding each house’s power to
     judge the elections, returns, and qualifications of members was moved from a separate section to
     the first portion of Section 5 of Article I. See 2 Farrand, supra, at 567, 592.


                                                  – 97 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 98 of 120 PageID 1646



Constitution would have allowed representatives to vote by proxy while prohibiting a

“[r]epresentative present [to] be proxy for more than one who is absent.” 3 Farrand, supra,

at 620. But when considering the difficulties of representatives from distant states having to

travel to and remain in the capital for a quorum, the Framers instead decided to allow

members to ensure physical presence by compelling the attendance of those absent.

       B.     Historical Practice

       In addition to the original public meaning of the text, courts “look[] to ‘settled and

established practice’ to interpret the Constitution.” Moore v. Harper, 143 S. Ct. 2065, 2086

(2023) (quoting The Pocket Veto Case, 279 U.S. 655, 689 (1929)). Here, the longstanding

historical practice of Congress reflects the understanding that the Quorum Clause counted

only those physically present. Until the resolutions used to adopt the proxy rule at issue

here, no house of Congress had ever attempted to affirmatively count a non-present member

as part of the quorum. While both houses have used unanimous consent and the

presumption that a quorum is present in order to pass legislation and conduct business even

without a physically present majority on the floor, these practices do not actually consider

absent members to be present and part of the quorum. In addition, these practices do not

apply to roll-call votes when the actual vote demonstrates the absence of a quorum, as was

the case here. Instead, under longstanding practices, if a quorum fails to vote on a measure,

any presumption of a quorum is defeated. Accordingly, the House’s attempt to evade the

roll-call vote’s revelation that a majority of members were not present and instead had voted

by proxy cannot be justified by historical practice.




                                             – 98 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                       Page 99 of 120 PageID 1647



                   i.      The First Congress

           Just as the Framers’ discussions demonstrate an understanding that the Quorum

Clause required physical attendance, the practice of the first Congress indicates that those

selected to represent the states shared this view. 1 Annals of Cong. 15–16, 95–96 (1789)

(Joseph Gales ed., 1834); see also Williams, supra, at 1051–53; Howard M. Wasserman, The

Trouble with Shadow Government, 52 Emory L.J. 281, 301–02 (2003). March 4, 1789, was

selected as the first meeting date for the new Congress. 1 Annals of Cong. 95 (1789) (Joseph

Gales ed., 1834). But on that day, a quorum was not present in either the House or the

Senate, so both chambers adjourned. Id. at 15, 95. For each day that the House or Senate

met before each chamber obtained a quorum, the Annals list the members who “appeared

and took their seats.” Id. at 15–16, 95–96. The House finally obtained a quorum on April

1, 1789. Id. at 96; H.R. Journal, 1st Cong., 1st Sess. 3–6 (1789). The Senate obtained a

quorum five days later once twelve senators were “assembled” and “present.” 24 S. Journal,

1st Cong., 1st Sess. 7 (1789).

           In an effort to obtain a quorum, the first Senate exercised its power to request

attendance—twice issuing a circular to absent members. 1 Annals of Cong. 15–16 (1789)

(Joseph Gales ed., 1834); Wasserman, supra, at 302. On March 11, the Senate wrote “to the

absent members, requesting their immediate attendance.” 1 Annals of Cong. 15 (1789)

(Joseph Gales ed., 1834). And on March 18, the present members “agreed that another

circular should be written to eight of the nearest absent members, particularly desiring their

attendance, in order to form a quorum.” Id. at 15–16. The first letter noted that it was “of



24
      At the time, only eleven states had ratified the Constitution, making twelve senators a majority of
     the Senate. See Wasserman, supra, at 302.


                                                   – 99 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 100 of 120 PageID 1648



the utmost importance that a quorum sufficient to proceed to business be assembled” so the

“absent members” were requested “to attend as soon as possible.” S. Journal, 1st Cong., 1st

Sess. 5–6 (1789). The second one told the absent senators that their “presence [was]

indispensably necessary” and that the present members “therefore again earnestly

request[ed] [their] immediate attendance.” Id. at 6.

       Thus, the members of the first Congress believed that the Quorum Clause required

each house to have the physical presence of a majority before it could take any action. Both

chambers waited nearly a month for enough members to arrive, and the Senate specified in

its letter that the “presence” of a majority of members was “indispensably necessary.” Id.

Moreover, the first Congress maintained this understanding throughout its term, with each

session’s business delayed until enough members “appeared” and attended the proceedings.

See 1 Annals of Cong. 931, 1039–40 (1790) (Joseph Gales ed., 1834); 2 Annals of Cong.

1787 (1790). This constitutional understanding of the first Congress “should be regarded”

with “great[] weight in the interpretation” of the Constitution, especially if the construction

is maintained by following legislatures. Myers, 272 U.S. at 174–75; see also Mazars USA,

LLP, 140 S. Ct. at 2029–31; id. at 2040 (Thomas, J., dissenting).

              ii.     Subsequent Practice

       The first Congress was not an outlier in its position that the Quorum Clause

compelled the physical presence of a majority in order to conduct business. For example,

the first proceedings of the fifth Congress’s second session were delayed by several days in

both the House and the Senate because a majority of the members had not “assembled in

their Chamber.” 7 Annals of Cong. 469–70, 625–26 (1797). Even after the House formed

its initial quorum, on November 20, 1797, it could not conduct business “for some time”




                                            – 100 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24             Page 101 of 120 PageID 1649



that day until a majority arrived. Id. at 627. At the third session, the House again was

“fourteen short of a quorum” because after “the names of all the members were called,”

only forty were present. 9 Annals of Cong. 2417–18 (1798). And in the second session of

the eighth Congress, the House initially had a quorum because a majority of members

“appeared and took their seats,” but a week later, “[n]o quorum [was] present,” so the

members adjourned that day. 14 Annals of Cong. 677–78, 685 (1804).

       Beyond this general counting of the members present, discussions in Congress also

provide insight into their views on a physical-presence requirement in the Quorum Clause.

The House of Representatives of the eighth Congress indicated that they viewed the

Quorum Clause as considering only those physically present. 13 Annals of Cong. 648, 656–

58 (1803). William Bankhead, the Speaker of the House of Representatives for the seventy-

fifth Congress, noted, “[n]o business of any character can be transacted” where less than a

majority of members were present during a count of the members. 81 Cong. Rec. 2793

(1937). And Sam Rayburn, the then-Speaker, remarked before a quorum count in 1950 that

“[t]he Chair cannot count any [m]embers that he cannot see.” 96 Cong. Rec. 1811 (1950);

see also 41 Cong. Rec. 3572 (1907) (stating that the Chair counted the members who were

“visible”).

       In 1862, the Senate debated the Quorum Clause at length after confronting the

problem that a substantial number of its ordinary membership would not attend its

sessions—those senators who would have represented the seceded states. Cong. Globe,

37th Cong., 2d Sess. 3189–94 (1862); see also Williams, supra, at 1059–61. Senator John

Sherman remarked that the Quorum Clause created two classes of senators—“present” and

“absent”—and, under his “plain reading of the Constitution,” “[i]f some of them are absent,



                                           – 101 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 102 of 120 PageID 1650



those who are present can compel the attendance of the absentees, and as soon as there is a

majority of those elected present, they can go on and transact the business of the body.”

Cong. Globe, 37th Cong., 2d Sess. 3190 (1862). Sherman noted that if enough senators

were sick or simply absent, the Senate could not operate. Id. Senator John Carlile agreed

that the Quorum Clause required a majority and “conferred upon those present” the power

“to send for the Senators [who] are absent.” Id. In discussing the quorum formed on that

day, the senators considered those “in [their] seat[s]” and omitted a senator who “ha[d]

gone” after being present the prior day. Id. at 3192. Senator Lafayette Foster also remarked

that a quorum must be present and that they could lose a quorum if “members go away.”

Id. Foster further warned his fellow senators of the need to comply with the Quorum

Clause because if they failed to suspend business and passed a bill even one short of a

quorum, “the bill which [they] passed would not be a law” and instead would be a

“nullit[y].” Id. at 3193.

          Nevertheless, the Court recognizes that the House has passed legislation in the

absence of a physical quorum. During the 1918 flu epidemic, the House repeatedly failed to

obtain a quorum as few members attended legislative sessions. Whereas: Stories from the

People’s House—Sick Days, U.S. House of Representatives, Hist., Art & Archives (Dec. 17,

2018) [hereinafter Sick Days].25 On October 14, 1918, the House met to consider a Senate

resolution to allow the Public Health Service to mobilize civilian doctors as an emergency

response to locations with severe flu outbreaks. Id. But at the roll call, only 178 members

were present, less than a quorum, so the Speaker ruled against consideration of the bill, and



25
     Available at: https://history.house.gov/Blog/2018/December/12-14-Flu [https://perma.cc/
     7L3U-49KY].


                                              – 102 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 103 of 120 PageID 1651



the House adjourned. Id.; 56 Cong. Rec. 11264 (1918). The following day, the House again

considered the bill, this time with less than 50 members in attendance. Sick Days, supra.

Leaders of both parties reached an agreement to pass the bill by unanimous consent. Id.

Given the lack of a physical quorum, “two [m]embers initially balked at the plan and

demanded a quorum call” but were convinced by other members to withdraw their requests.

Id. The bill ultimately passed without objection. Id. But because a quorum was lacking, the

House adjourned “[i]mmediately afterward.” Id.; see 56 Cong. Rec. 11288–89 (1918).

       This occurrence does not support an argument that the Quorum Clause does not

require physical presence. Quite the opposite, the House was aware it lacked a quorum at

the time, with members urging those who considered raising points of no quorum to

withdraw their points because they knew a quorum call would reveal the obvious—the

House lacked the physical presence of a quorum and therefore could not proceed to

business. And the members sought to pass the bill by unanimous consent because a roll-call

vote would reveal the absence of a quorum. The House’s decision to proceed in knowing

violation of a constitutional requirement does not alter the proper interpretation of that

Clause—“[p]ast practice does not, by itself, create power.” See Medellín v. Texas, 552 U.S.

491, 532 (2008) (alteration in original) (quoting Dames & Moore v. Regan, 453 U.S. 654, 686

(1981)). Instead, it may merely represent action beyond constitutional authority. But given

the House’s own acknowledgement at the time and the history previously discussed, the

historical practice of the House—even when acting without a quorum—demonstrates an

understanding that members must be physically present in order to count towards the

quorum.




                                            – 103 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 104 of 120 PageID 1652



              iii.     Unanimous Consent

       While the Constitution’s text, history, and tradition teach that participation by proxy

cannot satisfy the Quorum Clause’s requirement, the Court recognizes the practice of

unanimous consent. If Congress can conduct business without a majority physically present

through unanimous consent, then why can’t it conduct business through proxy voting? The

answer stems from the material differences between the two practices and the procedural

safeguards in place.

       The practice of unanimous consent is widespread in Congress and is used to pass

legislation despite the lack of a physical quorum on the floor. See Dkt. No. 52 at 62–65; see

also DX26 at 38–40. It does so based on each house’s presumption that a quorum is always

present. Dkt. No. 52 at 62–65. The defendants assert that unanimous consent, along with

the Supreme Court’s discussion of the practice in Noel Canning, requires the Court to find

that the Quorum Clause does not have a physical-presence requirement. Id. But even if

unanimous consent and the presumptive presence of a quorum are valid, the practice does

not change the result here. Principally, the presumption of a quorum for unanimous

consent ends when a vote reveals that a quorum is not in fact present. Unanimous-consent

votes would never have this effect—because either (1) no one objects and the vote proceeds,

or (2) someone objects and unanimous consent fails. The vote in this case, however, was a

roll-call vote, and the record reveals that less than a majority of votes were cast in person.

168 Cong. Rec. H10528–29 (daily ed. Dec. 23, 2022). Accordingly, the vote itself in this

case demonstrated that the House lacked a physical quorum, which would destroy the

presumption of a quorum.




                                            – 104 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 105 of 120 PageID 1653



       The practice of unanimous-consent agreements “suspend[s] the order of business

temporarily” to “permit[] some action that is not in dispute and to which no [m]ember has

any objection.” DX38 at 2; Charles W. Johnson et al., House Practice: A Guide to the Rules,

Precedents, and Procedures of the House Ch. 54 § 1 (2017). If a member objects, any

unanimous-consent agreement ends. DX38 at 2; Johnson et al., supra, at Ch. 54 § 1.

Unanimous-consent agreements date back to the 1830s in the House, and the Senate has

conducted business by unanimous consent since 1789. DX38 at 2; Johnson et al., supra, at

Ch. 54 § 1; DX39; U.S. Senate, The First Unanimous Consent Agreement,

https://www.senate.gov/about/powers-procedures/rules-procedures/first-unanimous-

consent-agreement.htm [https://perma.cc/6Z5Y-5HVY].

       In both chambers, unanimous consent can permit measures to be passed in the

absence of a physical quorum due to a presumption of a quorum. See DX28 at 9; 5 Lewis

Deschler, Deschler’s Precedents of the United States House of Representatives Ch. 20 § 1 (1994);

William McKay & Charles W. Johnson, Parliament and Congress: Representation and Scrutiny

in the Twenty-First Century 85 (2010); DX32 at 4; Floyd M. Riddick & Alan S. Frumin,

Riddick’s Senate Procedure: Precedents and Practices 1038 (1992). Effectively, once a quorum is

obtained through a majority’s physical presence at the beginning of each Congress, the

House presumes that a quorum is always present “unless disclosed by a vote or questioned

by a point of no quorum.” DX28 at 9, 16; 5 Deschler, supra, at Ch. 20 §§ 1, 2.1; McKay &

Johnson, supra, at 85–86. The Senate similarly presumes that a quorum is always present

“unless the question to the contrary is raised, or the absence of a quorum is officially shown

otherwise, or until a point of no quorum is made.” DX32 at 7–8; Riddick & Frumin, supra,

at 1041–42. This presumption “permits many measures to be passed by unanimous consent,



                                              – 105 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 106 of 120 PageID 1654



voice votes, or other non-recorded votes when in fact fewer than a majority of [m]embers of

either [h]ouse are present, since the [r]ecord does not disclose the absence of a quorum

which would reverse this presumption.” McKay & Johnson, supra, at 85.

       As the defendants note, the Supreme Court discussed the Senate’s use of unanimous

consent and the presumption of a quorum’s presence in Noel Canning without casting

constitutional doubt on the practice. See Noel Canning, 573 U.S. at 549–56. Noel Canning

involved the Recess Appointments Clause, which permits the President to fill vacancies that

happen during the Senate’s recess without having to go through the ordinary advice-and-

consent process. Id. at 518–19; U.S. Const. art. II, § 2, cl. 3. Of relevance here, the case

concerned whether the President could appoint officers under this clause during an intra-

session break where the Senate conducted pro forma sessions every Tuesday and Friday.

Noel Canning, 573 U.S. at 519–21. The Supreme Court held that intra-session adjournments

qualified as recesses under the clause, but that any recess had to last at least ten days to

trigger the clause. Id. at 538. Based on that decision, the Supreme Court then determined

whether the pro forma sessions terminated the “recess.” Id. at 549–50. It held that these pro

forma sessions “count as sessions, not as periods of recess” because, “for purposes of the

Recess Appointments Clause, the Senate is in session when it says it is, provided that, under

its own rules, it retains the capacity to transact Senate business.” Id. at 550. In Noel

Canning, the Senate could conduct business under its rules because it could have “pass[ed] a

unanimous consent agreement” under its presumption of a quorum even though “the Senate

Chamber was, according to C-SPAN coverage, almost empty.” Id. at 552–54. But the

Supreme Court reaffirmed that “deference to the Senate cannot be absolute,” and if the




                                             – 106 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                  Page 107 of 120 PageID 1655



Senate lacked “the capacity to act, under its own rules, it is not in session even if it so

declares.” Id. at 552 (emphasis omitted).

       Even if Noel Canning confirms the constitutionality of unanimous consent under the

Quorum Clause, it provides little support for concluding that the Quorum Clause does not

mandate physical presence and that the proxy rule is permissible. Unanimous consent and

the roll-call vote at issue in this case operate distinctly in relation to the presumption of a

quorum under the House’s own rules and precedents. Under unanimous consent, no

counting of votes occurs, so any lack of a physical quorum is not revealed by the vote. See

McKay & Johnson, supra, at 85. Instead, it ends if someone objects or if someone raises the

lack of a quorum. But for a roll-call vote, the vote itself can demonstrate that a quorum was

not physically present. Under the House’s rules, “[w]hen a quorum fails to vote on a

question, a quorum is not present.” H.R. Rule XX, cl. 6(a), 117th Cong. (2021). Even if no

member of the House objects, “failure of a quorum to vote on a roll call cannot be ignored.”

DX28 at 9; 5 Deschler, supra, at Ch. 20 § 1; see also DX36 at 37; 4 Asher C. Hinds, Hinds’

Precedents of the House of Representatives of the United States § 2963 (1907).

       And once a vote reveals that a quorum is lacking, the House and Senate must either

obtain a quorum or adjourn—they cannot ignore the demonstrated absence by unanimous

consent. 5 Deschler, supra, at Ch. 20 §§ 10.4, 10.5, 10.6; DX31 at 13; 6 Clarence Cannon,

Cannon’s Precedents of the House of Representatives of the United States, Ch. 208 § 660 (1935);

DX36 at 33–34; 4 Hinds, supra, §§ 2951–53; DX32 at 13; Riddick & Frumin, supra, at 1047.

As then-Speaker Pro Tempore Clarkson N. Potter explained, when “[t]he vote upon the

passage of th[e] bill by yeas and nays has disclosed the fact that there is not a quorum in the

House[,] [t]he House thereby becomes constitutionally disqualified to do further business,



                                               – 107 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 108 of 120 PageID 1656



except . . . to adjourn, or to order a call of the House.” Cong. Globe, 42d Cong., 2d Sess.

3857 (1872); see also 4 Hinds, supra, § 2951. Accordingly, under those circumstances, the

House could not proceed with a unanimous-consent vote “on the assumption that a quorum

is present.” Cong. Globe, 42d Cong., 2d Sess. 3856–57 (1872).

       As a result, even if the House or Senate can presume that a quorum exists to conduct

business under procedures that would not demonstrate the lack of a quorum, affirmatively

counting an absent member as present even though a roll-call vote shows the lack of a

quorum is an entirely different matter. As discussed, the presumption of a quorum only

loosely applies to a roll-call vote because the revelation that a quorum failed to vote kills any

such presumption. H.R. Rule XX, cl. 6(a); 5 Deschler, supra, at Ch. 20 § 1; McKay &

Johnson, supra, at 85–86. The quorum-related discussion surrounding the vote on the Act

here reflects the distinct nature of roll-call votes. The response to Representative Roy’s

inquiry about whether a quorum was physically present was not that the quorum was

presumed or physically present, but that the absent members voting by proxy counted

towards the quorum. 168 Cong. Rec. H10529 (daily ed. Dec. 23, 2022). This exchange

further exemplifies the unique nature of this rule. Had the House attempted to pass the Act

by unanimous consent in the absence of a physical quorum, a member ordinarily could have

objected to the lack of a quorum and required a majority to appear. But with this rule, even

if the physical absence of a majority were shown, the House still deemed itself to have a

quorum, and no member could prevent legislative action based on that absence.

       Thus, even if Noel Canning, which did not directly address the Quorum Clause,

approved of unanimous consent, it does not support acting when the lack of a quorum is

revealed. In fact, Noel Canning noted that, had a point of no quorum been raised and a



                                            – 108 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                      Page 109 of 120 PageID 1657



“quorum was missing, the Senators in attendance could have directed the Sergeant at Arms

to bring in the missing Senators”—not that the Senate could legislate without them. 573

U.S. at 554. In sum, even though unanimous consent is prevalent, the historical practice

provides further support for a physical-presence requirement.

           C.      Texas has proven that the House’s passage of the Act violated the Quorum
                   Clause.

           In light of the foregoing, the Quorum Clause prohibits the use of the proxy rule in

order to obtain a quorum. 26 When a majority of members are revealed to be absent, the

Quorum Clause gives the House two options: adjourn or compel the attendance of absent

members. It does not allow the House to adopt a mechanism to deem those absent

members present and part of the quorum. Accordingly, because the record of the vote on

the Act demonstrates that only a minority of members cast votes in person, with the

remainder voting while absent and through proxies, Texas has proven that the Act was

passed in violation of the Quorum Clause.

           Texas’s claim is straightforward. Less than a majority of the members of the House

voted in person on the Act, and as a result, the House lacked a quorum to do business. 168

Cong. Rec. H10528–29 (daily ed. Dec. 23, 2022); DX21 at 27–28. The total number of



26
     The parties cite two further arguments in favor of their positions. See Dkt. Nos. 38 at 37–38; 52 at
     57–58, 67–68; 63 at 12–13. Texas asserts that other constitutional provisions that directly discuss
     presence in connection with congressional action further support a physical-presence requirement.
     The defendants cite quorum provisions for federal courts that do not require physical presence.
     Ultimately, the Court finds these other constitutional provisions and other quorum contexts are at
     best ambiguous as to whether the Quorum Clause requires physical presence. These provisions use
     other language that varies or is absent from the Quorum Clause or address different concerns from
     those motivating the Clause. And the examples of virtual attendance at least implicate some sort
     of presence, whereas the proxy rule here counted members who were not “present” in any ordinary
     sense of the word. Regardless, the text, original public meaning, and historical practice of the
     Quorum Clause clearly point towards a physical-presence requirement. Nothing in these
     additional arguments persuades the Court that an alternative interpretation is correct.


                                                  – 109 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 110 of 120 PageID 1658



voting members of the House of Representatives is 435, making 218 the requisite number of

members that must be physically present to constitute a quorum. See Act of August 8, 1911,

Pub. L. No. 62-5, 37 Stat. 13–14 (1911); 2 U.S.C. § 2a(a). A total of 431 votes were cast on

the Act, and 226 of the votes were cast by proxy. 168 Cong. Rec. H10528–29 (daily ed. Dec.

23, 2022); DX21 at 27–28. Only 205 votes, less than a quorum, were cast in person. 168

Cong. Rec. H10528–29 (daily ed. Dec. 23, 2022); DX21 at 27–28. And when

Representative Roy inquired into whether a physical quorum was present, the response was

that the House counted those absent members participating by proxy as part of the quorum.

See 168 Cong. Rec. H10529 (daily ed. Dec. 23, 2022); DX21 at 28. Treating absent

members as present via proxy in order to create a non-present majority violates the Quorum

Clause. Yet that is what the House did through its proxy rule when passing the Act. The

House lacked the constitutionally required quorum but sought to evade the Constitution’s

limits by counting absent members as present in order to conduct business. The Quorum

Clause prohibits Congress from doing so. Accordingly, Texas has carried its burden of

proof that the House violated the Quorum Clause when it passed the Act.

8.     Texas will suffer irreparable injury absent an injunction.

       To obtain a permanent injunction, Texas must demonstrate: (1) that it succeeded on

the merits; (2) that it will suffer irreparable injury if an injunction is not granted; (3) that a

balance of the hardships between the plaintiff and the defendant favors equitable relief; and

(4) that an injunction will not harm the public interest. Valentine, 993 F.3d at 280; see also

eBay Inc., 547 U.S. at 391. Although the Court has found that Texas succeeded on the

merits of its claim, the remaining injunction factors must still be considered before Texas

can obtain a permanent injunction. Texas has also carried its burden as to these factors and




                                              – 110 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 111 of 120 PageID 1659



is therefore entitled to a permanent injunction of the defendants’ enforcement of the PWFA

against it. It is irreparably harmed by the PWFA because it faces irrecoverable compliance

costs and the waiver of its sovereign immunity. As for the balance of the hardships and the

public interest, the strong public interest in favor of preventing unlawful and

unconstitutional government action—along with the narrow scope of the injunctive remedy

needed to prevent harm to Texas—support a permanent injunction.

       The irreparable injury prong requires Texas to show that it is likely to suffer “harm

for which there is no adequate remedy at law.” Daniels Health Scis., L.L.C. v. Vascular Health

Scis., L.L.C., 710 F.3d 579, 585 (5th Cir. 2013). This risk of harm must be more than

speculative: “there must be more than an unfounded fear on the part of the applicant.” Id.

(quoting Holland Am. Ins. Co. v. Succession of Roy, 777 F.3d 992, 997 (5th Cir. 1985)). Once a

movant shows that more than a de minimis harm is likely, the focus turns to irreparability.

Enter. Int’l, Inc. v. Corporacion Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985).

While financial injuries generally do not qualify, if those costs cannot be recovered, the

harm is irreparable. Texas v. EPA, 829 F.3d 405, 434 (5th Cir. 2016); Wages & White Lion

Invs., L.L.C. v. FDA, 16 F.4th 1130, 1142 (5th Cir. 2021). And when the defendants are

federal agencies, such costs are almost always unrecoverable due to sovereign immunity.

Wages & White Lion Invs., L.L.C., 16 F.4th at 1142. Accordingly, “complying with a

regulation later held invalid almost always produces the irreparable harm of nonrecoverable

compliance costs.” EPA, 829 F.3d at 433 (emphasis in original) (quoting Thunder Basin Coal

Co. v. Reich, 510 U.S. 200, 220–21 (1994) (Scalia, J., concurring in part and in the

judgment)); Louisiana v. Biden, 55 F.4th 1017, 1034 (5th Cir. 2022).




                                              – 111 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 112 of 120 PageID 1660



       Texas contends that the Act inflicts an irreparable injury by forcing it to comply with

the PWFA’s requirements and opening it up to administrative and judicial proceedings. See

PX1; Dkt. No. 38 at 42–43. In addition, Texas notes the harm to its sovereign immunity.

Dkt. No. 38 at 42–43. According to Texas, these harms are irreparable because it cannot

compel the federal government to reimburse it, and the damage to its sovereign immunity

occurs the moment it must defend a lawsuit. Id. The defendants counter that Texas has not

shown more than a mere speculation that it will suffer harm. Dkt. No. 52 at 73–74.

Further, they argue that Texas’s cited litigation costs are not irreparable harm and that

Texas has a legal remedy—raising this Quorum Clause defense if sued. Id.

       As discussed in the standing section, see Section 4.B, supra, Texas has demonstrated a

nonspeculative claim that it will be forced to update its policies and trainings, process

accommodation requests, and respond to charges of discrimination brought under the

PWFA. Consequently, the main issue is whether this harm is irreparable. The Court finds

that it is. While the defendants are correct that “the expense and disruption” of having to

defend against a proceeding is generally not irreparable harm, FTC v. Standard Oil Co. of Cal.,

449 U.S. 232, 244 (1980), here, there is more than mere litigation costs. Texas must comply

with the PWFA’s requirements. This imposes new regulatory burdens on Texas even if

Texas already provides what it believes to be reasonable accommodations for pregnant

workers. Texas’s OAG will incur around $6,674.01 throughout the first year of the PWFA

and around $5,225.05 annually thereafter if the PWFA is not enjoined. PX1 at 3–4. Those

compliance costs are irreparable because Texas cannot recoup these costs from the

defendants. EPA, 829 F.3d at 433–34.




                                            – 112 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                Page 113 of 120 PageID 1661



       In addition, because the PWFA waives Texas’s sovereign immunity, the costs related

to PWFA lawsuits are not simply litigation costs but the fact of having to face litigation at

all. Under such circumstances, merely having to respond in court is an irreparable harm to

Texas. Having to relitigate the Quorum Clause issue in each new lawsuit is an insufficient

legal remedy when Texas should not have to answer to these lawsuits in the first place.

Between the additional regulatory costs of complying with the PWFA and the harm of

having its sovereign immunity waived, Texas has shown an irreparable injury caused by the

PWFA.

9.     The balance of the equities and the public interest favor a permanent injunction.

       In determining whether to grant an injunction, the Court must “pay particular regard

for the public consequences in employing the extraordinary remedy of injunction.” Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (quoting Weinberger v. Romero-Barcelo, 456

U.S. 305, 312 (1982)). On the other side, courts consider the public interest in favor of

preventing unlawful and unconstitutional government action. See Wages & White Lion Invs.,

L.L.C., 16 F.4th at 1143; Valley v. Rapides Par. Sch. Bd., 118 F.3d 1047, 1056 (5th Cir. 1997).

       Texas contends that the federal government will not be harmed by an injunction

because it will spare the defendants the “administrative, legal, financial, or other costs

associated with enforcing the Act” and that any interest that the defendants have in

enforcing the Act is “illegitimate” because it is unconstitutional. Dkt. No. 38 at 43 (quoting

BST Holdings, L.L.C. v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021)). Additionally, Texas

asserts that the financial harms from complying with the PWFA will fall on it and its

citizens, id.; see PX1, and that leaving the Act in force disserves the public interest in

maintaining constitutional safeguards and limits on federal power, Dkt. No. 61 at 22.




                                             – 113 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 114 of 120 PageID 1662



       The defendants counter that the public and the federal government would be greatly

harmed by any injunction because it would cause “uncertainty regarding other portions of

the omnibus legislation” and “would harm pregnant workers who otherwise will be entitled

to reasonable accommodations for limitations relating to pregnancy, childbirth, or related

medical conditions.” Dkt. No. 52 at 75. They further note the expansive scope of the Act

and the concerns if the Court were to enjoin the Act in its entirety. Id. at 76–77.

       The Court finds that the balance of the equities and the public interest favor granting

Texas a permanent injunction of the PWFA against it. Although the particular provisions

of the legislation may benefit the public, “[t]he public interest is also served by maintaining

our constitutional structure.” BST Holdings, L.L.C., 17 F.4th at 618. In fact, “the public

interest of the nation is always served by the cessation of a program that was created in

violation of law and whose existence violates the law.” Texas (DACA), 50 F.4th at 530

(quotation omitted). Texas has a strong interest in not incurring regulatory costs and in

maintaining its sovereign immunity. As for the defendants’ interest in enforcing the PWFA,

there is little valuable interest in enforcing statutes promulgated in violation of the

Constitution. BST Holdings, L.L.C., 17 F.4th at 618.

       Certainly, the Act itself presents a unique case given its contents: extensive funding

for the federal government’s operations and several pieces of permanent legislation. But

there is no too-big-to-be-unconstitutional exception for congressional action. A harmed

party cannot be prohibited from obtaining relief from unconstitutional legislation simply

because Congress included enough important provisions in the legislation. It is well-

established that Congress cannot simply ignore the Constitution’s limits “in pursuit of




                                             – 114 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 115 of 120 PageID 1663



desirable ends.” See Wages & White Lion Invs., L.L.C., 16 F.4th at 1143 (quoting Ala. Ass’n of

Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2490 (2021)).

        If a request for an injunction of the entire Act were before the Court, these concerns

about the public’s interest in the continued funding for the federal government, albeit

through an unconstitutionally passed act, would weigh much heavier than they do here.

However, Texas only requests that the Court enjoin the specifically challenged portions of

the Act as to it—not the Act as a whole. Dkt. Nos. 93 at 2; 107 at 68–71. And even if

Texas were seeking such an injunction, any remedy provided to Texas must “be limited to

the inadequacy that produced the injury in fact that the plaintiff has established.” Lewis v.

Casey, 518 U.S. 343, 357 (1996); see also DHS v. New York, 140 S. Ct. 599, 600 (2020)

(Gorsuch, J., concurring in the grant of stay). The Court need not enjoin the entire Act to

remedy Texas’s harm. Therefore, the consequences of such an injunction are not at issue

here, and the relevant public interest pertains to the PWFA’s application to employees of

Texas. An injunction of the PWFA alone will prevent the cited irreparable harm, leaving in

effect the other provisions of the 2023 Consolidated Appropriations Act. As a result, many

of the defendants’ cited harms to themselves and the public are inapplicable, and those that

remain are outweighed by the strong interest in preventing unconstitutional government

action, see BST Holdings, L.L.C., 17 F.4th at 618; Wages & White Lion Invs., L.L.C., 16 F.4th at

1143.

        Accordingly, after considering the evidence presented by the parties, the Court finds

that Texas is entitled to a permanent injunction of the PWFA’s enforcement against it.




                                             – 115 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                      Page 116 of 120 PageID 1664



10.        Scope of Relief

           Having determined that Texas has carried its burden and is entitled to a permanent

injunction of the PWFA’s enforcement against it, the Court must determine the proper

scope of such relief. Specifically, at trial, the defendants argued that any injunction related

to the PWFA should not prohibit the defendants from accepting PWFA charges, serving

notices to Texas of such charges, and issuing right-to-sue notices to claimants. Dkt. No. 109

at 76–78, 164–65, 171. As the Court previously explained, as part of the PWFA’s

administrative-exhaustion process, a covered employee must file a charge and receive a

notice of her right to sue in order for her claim to fully accrue. See 42 U.S.C. §§ 2000e-5,

2000gg-2; Ernst v. Methodist Hosp. Sys., 1 F.4th 333, 337 (5th Cir. 2021). Consequently,

barriers to the administrative-exhaustion process could complicate an employee’s ability to

bring a PWFA claim. Thus, the defendants cite a case from the District of North Dakota as

an example of such a limited injunction and argue that this restriction is necessary so that

the Court does not interfere with the rights of employees who are not parties to this

litigation. Id. at 164–65, 171; Religious Sisters of Mercy v. Cochran, Nos. 3:16-cv-386 & 3:16-

cv-432, 2021 WL 1574628, at *2 (D.N.D. Feb. 19, 2021).27

           Here, the proper remedy includes enjoining the defendants from accepting PWFA

charges and issuing right-to-sue notices to PWFA claimants. Texas has demonstrated that

the PWFA as a whole was enacted unconstitutionally and seeks an injunction of the

enforcement of the PWFA by the defendants. Therefore, the enforcement powers that the




27
      During trial, the defendants requested an opportunity to provide additional briefing on this point if
     the Court considered enjoining the EEOC from issuing right-to-sue notices. Dkt. No. 109 at 173.
     After careful consideration of the arguments at trial and review of the cited authorities, the Court
     finds additional briefing unnecessary.


                                                   – 116 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24               Page 117 of 120 PageID 1665



PWFA purports to give the defendants are themselves unconstitutional. This includes the

acceptance of charges and issuance of right-to-sue notices. The defendants’ exercise of these

powers against Texas would violate the Constitution and contribute to the harms the Court

has previously discussed.

       This situation is unlike Religious Sisters of Mercy, where the plaintiffs challenged only

the EEOC’s interpretation of Title VII as violating their rights under the Religious Freedom

Restoration Act, not the constitutionality of Title VII as a whole. See 2021 WL 1574628, at

*1. In such circumstances, the EEOC’s general power to accept charges and issue notices

was not implicated. But here, the constitutionality of the defendants’ authority under the

PWFA has been challenged, and Texas has prevailed in its claim. Moreover, the plaintiffs

in Religious Sisters agreed to the limitation. See Plaintiffs’ Unopposed Motion for Entry of

Final Judgment and for Extension of Time to File for Fees and Costs and Proposed Final

Judgment, Religious Sisters of Mercy, 2021 WL 1574628 (No. 3:16-cv-386), ECF Nos. 132,

132–1. In contrast, here, Texas has made clear that its harms from the PWFA include any

litigation brought by an employee under the PWFA, such that its injury is remedied in part

by restricting the defendants’ ability to take steps that are generally necessary for those

employees to have PWFA claims. See Dkt. Nos. 4 ¶¶ 25–29, 63–65, 70; 38 at 14–16, 42–43.

       Further, the Court disagrees that such an injunction improperly enjoins the rights of

non-present third parties. While foreclosing the administrative process may preclude an

individual’s ability to properly administratively exhaust, it does not prevent the employee

from filing her own PWFA lawsuit against Texas. If she chooses to file despite the

injunction against the defendants, she may argue that her failure to administratively exhaust

should be excused due to impossibility based on this injunction. Courts have on occasion



                                             – 117 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                   Page 118 of 120 PageID 1666



granted equitable exceptions to exhaustion in the Title VII context. See, e.g., Stapper v. Tex.

Dep’t of Hum. Res., 470 F. Supp. 242, 244–45 (W.D. Tex. 1979); Jackson v. Chick & Seafood,

Inc., No. 3:22-CV-1687-N, 2023 WL 2799736, at *2 (N.D. Tex. Apr. 4, 2023); Hiller v.

Oklahoma ex rel. Used Motor Vehicle & Parts Comm’n, 327 F.3d 1247, 1251–52 (10th Cir. 2003);

Fouche v. Jekyll Island-State Park Auth., 713 F.2d 1518, 1526 & n.11 (11th Cir. 1983). Thus,

an employee would not be precluded from bringing her own suit and may be able to reach

the merits of her claims.28 The mere possibility that an injunction foreclosing the

administrative process may deter a non-party from filing a PWFA claim does not mean that

she is prohibited from doing so. By the same token, the Court’s conclusion that the PWFA

was enacted in violation of the Constitution may itself impact an individual’s decision

whether to bring a PWFA claim even if no injunction were granted. For example, a

potential PWFA plaintiff may decline to bring a claim, believing that another court may

agree that enforcement of the PWFA violates the Constitution’s Quorum Clause. But she is

not barred from bringing her claim because the Court’s conclusion—like an injunction of

the defendants—does not actually determine her rights.

          Nevertheless, to facilitate a third-party employee’s ability to show that she attempted

to administratively exhaust her claim, the Court’s injunction will make clear that the

defendants may, upon receipt of a PWFA claim against the State of Texas, send a written

notice to the claimant stating that they received her charge but cannot accept it, investigate

it, or issue a right-to-sue notice based on this Order.

          As for Texas’s additional request for a declaratory judgment that the PWFA was

enacted in violation of the Constitution, the Court declines to exercise its discretion to grant


28
     The defendants themselves acknowledged this at trial. Dkt. No. 109 at 78.


                                                – 118 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24              Page 119 of 120 PageID 1667



such relief. “Ample precedent establishes that [a court] should not exercise [its] discretion

to extend declaratory relief when a challenged law or policy no longer affects the plaintiff.”

EEOC, 933 F.3d at 451. Because the Court enjoins the PWFA’s enforcement against Texas,

a declaratory judgment against the defendants would be redundant and provide no further

relief to it. Id. at 451 n.38.

11.     Conclusion

        In sum, the Court concludes that this case is justiciable and that the House of

Representatives’ passage of the Consolidated Appropriations Act of 2023 violated the

Quorum Clause. Because Texas has carried its burden to show its entitlement to a

permanent injunction of the PWFA but not as to the CMPP, the Court grants in part and

denies in part Texas’s request for an injunction (Dkt. No. 37) and grants in part and denies

in part the defendants’ motion to dismiss (Dkt. No. 54).

        The Court orders that the Attorney General, the United States Department of

Justice, the Equal Employment Opportunity Commission, Charlotte A. Burrows, Jocelyn

Samuels, Keith E. Sonderling, Andrea R. Lucas, Christopher W. Lage, their divisions,

bureaus, agents, officers, commissioners, employees, and anyone acting in concert or

participation with them, including their successors in office, are permanently enjoined from

enforcing the Pregnant Workers Fairness Act, 42 U.S.C. §§ 2000gg et seq., including

accepting any charges or issuing any right-to-sue letters in relation to charges brought under

the Pregnant Workers Fairness Act, or any implementing regulations thereto, against the

State of Texas and its divisions and agencies. This Order does not prohibit the Attorney

General, the United States Department of Justice, the Equal Employment Opportunity

Commission, Charlotte A. Burrows, Jocelyn Samuels, Keith E. Sonderling, Andrea R.




                                            – 119 –
Case 5:23-cv-00034-H Document 110 Filed 02/27/24                 Page 120 of 120 PageID 1668



Lucas, Christopher W. Lage, their divisions, bureaus, agents, officers, commissioners,

employees, and anyone acting in concert or participation with them, including their

successors in office, from sending a written notice upon receipt of a PWFA claim against

the State of Texas and its divisions and agencies to the claimant stating that, due to this

Order, they are unable to accept the charge, investigate it, or issue a right-to-sue letter.

       The Court dismisses without prejudice for lack of standing Texas’s claims against

(1) Alejandro Mayorkas, in his official capacity as the Secretary of the Department of

Homeland Security (DHS); (2) DHS; (3) Patrick J. Lechleitner, in his official capacity as the

Acting Director of Immigration and Customs Enforcement; (4) Peter E. Mina, in his official

capacity as the official exercising the authority of the Officer for Civil Rights and Civil

Liberties of DHS; (5) the Office of Civil Rights and Civil Liberties; (6) Deanne Criswell, in

her official capacity as the Administrator of the Federal Emergency Management Agency

(FEMA); (7) FEMA; and (8) Joseph R. Biden, Jr., in his official capacity as the President of

the United States.

       All other relief not specified here is denied.

       The Court stays the effect of this Order for seven days from the date of entry to allow

the defendants to seek relief, if any, at the appellate level.

        So ordered on February 27, 2024.



                                                  JAMES WESLEY HENDRIX
                                                  UNITED STATES DISTRICT JUDGE




                                              – 120 –
